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                         Report of Professor Thomas McGuire




     Regarding Public Nuisance in the Cabell Huntington Community in West Virginia
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 I.      Introduction


         A.       Qualifications

 1.      I am a Professor of Health Economics in the Department of Health Care Policy at
 Harvard Medical School, where I teach health economics in Harvard University’s Ph.D. Program
 in Health Policy. In 2008, I received the Everett Mendelsohn Excellence in Mentoring Award
 from Harvard’s Graduate School of Arts and Sciences. I received an A.B. degree from Princeton
 University and a Ph.D. degree in economics from Yale University.

 2.      I am a member of the National Academy of Medicine – formally, the Institute of
 Medicine (IOM) – and a Research Associate at the National Bureau of Economic Research. I
 served for ten years as an editor of the leading journal in the field of health economics, the
 Journal of Health Economics, and co-edited the Handbook of Health Economics, Volume II.

 3.      For more than 40 years I have conducted research on the economics of managed care,
 health insurance, health care payment systems, pharmaceutical drug pricing and procurement, the
 economics of health care disparities by race and ethnicity, and the economics of mental health
 policy. I have authored a series of published papers on the economics of drug prices,
 competition between branded and generic drug products, and insurance coverage for drugs.1 I
 co-chaired four conferences on the Economics of Mental Health, sponsored by the National


 1
   T.G. McGuire and S. Bauhoff, “Adoption of a Cost-Saving Innovation: Germany, UK and Simvastatin,” in N.
 Klusen, F. Verheyen, and C. Wagner (eds.), England and Germany in Europe – What Lessons Can We Learn from
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 22(2), 2015, pp. 173-200; T. McGuire, et al., “Resolving Reverse-Payment Settlements with the Smoking Gun of
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 Evidence for Anticompetitive Effects in the Nexium ‘Reverse-Payment’ Settlement,” Journal of Competition Law &
 Economics, 12(4), 2016, pp. 735-747; R.S. Hartman, K.M. Drake, and T.G. McGuire, “Event Study Analysis in
 Cases with Multiple Brand-Generic Reverse-Payment Settlements,” International Journal of the Economics of
 Business, 26(3), 2019, pp. 399-410; and K. Drake and T.G. McGuire, “Generic Entry Before the Agreed-Upon Date
 in Pharmaceutical Patent Settlements,” working paper (https://papers.ssrn.com/sol3/papers.cfm?abstract
 _id=3416632).

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 Institute of Mental Health. The National Institute of Drug Abuse has sponsored my research,
 including research for which I served as Principal Investigator. I have published papers on the
 cost of drug abuse, drug abuse in the workplace, financing drug abuse services, and related
 topics.2 My research has been recognized by a number of awards, including the Victor Fuchs
 Lifetime Achievement Award for 2018, awarded by the American Society of Health Economics.3


 2
   T.G. McGuire and B. Shatkin, “Forecasting the Cost of Drug Abuse Treatment Coverage in Private Health
 Insurance,” in Cartwright and Kaple (eds.) Economic Costs, Cost Effectiveness, Financing and Community-Based
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 and T.G. McGuire, “A Randomized Trial of Treatment Options for Alcohol-Abusing Workers,” New England
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 Abuse Care,” Health Affairs, 13(1), 1994, pp. 337-342. B.S. Arons, R.G. Frank, H.H. Goldman, T.G. McGuire, and
 S. Stephens, “Mental Health and Substance Abuse Coverage Under Health Reform,” Health Affairs, 13(1), 1994, pp.
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 Freeman, L. Matias, C. Albizu, H. Marin, and J. Calderon, “The Impact of Managed Care on the Use of Outpatient
 Mental Health and Substance Abuse Services in Puerto Rico, Inquiry, 38(4), 2001, pp. 381-965. M. Lu and T.G.
 McGuire, “The Productivity of Outpatient Treatment for Substance Abuse,” Journal of Human Resources, 38(2),
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 Hospital Care for Mental health and Substance Abuse Treatment in Massachusetts: 1994-1997,” The Journal of
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 Differences in Use of Outpatient Mental Health and Substance Use Services by Depressed Adults,” Psychiatric
 Quarterly, 77(3), 2006, pp. 211-222. H.-M. Lien, M. Lu, C.-T. Albert Ma, and T.G. McGuire, “Progress and
 Compliance in Alcohol Abuse Treatment,” Journal of Health Economics, 29 (2), 2009, pp. 213-225. E.J. Montz,
 T.J. Layton, A.B. Busch, R.P. Ellis, S.R. Rose, and T.G. McGuire, “Risk Adjustment Simulation: Health Plans May
 Have Incentives to Distort Mental Health and Substance Abuse Coverage,” Health Affairs, 35(6), 2016, pp. 1022-
 1028. In addition, many of my papers refer to “mental health” or “behavioral health,” terms which can include
 issues related to substance abuse. See my CV for other papers.
 3
   I was the 1981 recipient of the Elizur Wright Award from the American Association of Risk and Insurance
 recognizing an “outstanding contribution to the literature on risk and insurance” for my book Financing
 Psychotherapy. In 1991, I received the Carl Taube Award from the American Public Health Association for
 “outstanding contributions to public health.” Two of my jointly authored papers received “Best Paper of the Year”



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 In 2015, a jointly authored paper on reverse payment settlements in the drug industry received
 the Article of the Year Award from the International Journal of the Economics of Business.4

 4.        My litigation experience includes recent testimony at two drug industry antitrust trials.5
 In the National MDL Opiate Litigation, I have submitted testimony regarding the calculation of
 costs due to the opioid crisis and the analysis of public nuisance for the two Ohio bellwether
 counties (Summit and Cuyahoga).6 For the State of Washington, I have also submitted written
 testimony regarding public nuisance.7 I provided deposition testimony in the Ohio matter.
 Appendix A contains my CV and a list of my recent testimony. Appendix B lists the materials
 upon which I relied and/or considered for this Report. Appendix B also notes meetings and calls
 in which I participated that included Cabell County Huntington Community personnel and other
 experts in this matter. Appendix C contains supplementary material as noted in the body of this
 Report.

 5.        My rate of compensation in this matter is $850 per hour. I have been assisted in this
 matter by staff of Greylock McKinnon Associates working under my direction. I receive
 compensation from Greylock McKinnon Associates based on its collected staff billings in
 support of my work in this matter. My compensation does not depend upon the outcome of this
 litigation. I understand that discovery is ongoing. I reserve the right to update my analysis based
 on additional information.




 awards in 2008, one from Academy Health for research on physician-patient interaction and one from the National
 Institute for Health Care Management for work on incentives in managed care plans. My paper on designing
 payment systems for private health insurance markets received the best paper of the year award in 2014 from the
 National Institute for Health Care Management.
 4
     K. Drake, M. Starr, and T. McGuire, op. cit.
 5
  In re: Nexium (Esomeprazole) Antitrust Litigation, United States District Court for the District of Massachusetts,
 MDL No. 2409, Civil Action No. 112-cv-11711, November 7 and 20, 2014 and In re: Solodyn (Minocycline
 Hydrocholoride) Antitrust Litigation, United States District Court for the District of Massachusetts, MDL No. 14-
 md-2503-DJC, March 26-27, 2018.
 6
     In re: National Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-2804.
 7
   State of Washington v. Purdue Pharma L.P.; et al., State of Washington, King County Superior Court, No. 17-2-
 25505-0 SEA.

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          B.       Assignment

 6.       In their Corrected Joint and Third Amended Complaint, Cabell County and the City of
 Huntington (the Plaintiffs) allege:

          “Defendants have created and maintained a public nuisance by marketing, distributing,
          selling opioids, and/or exacerbating the flood of opioids into Plaintiffs’ Community in
          ways that unreasonably interfere with the public health, welfare, and safety in Plaintiffs’
          Community.”8

 Throughout this Report, the “Cabell Huntington Community,” or “Community” refers to the
 entire community of Cabell County and the City of Huntington, the Plaintiffs.9

 7.       In connection with the public nuisance claims raised by the Plaintiffs, I have been asked
 the following three questions:

          •    First, is there a framework within the area of applied microeconomics by which
               economists determine the existence of, and measure the extent of, what is known
               under the law as a “public nuisance?”

          •    Second, do I have an opinion to a reasonable degree of certainty in the area of applied
               microeconomics as to the magnitude of the economic costs, net of any benefits,10
               imposed in the Cabell Huntington Community by the sales and distribution of
               prescription opioid products in the Community?




 8
   Corrected Joint and Third Amended Complaint, In re: National Prescription Opiate Litigation as it relates to
 Cabell County Commission and City of Huntington, West Virginia, Case No. 1:17-op-45053-DAP (S.D. W.Va.) and
 Case No. 1:17-op-45054 (S.D. W.Va.), in the United States District Court for the Northern District of Ohio, Eastern
 Division, September 16, 2019 (hereafter Complaint), ¶ 1405.
 9
   While the majority of the City of Huntington is in Cabell County, a small portion of it is in Wayne County. In
 2018, the Wayne County portion of the City of Huntington counted 3,584 residents, representing approximately
 7.8% of Huntington’s total population of 45,758 residents. U.S. Census, City and Town Population Totals: 2010-
 2018, (https://www.census.gov/data/tables/time-series/demo/popest/2010s-total-cities-and-towns.html). I note in
 this Report where data only refer to Cabell County or the City of Huntington.
 10
    The empirical framework I apply in this Report recognizes and quantifies not only costs in economic terms, but
 potential benefits in terms of effects on workforce participation. Consideration of costs net of any benefits reflects
 my understanding of a “balance test” of harms and value referred to in the Complaint at ¶ 1409 (“A balancing test to
 assist in determining the existence of a nuisance is whether the ‘gravity of the harm outweighs the social value of the
 activity alleged to cause the harm.’”).

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         •    Further, do I have an opinion about whether the net costs imposed by the sales and
              distribution of prescription opioid products in the Community were of sufficient
              magnitude to constitute a public nuisance to the Community?

 8.      I have been asked to limit my analysis to the time period of 2006 to the present or until
 the most recent period for which data are available to make reliable estimates. The years for
 which data are generally available, at this point in time, are through 2018. Should additional
 data become available during the course of this litigation, and if I am asked to do so by counsel, I
 can update my analysis to include more recent data.

 9.      Because these questions are framed in the context of the legal term “public nuisance,” I
 have been instructed by counsel to be guided by the following general definition of a public
 nuisance, as set forth in the Complaint:

         “A public nuisance is an act or condition that unlawfully operates to hurt or
         inconvenience an indefinite number of persons. The distinction between a public
         nuisance and a private nuisance is that the former affects the general public, and the latter
         injures one person or a limited number of persons only.”11

 10.     Counsel have also referred me to the following definition from the Complaint, drawn
 from the Restatement (Second) of Torts:

         “A public nuisance is an unreasonable interference with a right common to the
         general public. Circumstances that may sustain a holding that an interference
         with a public right is unreasonable include the following:

               d. Whether the conduct involves a significant interference with the public
                  health, the public safety, the public peace, the public comfort or the public
                  convenience, or
               e. whether the conduct is proscribed by a statute, ordinance or administrative
                  regulation, or




 11
   Complaint, ¶ 1407 quoting Sharon Steel Corp. v. City of Fairmont, 334 S.E.2d 616, 620 (W. Va. 1985) (citing
 Restatement (Second) of Torts § 821B (1979)).

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                 f. whether the conduct is of a continuing nature or has produced a permanent
                    or long-lasting effect, and, as the actor knows or has reason to know, has a
                    significant effect upon the public right.”12

 11.       It is my understanding that Plaintiffs will prove that the Defendants have unlawfully sold
 and distributed prescription opioids in the Cabell Huntington Community. My Report addresses
 the economic harms imposed by the sales and distribution of prescription opioids from 2006
 through 2018.

           C.       Summary of Opinions

 12.       First, I am of the opinion that there is a framework within the area of applied
 microeconomics by which economists can determine the existence of, and measure the extent of,
 what is known under the law as a “public nuisance.” Within the field of economics there is a
 long tradition of analyzing the social consequences of private behaviors imposing harms on
 others, known as “negative externalities.” This economic framework provides a natural parallel
 to the legal notion of public nuisance.13

 13.       Second, I am of the opinion that the economic costs incurred in the Cabell Huntington
 Community by the sales and distribution of prescription opioids far exceed any benefits. I
 estimate, to a reasonable degree of certainty in the area of applied microeconomics, that the
 magnitude of the net economic costs imposed by the sales and distribution of prescription opioid
 products over the period 2006-2018 is approximately $4.17 billion. The major components of
 these costs are listed in Table 1. Figure 1 depicts the relative shares of the harms making up the
 total. Most of the economic costs are attributed to death and disease, in accord with national
 studies on harms from the opioid epidemic. Other categories of cost, while large in absolute
 terms, as indicated by Table 1, are small relative to cost of death and disease. A point of
 emphasis throughout this Report is that standard economic methods underestimate the costs of
 harms in these “smaller” categories.




 12
      Complaint, ¶ 1408 (footnote omitted).
 13
    K. Hylton frames the economics of a public nuisance as an externality. See K. Hylton, “The Economics of Public
 Nuisance Law and the New Enforcement Actions,” Supreme Court Economic Review, 18(1), February 2010, pp. 43-
 76. Other references are contained in Section II below.

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                                          Table 1
                 Monetary Value of the Net Economic Costs Attributed to the
                       Sales and Distribution of Prescription Opioids
                           in the Cabell Huntington Community
                                         2006-2018

                Harms Due to Sales & Distribution of                       Valuation
                Prescription Opioids                                      ($millions)

                Excess deaths                                              $3,437.8

                Excess morbidity                                            $501.3

                Excess neonatal abstinence syndrome                          $2.6

                Excess crimes                                                $77.4

                Excess property value loss                                   $92.3

                Excess child maltreatment                                    $57.9

                Total                                                     $4,169.2


                Sources: Tables 3, 5, 7, 8, 9, and Section III.E of this Report.        `




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                                              Figure 1
                          Percentage Value of Each Harm Attributed to the
                           Sales and Distribution of Prescription Opioids
                               in the Cabell Huntington Community
                                             2006-2018




 14.     I have been instructed by counsel to report costs measured in dollars at the time they were
 incurred (as opposed to the equivalent costs in terms of dollars in 2020). A conversion to 2020
 dollars can be done, if necessary, with standard methods. Doing so would substantially increase
 the dollar estimate of the net economic costs imposed.

 15.     Third, I conclude that sales and distribution of prescription opioid products imposed and
 continue to impose net economic costs of sufficient magnitude to constitute a public nuisance.
 As one indication, using the population of the Cabell Huntington Community in 2018 (96,619),14
 the costs reported in Table 1 amounted, over this 13-year period, to approximately $43 thousand
 per person in the Community.




 14
    This is the sum of the population of Cabell County, and the portion of the City of Huntington located in Wayne
 County. U.S. Census, Cabell County Population by Characteristics, 2010-2019 (https://www.census.gov/data/
 tables/time-series/demo/popest/2010s-counties-detail.html). The population of Huntington, Wayne County is 3,584.

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 16.    Fourth, my monetary estimates of the economic costs from the sales and distribution of
 prescription opioids underestimate the harm suffered by the Cabell Huntington Community. The
 inflow of prescription opioids injures Community residents in countless ways, not limited to a
 rash of fatal and non-fatal opioid overdoses, the taxing of the local health care system and social
 safety net, which are aimed at abating suffering from the numerous consequences of addiction,
 and an unprecedented number of babies born with neonatal abstinence syndrome. Standard
 economic approaches using available data fail to capture the full long-term devastation – damage
 to families and children, risk of crime, loss of employment, among other harms – that has
 befallen the Cabell Huntington Community and its residents due to the sales and distribution of
 prescription opioids. Because the long-term effects of the opioid epidemic are at present
 unknown, and because some harms are difficult to measure in economic terms using standard
 methods, some difficult-to-quantify harms from the analysis are excluded from the analysis. The
 estimates presented here are therefore conservative.

 17.    The next three sections of my Report correspond to the three parts of my assignment. In
 Section II, I discuss the economic analysis of a public nuisance. In Section III, I identify and
 quantify in economic terms the net costs in the Cabell Huntington Community due to the sales
 and distribution of prescription opioids. I cover costs in six groups of harms: mortality,
 morbidity from opioid-use disorder, neonatal abstinence syndrome, crime, loss of residential
 property value, and child maltreatment. Within the discussion of morbidity, I consider
 potentially offsetting economic benefits of prescription opioids in terms of workforce
 participation. Section IV summarizes the cost analysis and concludes that these costs are of
 sufficient magnitude to regard the sales and distribution of prescription opioids as constituting a
 public nuisance in the Cabell Huntington Community.


 II.    The Economic Analysis of Public Nuisances


 18.    I rely on the long tradition within the field of economics analyzing the social
 consequences of private behaviors imposing costs on others. A public nuisance occurs when an
 action (or set of actions) undertaken by a party (or group of parties) gives rise to overwhelming
 “negative externalities.” An externality “occurs whenever the actions of one party make another


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 party worse or better off, yet the first party neither bears the costs nor receives the benefits of
 doing so.”15

 19.        A negative externality imposes costs on others. An example of a negative externality is
 pollution of a river.16 If a household or firm deposits waste in the river, other members of the
 community are harmed (e.g., bear health risks, enjoy less recreational use of the river) but they
 are not compensated for the costs imposed on them. In economics, harms, such as health risks or
 loss of recreational opportunities, are regarded as a “cost” imposed on others and can be valued
 in dollar terms.

 20.        The legal concept of a public nuisance parallels the concept of a negative externality in
 economics, as has been recognized in legal scholarship: “Nuisance may also be viewed as a form
 of externality that interferes with the enjoyment or use of another’s property.”17

 21.        In a related approach, scholarship in law and economics sometimes refers to a public
 nuisance as a “public bad:” “The common law of public nuisance has evolved for dealing with
 public bads. When an agent imposes a cost, similar in amount and kind, on a group of
 individuals, then the harmed group can call upon a public defender to bring a public nuisance
 action against the agent.”18 “Public bads are ... said to emerge when a large number of parties
 are affected negatively and simultaneously, at the margin, by an action undertaken by an
 individual or group. The nature of the phenomenon is such that there is no low-cost way to
 insulate and partition the affected individuals in the group from the negative effect. What one
 group member receives, all receive.”19 I will use the economic concepts of public bad and




 15
      J. Gruber, Public Finance and Public Policy, 5th edition, 2016, p. 124.
 16
    An externality can be positive as well, that is, confer benefits on others. A neighborhood association might
 maintain a local park that is open to the public, benefiting those outside the immediate neighborhood as well as
 residents of the neighborhood.
 17
    T. Swanson and A. Kontoleon, “Nuisance (Section 2100),” in B. Bouckaert and G. de Geest (eds.), Encyclopedia
 of Law and Economics, 2000, pp. 380-402 at 382. See also, R. Cooter and T.S. Ulen, Law and Economics, 6th
 Edition, Berkeley Law Books, 2016, p. 168, and K. Hylton, op. cit.
 18
   K. Boudreaux and B. Yandle, “Public Bads and Public Nuisance-Common Law Remedies for Environmental
 Decline,” Fordham Environmental Law Review, 14(1), Article 2, 2002, pp. 55-88 at p. 65.
 19
      Ibid., pp. 59-60.

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 negative externality in determining whether the sales and distribution of prescription opioid
 products constitute a public nuisance to the Cabell Huntington Community in economic terms.20


 III.    Economic Costs Imposed by the Sales and Distribution of Prescription Opioid
         Products in the Cabell Huntington Community


 22.     I quantify the net economic costs relating to deaths, morbidity, neonatal abstinence
 syndrome, crimes, property value loss, and child maltreatment in the Cabell Huntington
 Community over the period 2006 to 2018, unless otherwise noted. The methods I use to estimate
 costs of the components listed above are consistent with similar analyses conducted by numerous
 public and private agencies throughout the United States.21

 23.     It is difficult to overstate the impact of the opioid epidemic on the Cabell Huntington
 Community. West Virginia, and Cabell County in particular, is near the top of the nation on
 opioid overdose rates (fatal and non-fatal), number of babies born with neonatal abstinence
 syndrome (NAS), and the number of prescription opioids dispensed (both in absolute number
 and per capita). The opioid epidemic has contributed to outbreaks of other diseases, such as
 Hepatitis C and HIV, and led to burnout and trauma amongst police officers, fire fighters,
 emergency medical technicians, and other first responders. The unprecedented numbers of



 20
    The relationship between public bad and negative externality is the same as between public good and positive
 externality. A public good involves positive externalities, but not all externalities are public goods. Pure public
 goods must be consumed in equal quantity by all and are completely non-rivalrous, i.e., the consumption by one
 person does not affect the consumption by others. The classic papers are: P.A. Samuelson, “The Pure Theory of
 Public Expenditure,” Review of Economics and Statistics, 36(4), 1954, pp. 387-389, and P.A. Samuelson,
 “Diagrammatic Exposition of a Theory of Public Expenditure,” Review of Economics and Statistics, 37(4),1955, pp.
 350-356. Not all externalities possess these two characteristics in pure form, so I use the more general term,
 “externality.”
 21
    National studies include The Council of Economic Advisers (CEA), Executive Office of the President of the
 United States, “The Underestimated Cost of the Opioid Crisis,” November 2017 (https://www.whitehouse.gov/sites/
 whitehouse.gov/files/images/The%20Underestimated%20Cost%20of%20the%20Opioid%20Crisis.pdf); C.S.
 Florence, et al., “The Economic Burden of Prescription Opioid Overdose, Abuse, and Dependence in the United
 States, 2013,” Medical Care, 54(10), 2016, pp. 901-906; C. Rhyan, “The Potential Societal Benefit of Eliminating
 Opioid Overdoses, Deaths, and Substance Use Disorders Exceeds $95 Billion Per Year,” Altarum, November 16,
 2017; and S. Davenport, A. Weaver and M. Caverly, “Economic Impact of Non-Medical Opioid Use in the United
 States: Annual Estimates and Projections for 2015 through 2019,” Society of Actuaries, 2019. The CEA studies
 costs of illicit and prescription opioids; Florence and coauthors work at the Center for Disease Control (CDC) and
 study costs of prescription opioid products; Rhyan studies costs of prescription and illicit products; and Davenport
 and his coauthors also study costs of prescription and illicit products.

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 babies born with NAS will have long-lasting effects. The ravages of the opioid epidemic are far-
 reaching, affecting virtually all residents in the Community, much of it documented via media
 coverage on the different facets of the epidemic.22 The opioid epidemic has increased criminal
 activity, reduced housing values, and imposed a general loss of well-being in this Community.

 24.      Few communities have been hit as hard by the opioid epidemic as has the Cabell
 Huntington Community. A recent American Enterprise Institute (AEI) report analyzed the
 geographic variation of per capita costs due to the opioid crisis by state and county. The report
 identifies West Virginia as incurring the highest cost per capita among all states and Cabell
 County as ranking number 3 among over 3,000 counties nationwide.23

 25.      The local response to the crisis has been equally forceful. Cabell Huntington Community
 leaders, policy makers, and public servants have launched a multipronged effort to study and
 combat the opioid epidemic. The Huntington Mayor’s Office released comprehensive plans
 aimed at fighting the opioid epidemic focused on bolstering prevention efforts, providing greater
 access to a broader set of treatment services, and mitigating the inflow of opioids via law
 enforcement initiatives.24 Huntington’s Marshall University published the Resiliency Plan, a
 comprehensive guide for responding not only to the short-term issues associated with the opioid
 epidemic, but also preparing for its long-term economic and legal consequences.25 The City of




 22
    Examples of national coverage of the Cabell Huntington Community’s opioids epidemic include the Netflix
 Documentary “Heroin(e)” (https://recoveryboysthefilm.com/about-heroine/); a STAT profile: A. Joseph, “26
 Overdoses in Just Hours: Inside a Community on the Front Lines of the Opioid Epidemic,” STAT, August 22, 2016;
 and multimedia coverage by The Atlantic, entitled “A Heroin Hearse in the OD Capital of America”
 (https://www.theatlantic.com/video/index/586753/heroin-hearse/).
 23
    See Tables 1 and 2 in A. Brill and S. Ganz, “The Geographic Variation in the Cost of the Opioid Crisis,”
 American Enterprise Institute (AEI), Working Paper 2018-03, March 2018. They “estimate per-capita state-level
 and county-level non-mortality and total economic burdens of the opioid crisis in 2015 by distributing national
 estimates based on variation in local wages, health care costs, and criminal justice costs along with variation in
 opioid-related death and addiction rates, and average age-adjusted value of statistical lives lost.”.
 24
   City of Huntington, Mayor’s Office on Drug Control Policy, “2015 Strategic Plan,” August 24, 2015 and then
 approximately two years later the “Two-Year Strategic Plan for Addressing the Opioid Crisis in the City of
 Huntington/Cabell and Wayne Counties, West Virginia” was released, May 2017.
 25
    “Resiliency Plan Cabell County, WV,” Division of Addiction Sciences, Marshall University Joan C. Edwards
 School of Medicine, January 2020 (https://jcesom.marshall.edu/media/58477/2020_cabell-county-resiliency-
 plan_final.pdf).

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 Huntington compiled its successes (and failures) in The City of Solutions, providing guidance to
 other communities facing the opioid epidemic.26

 26.        These reports depict the myriad ways prescription opioids imposed harms in the
 Community.27 For example, the Mayor’s “2015 Strategic Plan” notes, among other harms, that
 babies born with NAS cost significantly more than babies born without NAS: the later cost
 around $10,000, whereas NAS births can be as much as $55,000.28 In another example, a review
 conducted by Marshall University found that state and local entities devote significant financial
 resources to opioid epidemic harm-reduction programs, including distribution of naloxone to
 local emergency units (e.g., in 2016, the administration of 4,186 doses of the opioid
 antagonist).29

 27.        The Cabell Huntington community has taken concrete actions to deal with harms.
 Treatment centers such as Lily’s Place, Project Hope, and Healthy Connections, as well as the
 establishment of the Drug Court, focused on rehabilitation over punishment, are designed to aid
 those currently fighting drug addiction. These initiatives have required outsized efforts and
 resources.30




 26
    “The City of Solutions, Huntington WV: A Guide to What Works (and What Does Not) in Reducing the Impact
 of Substance Use on Local Communities,” edited by J. Maiolo, Division of Addiction Sciences in the Department of
 Family and Community Health at the Marshall University Joan C. Edwards School of Medicine, September 2019
 (philanthropywv.org/content/uploads/2019/11/COS-Guidebook-Finalized-as-of-9-26-19.pdf), hereafter, The City of
 Solutions, Huntington, WV.
 27
    In 2015, Fire Chief Jan Rader compiled an annual estimate of medical costs of drug abuse in Cabell County. This
 estimate was introduced as a series of exhibits in Mr. Lemley’s deposition (See Deposition of Scott Lemley, in this
 matter, July 3, 2020 (hereafter, Lemley Deposition), Exhibits 32-35). She identified average costs for the following
 categories related to drug abuse: overdose calls, overdose calls with hospitalization, drug use complications related
 to cellulitis, endocarditis, and osteomyelitis, NAS, hepatitis B and C without a transplant and liver transplant. Her
 total estimated cost was $30.5 million. This compilation of costs illustrates some aspects of the costs resulting from
 the opioid epidemic.
 28
      City of Huntington, “2015 Strategic Plan,” op. cit., p. 11.
 29
    N. Bowden, et al., “The Cost of the Opioid Epidemic in West Virginia,” presented at the 54th Annual MBAA
 Conference, Chicago, IL, April 2018. While the initial expenses were paid by a federal grant, the growing need for
 opioid antagonists prompted the state of West Virginia to purchase 34,000 doses in 2018 at a cost of approximately
 $1,000,000. See West Virginia Department of Health and Human Resources, “DHHR Begins Distributing
 Naloxone Statewide for First Responders,” June 5, 2018 (https://dhhr.wv.gov/News/2018/Pages/DHHR-Begins-
 Distributing-Naloxone-Statewide-for-First-Responders---.aspx).
 30
      Some examples of these costs are available in The City of Solutions, Huntington WV, pp. 63-66.

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 28.        Deposition testimony by county and city personnel confirm the profound impact of the
 opioid epidemic on the Cabell Huntington Community:

                •    Raymond Canafax, Deputy Chief of the Huntington Fire Department, testified:
                     “But this – in my experience, this – this didn’t know any bounds, this epidemic.
                     It was in all neighborhoods. It was in the best of neighborhoods and the worst of
                     neighborhoods and the best – the best of homes to the worst of homes.”31
                •    Jan Rader, Fire Chief for the City of Huntington, testified: “There's not one
                     person in this area that I know that has not been touched or had collateral damage
                     to them, themselves from the … opioid epidemic. It is horrendous.”32
                •    Sue Ann Painter, the executive director of the board of registered nurses, testified:
                     “It's been financially devastating to people with substance use disorder and their
                     families and their communities. It has emotional impact on all the individuals
                     involved, and people die of overdose.”33
                •    Craig Preece, a long-time Huntington Police Department officer, testified:
                     “…looking back over those 22 years, that opioids and everything that came after
                     prescription meds, that’s what was the most damaging … to the City as far as
                     people and maybe their quality of life. ”34
                •    Officer Preece adds, describing to the impact opioids have had on the City of
                     Huntington that: “It’s resulted in a lot of deaths. It’s resulted in a lot of criminal
                     charges. It’s resulted in people that remain addicted that continue to seek opioid
                     type drugs to this day. There’s been robberies, thefts and violence associated with
                     the drug.”35

 29.        While I quantify some of the harms identified above, my valuations omit aspects of the
 harms that are difficult to measure with standard economic methods or for which data are
 unavailable as a basis for reliable estimates. For example, babies born with NAS incur higher
 health care expenditures at birth, which I am able to quantify. However, there is also evidence
 that these babies are more likely to suffer a range of health consequences later in life and to have
 poor economic outcomes, but due to data limitations, I am unable to fully quantify these aspects
 of the harms. Similarly, the stress from increasing numbers of overdoses has very real
 psychological consequences for first responders, which ultimately affects recruitment and


 31
      Deposition of Raymond Carafax, in this matter, June 16, 2020 (hereafter, Carafax Deposition), p. 120.
 32
      Deposition of Jan Rader, in this matter, June 17, 2020 (hereafter, Rader Deposition), pp. 78-9.
 33
      Deposition of Sue Ann Painter, in this matter, June 26, 2020, p. 162.
 34
      Deposition of Craig Preece, in this matter, July 14th, 2020 (hereafter, Preece Deposition), p. 298.
 35
      Preece Deposition, pp. 298-99.

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 retention of these critical public servants. Here again, due to data limitations, I am unable to
 fully quantify these harms resulting from the sales and distribution of prescription opioids.
 Moreover, while the opioid crisis harms the Cabell Huntington Community, due to data
 limitations, most of my harm qualifications are limited to Cabell County.36

 30.        The sales and distribution of massive volumes of prescription opioids into the
 Community has had devasting downstream consequences. One of the central facts of the opioid
 epidemic is that the majority of individuals who misuse opioids began with prescription opioids
 before turning to heroin, or other opioids.37 For example, Cerda, et al. (2015) find that among
 children and adolescents, prior non-medical use of prescription opioids was strongly predictive
 of later use of heroin.38 Non-medical use of prescription opioids is defined as “…both using
 prescription opioids more often or longer than prescribed, or use of prescription opioids without
 a prescription.”39

 31.        Dr. Lembke in her report, explains that the “gateway effect” of prescription opioids
 includes the transition from medical use of prescription opioids to non-medical use.40 Among
 other studies, Dr. Lembke cites McCabe, et al., in the journal Pediatrics, in which the “gateway


 36
    Except for crime, where I use data for the entire city from the City of Huntington Police Department, my harm
 valuations exclude the portion of Huntington located in Wayne county.
 37
    There is substantial evidence that the gateway to illicit opioids is prescription opioids. For examples, see C.M.
 Jones, “Heroin Use and Heroin Use Risk Behaviors Among Nonmedical Users Of Prescription Opioid Pain
 Relievers – United States, 2002-2004 And 2008-2010,” Drug and Alcohol Dependence,132, 2013, pp. 95-100
 (found that between the periods of 2002-2004 and 2008-2010, there was an increase of heroin use among people
 who had used opioid pain relievers non-medically in the past year); P.K. Muhuri, J.C. Gfroerer, and M.C. Davies,
 “Associations of Nonmedical Pain Reliever Use and Initiation Of Heroin Use in The United States,” CBHSQ Data
 Review, August 2013 (showed that the incidence of heroin use (from 2002-2011) was 19 times higher among those
 reporting prior non-medical pain reliever use, compared to those who had not used pain relievers non-medically);
 T.J. Cicero, M.S. Ellis, H.L. Surratt, and S.P. Kurtz, “The Changing Face of Heroin Use in the United States: A
 Retrospective Analysis of the Past 50 Years,” JAMA Psychiatry, 71(7), 2014, pp. 821-826 (found, among other
 things, that 75% of patients seeking treatment for heroin abuse from 2004-2014 had been introduced to opioids
 through prescription drugs); and G. Banerjee, et al., “Non-medical Use of Prescription Opioids is Associated with
 Heroin Initiation Among US veterans: a Prospective Cohort Study,” Addiction, 111, 2016, pp. 2021-2031 (estimated
 the influence of non-medical use of prescription opioids on heroin initiation in U.S. veterans receiving medical care
 and found that non-medical use of prescription opioids was associated positively and independently with heroin
 initiation).
 38
    M. Cerda, et al., “Nonmedical Prescription Opioid Use in Childhood and Early Adolescence Predicts Transitions
 to Heroin Use in Young Adulthood: A National Study,” Journal of Pediatrics, 167(3), September 2015, pp. 605-12.
 See also, Cicero, et al., op. cit.
 39
      Expert Report of Professor Katherine Keyes, in this matter, August 3, 2020 (hereafter Keyes Report), p. 7.
 40
      Expert Report, Anna Lembke, M.D., in this matter, August 3, 2020 (hereafter Lembke Report), Paragraph C.8.

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 effect” refers to the transition from medical to non-medical use of prescription opioids, and
 subsequent use of illicit opioids.41 The massive inflow of prescription opioids into the Cabell
 Huntington Community permitted diversion to non-medical use of prescription opioids.42
 Numerous studies find that most non-medical users obtain opioids at some point from a medical
 provider and/or from family/friends who obtained them from a medical provider.43 Moreover,
 Dr. Smith, an epidemiologist and professor at West Virginia University, Department of
 Epidemiology, notes that the overdose data he analyzes “support the recognized transition from
 prescription to illicit opioids use, which has been documented in numerous peer-reviewed studies
 of the US population in general, and…the same thing occurred throughout West Virginia,
 including Cabell County.”44

 32.        Deposition testimony confirms that prescription opioids are a gateway to other opioids in
 the Community:

                •    Jan Rader, Fire Chief, testified: “When people who were addicted couldn't find
                     the pills that they had been on for years, they turned to heroin because it was
                     cheaper and easier to obtain. They were using a needle to invite it into their body,
                     spreading bacteria. You had all kinds of medical complications associated with it.
                     But again, probably 80 percent of them - especially in my experience - started
                     with a legal prescription.”45

                •    Paul Hunter, a Huntington Police Sergeant and part of the Drug ad Violent Crimes
                     Task Force as well as head of the City Law Enforcement Narcotics Unit, testified:
                     “The heroin appeared to come into existence, or the use of it, shortly after
                     prescription pills were a problem. And just from my investigation, talking to
                     cheaper version and it was easier to get at times. They started getting heroin.”46



 41
    S.E. McCabe, et al., “Trends in Medical and Nonmedical use of Prescription Opioids Among US Adolescents:
 1976–2015,” Pediatrics, 139(4), 2017, pp. 1-9. The Lembke Report discussion of the McCabe, et al. study is on
 paragraph C.8.d, p. 132
 42
      Keyes Report, Opinion 5, p. 5.
 43
    R.N. Lipari and A. Hughes, “How People Obtain the Prescription Pain Relievers they Misuse,” The CBHSQ
 Report: January 12, 2017, Center for Behavioral Health Statistics and Quality, Substance Abuse and Mental Health
 Services Administration, Rockville, MD; J.A. Inciardi, H.L. Surratt, T.J. Cicero, S.P. Kurtz, S.S. Martin, and M.W.
 Parrino, “The ‘Black Box’ of Prescription Drug Diversion,” Journal of Addictive Diseases, 28(4), 2009, pp. 332-
 347.
 44
      Expert Report, Gordon Smith, M.D., in this matter, August 3, 2020 (hereafter Smith Report), p. 10.
 45
      Rader Deposition, pp. 85-86.
 46
      Deposition of Paul Hunter, in this matter, July 1, 2020, p. 246.

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 33.       From an economic standpoint, the costs due to the sales and distribution of prescription
 opioids include costs for which prescription opioids are the proximate cause (e.g., a death from
 overdose of prescription opioids) and those for which prescription opioids were the ultimate but
 not necessarily the proximate cause (e.g., a death from fentanyl for someone using fentanyl
 because of their start on prescription opioids). Dr. Lembke, a physician,47 and Professor Keyes,
 an epidemiologist,48 elaborate on the role of prescription opioids as a gateway drug.

           A.       Mortality

 Overview

 34.       The economic cost of mortality attributed to the sales and distribution of prescription
 opioid products is the number of deaths due to these sales and distributions in the Cabell
 Huntington Community multiplied by the value of each life lost.

 35.       The valuation undertaken in this section is conservative in that it values a life only in
 terms of the “willingness to pay” of the person at risk of death. Beyond the self-evident harm of
 the loss of life to the victim, an opioid-overdose death impacts families and the Cabell
 Huntington Community in ways difficult to value with economic methods. For example, in
 2018, about 55% of West Virginia’s opioid fatalities were adults between 25-44,49 many of
 whom were parents caring for small children.50 Harms to these children go unmeasured in my
 valuation of a death. A death is a loss of companionship and friendship to spouses or romantic
 partners, friends, and the community. These harms go unmeasured in my valuation. Moreover,
 Cabell Huntington Community first responders face increased job stress due to ongoing dealings
 with large numbers of fatal opioid overdose fatalities. This increased stress on first responders


 47
      Lembke Report, Paragraph C.8.g, p.134.
 48
    Keyes Report, p. 44 contains a discussion of the causal link between prescription opioids and subsequent heroin
 use.
 49
    Kaiser Family Foundation analysis of Centers for Disease Control and Prevention (CDC), National Center for
 Health Statistics. Multiple Cause of Death 1999-2018 on CDC WONDER Online Database, released 2020. Data are
 from the Multiple Cause of Death Files, 1999-2018, as compiled from data provided by the 57 vital statistics
 jurisdictions through the Vital Statistics Cooperative Program. Accessed on February 13, 2020. The calculation is
 the ratio of the deaths for people aged 25-44 (387) and the total number of deaths (702). See
 http://www.kff.org/other/state-indicator/opioid-overdose-deaths-by-age-group.
 50
   C. Levine, et al., “The Statistics Can't Capture the Opioid Epidemic's Impact on Children.” STAT, December 30,
 2017 (www.statnews.com/2018/01/02/opioid-epidemic-impact-children/).

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 results in public sector costs for training and counseling for firefighters, police officers and EMS
 personnel,51 results in what has been called “compassion fatigue”52 that takes a personal toll,53
 and results in difficulties retaining personnel.54 Deputy Chief Canafax commented on
 compassion fatigue: “Our firefighters were getting exhausted, and were – both mentally and
 physically, and this was affecting their mental wellbeing.”55 These human and economic tolls on
 first responders are also not quantified in my valuation of a death attributed to prescription
 opioids.

 36.       While the opioid epidemic has taken an enormous toll in the United States, the Cabell
 Huntington Community has been especially hard hit. Figure 2 depicts the outsized harm suffered
 by Cabell County in the form of prescription opioid-related deaths. The data come from
 Professor Keyes’ report, and compare the rate of deaths proximately caused by prescription
 opioids in Cabell County, West Virginia and the United States from 1999-2018.56 West Virginia
 was hit harder than other states, and within West Virginia, Cabell was hit harder than other
 counties.




 51
    The City of Solutions, Huntington WV, p. 54.; “Resiliency Plan for Cabell County,” Division of Addiction
 Sciences, Marshall University Joan C. Edwards School of Medicine, January 2020
 (https://jcesom.marshall.edu/media/58477/2020_cabell-county-resiliency-plan_final.pdf/).
 52
    See E.L. Winstanley, “The Bell Tolls for Thee & Thine: Compassion Fatigue & the Overdose Epidemic,”
 International Journal of Drug Policy, June 1, 2020.
 53
      The City of Solutions, Huntington WV, p. 42.
 54
    See interview with Fire Chief Jan Rader, Medium.com/@BloombergCities, “How One Fire Chief is Fighting
 ‘Compassion Fatigue’ as Overdoses Mount,” May 10, 2018 (https://medium.com/@BloombergCities/how-one-fire-
 chief-is-fighting-compassion-fatigue-as-overdoses-mount-f4c193323922).
 55
      Canafax Deposition, p. 118.
 56
    Keyes Report, Figure 8. See page 31 of her report for a description of the methodology and sources for these
 figures.

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                                                Figure 2
                                    Prescription Opioid Death Rates
                            National, West Virginia and Cabell County Rates
                                 Replication of Keyes Report, Figure 8




 Count of Deaths

 37.       Professor Keyes identifies the number of deaths due to the sales and distribution of
 prescription opioids for Cabell County residents in each year from 2006 to 2018.57 My Table 2
 takes the numbers from Figure 16 from the Keyes Report. Professor Keyes explains her
 estimates of the number of deaths due directly and indirectly to prescription opioids:

           “Opioid overdose deaths for which a prescription opioid was listed on the death
           certificate as a contributing cause are deemed directly due to prescription opioids.
           Among other deaths, I estimate that a minimum of 53.4% of deaths are indirectly due to
           prescription opioids, given the NSDUH data estimates of the proportion of non-
           prescription opioid use disorder for which prescription opioids were a preceding
           substance use. Therefore, Figure 16 provides the total number of opioid overdose deaths



 57
      Keyes Report, Figure 16.

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              in Cabell County for each year from 2006 through 2018, with the number directly
              attributable and minimum number indirectly attributable to prescription opioids.”58
 38.          I rely on Professor Keyes’ estimates of deaths due to prescription opioids for my
 mortality counts.

 39.          Deaths in Cabell County due to all opioids went up by a factor of four or more between
 the early and more recent years in the data. Over the entire time period, over half of deaths,
 approximately 85.4% (556/651) were due directly to prescription opioids. 52 deaths were from a
 non-prescription opioid that were attributable to the user starting on prescription opioids. Deaths
 in this category in Cabell County spiked in the 2015-2018 period.

                                                       Table 2
                                 Deaths Due to Prescription Opioids in Cabell County
                                                     2006-2018
                                  2006      2007   2008   2009   2010   2011   2012   2013   2014   2015   2016   2017   2018     Total

  All deaths due to opioids            21     37     25      5     25     36     22     42     45     69     87    132    105      651

  Deaths directly due to
                                       20     33     25      5     23     29     18     26     32     48     69    124    104      556
  prescription opioids

  Deaths due to non-
                                       1       4      0      0      2      7      4     16     13     21     18      8      1       95
  prescription opioids

  Deaths due to non-
  prescription opioids due to          1       2      0      0      1      4      2      9      7     11     10      4      1       52
  prescription opioids

  Total deaths due to
                                      21      35     25      5     24     33     20     35     39     59     79    128    105      608
  prescription opioids


  Sources: Keyes Report, Figure 16.




 40.          In total, over the period 2006-2018, 608 Cabell County residents died due to the sales and
 distribution of prescription opioids. The economic cost of these deaths constitutes the largest
 component of the harms assessed in this Report, consistent with the findings of other studies of
 the costs of the opioid epidemic.59


 58
      Keyes Report, p. 48.
 59
    For example, the CEA’s “The Underestimated Cost of the Opioid Crisis,” op. cit., finds that costs associated with
 mortality, using a similar approach to value attribution that I use in this Report, based on the Value of a Statistical
 Life (VSL) account for about 84% of the total of mortality and morbidity costs. The CEA report refers to these as
 “fatality” and “non-fatality” costs. See CEA (2017), Table 2. The 84% is based on the “middle” estimate of the
 VSL contained in the table.

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 41.      Figure 3 graphs the data from Table 2, displaying the massive growth in deaths due to
 prescription opioids over the period 2006 to 2018. The figure conveys visually that the vast
 majority of the deaths were directly due to prescription opioids.


                                               Figure 3
                         Deaths Due to Prescription Opioids in Cabell County
                                              2006-2018
                               Replication of Keyes Report, Figure 16




 Valuation of Deaths

 42.      An accounting of the economic cost of a death can be made with the economic concept of
 the value of a “statistical life,” used by researchers and government agencies to assign a dollar
 value to the economic cost of a death.60 I rely on guidance from the Assistant Secretary for
 Planning and Evaluation (ASPE) of the U.S. Department of Health and Human Services (HHS)




 60
    The VSL is figured as the ratio of the maximum willingness to pay for a given reduction in the probability risk of
 death within a specified time period. This yields a monetary amount per statistical life saved. For example, if I
 were willing to pay $10,000 to avoid a 1/100 risk of death, the VSL would be measured as $10,000*100 = $10m.
 See L. Robinson and J. Hammitt, “Valuing Reductions in Fatal Illness Risks: Implications of Recent Research,”
 Health Economics, 25, 2016, pp 1039-1052. The methodology for measuring the VSL is discussed in more detail in
 Appendix C.

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 and use $9.3 million as the national value of a statistical life (VSL) in 2014.61 The national value
 of $9.3 million in 2014 can be adjusted using standard methods to different years and different
 geographic areas; I refer to this as the adjusted VSL. Price levels are adjusted based on the
 annual values of the Consumer Price Index (CPI). My VSL estimate is also adjusted for the
 differences in income between the national estimate and Cabell County for each year.

 43.          Table 3 takes the total number of deaths attributed to the sales and distribution of
 prescription opioids in Cabell County from 2006-2018 from Table 2, and multiplies each death
 by the adjusted VSL for each year for Cabell County.62 Over this 13-year time period, the
 measure of the economic value of lost lives is over $3.43 billion for Cabell County.63


                                                     Table 3
                       Valuation of Mortality Due to Prescription Opioids in Cabell County
                                                    2006-2018
                                    2006    2007   2008   2009   2010    2011   2012   2013   2014   2015    2016   2017   2018     Total
  Total deaths attributed to
                                       21     35     25      5      24     33     20     35     39      59     79    128    105       608
  prescription opioids

  VSL ($millions)                   $4.6    $3.9   $4.2   $4.8    $5.2   $5.7   $5.4   $6.3   $5.1   $6.3    $6.4   $5.2   $6.5


  Valuation ($millions)             $96.1 $137.5 $104.6   $24.0 $125.5 $186.6 $107.2 $219.1 $200.5 $373.3 $505.9 $671.2 $686.2 $3,437.8

  Sources: Appendix C, Section I.




              B.            Morbidity

   Overview

 44.          The sales and distribution of prescription opioids contribute to opioid-related morbidity.
 Morbidity simply means to have a disease or be in ill health. The economic valuation in this



 61
     Office of the Assistant Secretary for Planning and Evaluation (ASPE), U.S. Department of Health and Human
 Services (HHS), “Guidelines for Regulatory Impact Analysis,” 2016 (https://aspe.hhs.gov/system
 /files/pdf/242926/HHS_RIAGuidance.pdf) (hereafter, “HHS 2016 Guidelines”).
 62
      See Appendix C for a description of the adjustments made.
 63
    The HHS Guidelines report lower and upper bounds for national VSL of $4.4 million and $14.2 million for 2014.
 Using these values instead of the average used above results in an economic value of lost lives of $1.6 billion and
 $5.3 billion, respectively. Note that the number of intentional deaths data in Cabell County are too few to determine
 a reliable estimate. Data are suppressed due to small numbers in several years during this period. I therefore make
 no adjustments for intentional deaths in this report. See Keyes Report, p. 33.

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 section is the number of cases of Opioid Use Disorder (OUD) due to prescription opioids
 multiplied by the excess health care costs associated with the treatment of OUD and sequelae.

 45.          OUD is a substance use disorder characterized by impaired control over opioids use,
 including but not limited to the need to use more opioids to achieve desired effects, withdrawal
 symptoms upon cessation of use, and adverse social, interpersonal, occupational, and physical
 consequences of opioid use.64 The diagnosis of OUD is used by health care providers and
 criteria are included in major disease classification systems such as the Diagnostic and Statistical
 Manual of Mental Health Disorders (DSM).65 According to the federal Centers for Disease
 Control and Prevention (CDC), based on household surveys, there were at least 2.1 million
 Americans with OUD as of 2017.66

 46.          As is the case with mortality, OUD morbidity has hit the Cabell Huntington Community
 harder than other parts of West Virginia, and by an even larger margin, other parts of the country
 as a whole. Figure 5 shows the prevalence of OUD in Cabell County, West Virginia, and the
 United States from 2006-2018.67




 64
   See Keyes Report, Section III, pp. 7-8 for a discussion on the distinction between OUD, opioid abuse, and opioid
 dependence, which are defined disorders. Professor Keyes also discusses related symptoms, such as physical opioid
 dependence, opioid tolerance, and withdrawal which are included in the definition of OUD.
 65
      Ibid.
 66
   CDC and U.S. Department of Health and Human Services, “Annual Surveillance Report of Drug-Related Risks
 and Outcomes – United States, Surveillance Special Report,” 2019 at p. 17.
 67
      Keyes Report, Figure 13.

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                                                 Figure 5
                                             OUD Prevalence
                                 National, West Virginia and Cabell County
                                  Replication of Keyes Report, Figure 13




 Count of Morbidity

 47.       Table 4 takes numbers from Keyes Report Figure 14 for the estimated number of
 residents of Cabell County with OUD and those with OUD attributable to prescription opioids
 over the years 2006-2018.68 The first row of the Table reports the number of all cases of OUD.
 The second row contains the number of cases of OUD Professor Keyes attributes directly due to
 prescription opioids.69 Among the cases of OUD not directly due to prescription opioids (third
 row of Table 4), Professor Keyes attributes a share of these indirectly to prescription opioids.
 Professor Keyes’ estimates of the number of cases of OUD due to non-prescription opioids that
 are ultimately due to prescription opioids are in the fourth row of the Table. Specifically,
 Professor Keyes opines that “…a minimum of 53.4% of opioid use disorder cases and deaths in
 the Cabell Huntington Community are indirectly attributable to prescription opioids, averaged


 68
      Keyes Report, Figure 14 (p. 42).
 69
      Keyes Report, Figure 14 (p. 42).

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 across years from 2006 to 2014.”70 The total number of people with OUD in each year in Cabell
 County attributable to prescription opioids (fifth row) is the sum of those with OUD due to
 prescription opioids, and those with OUD from other opioids that is attributable to opioid
 prescriptions.71 In terms of a share, as shown in the sixth row, Professor Keyes’ estimates imply
 that from 2006 – 2018, over 90% of OUD cases in Cabell County are ultimately due to
 prescription opioids.


                                                       Table 4
                                Morbidity Due to Prescription Opioids in Cabell County
                                                      2006-2018

                                  2006       2007    2008    2009    2010    2011    2012    2013    2014    2015    2016    2017     2018      Total

  All OUD cases                  3,959      6,105   3,475   3,819   5,089   6,359   3,763   7,692   6,677   8,257   8,403   10,643   8,252    82,493

  OUD cases directly due to
                                 3,745      5,776   3,385   3,721   4,867   6,083   3,264   6,674   5,267   6,076   5,711    7,156   5,800    67,525
  prescription opioids

  OUD cases due to non-
                                      214     329      90      98     222     276     499   1,018   1,410   2,181   2,692    3,487   2,452    14,968
  prescription opioids

  OUD cases due to non-
  prescription opioids due to         114     176      48      52     118     147     266     544     753   1,164   1,437    1,862   1,309     7,990
  prescription opioids

  Total OUD cases due to
                                3,859       5,952   3,433   3,773   4,985   6,230   3,530   7,218   6,020   7,240   7,148   9,018    7,109    75,515
  prescription opioids

  Share of OUD cases due to
                                 97.5%      97.5%   98.8%   98.8%   98.0%   98.0%   93.8%   93.8%   90.2%   87.7%   85.1%   84.7%    86.1%     91.5%
  prescription opioids



  Sources: Keyes Report, Figure 14.




 48.          Figure 6 graphs the data from Table 4, depicting the rise in the number of OUD cases. In
 the later years, cases of OUD due to non-prescription opioids attributable to prescription opioids
 make up a larger share of the total.




 70
      Keyes Report, p. 48.
 71
      See Keyes Report, pp. 47-48, for a description of the methodology used to compile these estimates.

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                                               Figure 6
                       Morbidity Due to Prescription Opioids in Cabell County
                                              2006-2018
                               Replication of Keyes Report, Figure 14




 Valuation of Morbidity

 49.     I conservatively value the economic effects of morbidity attributed to opioid prescriptions
 in terms of higher health care costs. The opioid epidemic has increased health care utilization.
 Individuals with OUD consume more health care both to treat their OUD (e.g., addiction
 services, MOUD, etc.) and to treat comorbidities, such as hepatitis C and HIV, which occur in
 greater frequencies among patients with OUD.72 Researchers examining the additional health
 care costs resulting from OUD have measured the magnitude of excess health care costs due to
 OUD applying a “cost-of-illness” methodology. The basic approach compares the health care
 costs of individuals with OUD to a comparison group of individuals with similar insurance,
 sociodemographic, and other characteristics. The goal is to compare the costs for all health care,



 72
    J.S. Morrison and L. Dattilo, “America’s Dangerous Syndemic: Opioid Addiction, HIV, and Hepatitis C,” Center
 for Strategic & International Studies, December 2017; P.J. Peters, et al., “HIV Infection Linked to Injection Use of
 Oxymorphone in Indiana, 2014-2015,” New England Journal of Medicine, 375(3), 2016, pp. 229-239; E. Nilsen,
 “America’s Opioid Crisis has Become an ‘Epidemic of Epidemics,’” Vox, March 6, 2018
 (https://www.vox.com/2018/3/6/16453530america-opioid-crisis-epidemic-bacterial-endocarditis-hepatitis-c).

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 not just OUD treatment, resulting from OUD, after controlling for other health factors. For
 example, suppose there are two 40-year-old male patients with private insurance. One patient
 suffers from OUD and the second does not. These analyses compare the health care spending
 over 12 months for these two patients, starting at the time of the first OUD diagnosis for the
 individual with OUD. The difference in their health care spending is the excess health care cost
 attributable to OUD.

 50.          The cost-of-illness methodology is equipped to capture OUD-related elevated health care
 costs for diseases other than OUD. Studies of the elevated risk of particular diseases support the
 finding that health care costs for those with OUD are likely to be higher for a host of reasons.
 Individuals with OUD that transition to intravenous opioid administration are at elevated risk for
 transmission of Hepatitis B, C and HIV due to needle sharing and misuse.73 Opioid users are
 also at elevated risk of sexually transmitted diseases due to risky behavior.74 Individuals with
 OUD are also less likely to take up and adhere to effective contraception and contraceptive
 care.75

 51.          Data from Cabell County confirm that local experience accords with national research.
 An HIV cluster was recently identified in Cabell County with 71 cases reported, which
 represented “a sharp uptick from the baseline average of eight cases annually over the past five
 years” and represented more cases than in all of West Virginia since 2008.76 According to the
 DHHR (Department of Health and Human Services, WV), “The increase reflects a shift in how
 HIV is being more frequently transmitted, not so much from sexual contact but more so from
 being passed among intravenous drug users.”77


 73
   K.M. Rich, et al., “Integrated Models of Care for Individuals with Opioid Use Disorder: How do we Prevent HIV
 and HCV?” Current HIV/AIDS Reports, 15(3), 2018, pp. 266-275; M.R. Golden, et al., “Outbreak of Human
 Immunodeficiency Virus Infection Among Heterosexual Persons Who are Living Homeless and Inject Drugs –
 Seattle, Washington, 2018,” Morbidity and Mortality Weekly Report, 68(15), 2019, p. 344.
 74
   D.C. Perlman, D.C. Des Jarlais, and J. Feelemyer, “Can HIV and Hepatitis C Virus Infection be Eliminated
 Among Persons Who Inject Drugs?” Journal of Addictive Diseases, 2015, 34(2-3), pp. 198-205.
 75
   R.C. Bowers, et al., “Failure of Effective Contraception in Opioid Addicted Mothers: A Disparity in Planned and
 Actual Usage,” Marshall Journal of Medicine. 2019, 5(1), pp. 41-49.
 76
    See, B. Nash, “DHHR Says Cabell HIV Cluster is Growing,” Charleston Gazette-Mail, August 12, 2019
 (https://www.wvgazettemail.com/news/health/dhhr-says-cabell-hiv-cluster-is-growing/article_ba37b709-32ec-5b16-
 8b8c-32867037b9b1.html).
 77
      Ibid.

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 52.          OUD elevated prevalence of infective endocarditis (IE) in the Huntington region. As a
 2019 paper reporting data from the Charleston Area Medical Center (a one hour drive from
 Huntington on I-64) puts it, “One of the potentially lethal and costly complications associated
 with IV drug use is infective endocarditis (IE).”78 The number of cases of IV-associated IE at
 the hospital doubled between 2008 and 2015. Third-party payers cover only part of the average
 charges of $37,500 for a case.79 Other regional hospitals have been similarly affected. A report
 from the University of Cincinnati Medical Center (a 2 hour-40 minute drive from Huntington on
 Kentucky Route 9) also reports a doubling of IE cases over the period 1999-2009.80 Using data
 on payments (rather than charges), the authors found that for the largest payer group, Medicare
 and Medicaid, the average hospital payment was $95,799. They point out that this figure
 understates cost because physician fees are not included. Furthermore, IE patients are generally
 transferred to a skilled nursing facility to complete a typical minimum 6-week course of IV
 antibiotics.81 Higher rates of increase in IE have been found in other regions of the country.82
 Dr. Ellen Thompson, a cardiologist at Marshall Health, reports growth of IE cases in Huntington
 due to IV drug use that match the upward, national trends.83 Specifically, she reports that IE
 cases in Cabell Huntington Hospital have increased from 11 in 2010, to 86 in 2018.84

 53.          Table C.II.1 in Appendix C lists studies applying the cost-of-illness methodology to OUD
 and summarizes their results in terms of estimated excess costs. In one well-known study,
 Florence, et al. (2016) estimate the excess health care costs attributable to OUD for patients with
 Medicare, Medicaid and private insurance in 2013. They find that health care costs were



 78
   M.C. Bates, et al., “Increasing Incidence of IV Drug Use Associated Endocarditis in Southern West Virginia and
 Potential Economic Impact,” Clinical Cardiology, 42, 2019, pp. 432-437 at 432.
 79
    Calculated from Table 3 of Bates et al., ibid. Bates, et al. figure that third-party payers covered only 22% of
 charges overall. Hospital costs are less than charges, but not by that magnitude. In West Virginia, from 2006-2018,
 the average charge to cost ratio was 40%.
 80
   S. Keeshin and J. Feinberg,” Endocarditis as a Marker for New Epidemics of Injection Drug Use,” American
 Journal of the Medical Sciences, 352(6), December 2016, pp. 609–614.
 81
      Ibid.
 82
    A. Fleischauer, et al., “Hospitalizations for Endocarditis and Associated Health Care Costs Among Persons with
 Diagnosed Drug Dependence – North Carolina, 2010–2015,” Morbidity and Mortality Weekly Report, 66 (22),
 June 9, 2017, pp. 569-573.
 83
      Expert Report of Ellen Thompson, M.D., August 3, 2020, p. 2.
 84
      Ibid.

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 $15,500 higher for commercially insured patients, $17,052 higher for Medicare patients, and
 $13,743 higher for Medicaid patients.85 A recent study by Leslie, et al. (2019) estimates the
 excess health care costs for Medicaid patients for each year from 1999 through 2013.86 Another
 recent study sponsored by the Society of Actuaries estimates excess costs for Medicaid as well as
 other major payers over the period 2015-2018.87 I primarily rely on these later two studies to
 quantify excess health care costs due to OUD.

 54.        Table 5 reports the number and valuation of excess health care costs attributed to sales
 and distribution of prescription opioid products in Cabell County from 2006-2018. Total
 morbidity costs are the product of the share of OUD cases in each of the two major payer
 categories (Medicare/Commercial in the second row and Medicaid/Uninsured in the third row of
 Table 5) and their respective excess health-cost estimates (rows 4 and 5 of Table 5). Over this
 time period, the measure of the economic cost of excess health care use is over $501 million for
 Cabell County.




 85
      Florence, et al., op. cit., Table 2.
 86
   D. Leslie, et al., “The Economic Burden of the Opioid Epidemic on States: The Case of Medicaid,” American
 Journal of Managed Care, June 2019, Supplement 25(13), pp. S243-249.
 87
      Davenport, et al., op. cit.

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                                                         Table 5
                                 Morbidity and Excess Health Care Costs Attributed to the
                                      Sales and Distribution of Prescription Opioids
                                                Cabell County, 2006-2018
                                     2006     2007     2008     2009      2010     2011     2012     2013     2014     2015     2016     2017     2018       Total
  Total OUD cases due to
                                     3,859    5,952    3,433    3,773     4,985    6,230    3,530    7,218    6,020    7,240    7,148    9,018    7,109     75,515
  prescription opioids

  Share of OUD cases covered by
                                     43.6%    39.0%    43.8%    43.8%     39.3%    40.9%    38.9%    37.7%    34.9%    34.5%    34.4%    32.0%    32.0%
  Medicare/Commercial payers

  Share of OUD cases covered by
                                     56.4%    61.0%    56.3%    56.3%     60.7%    59.1%    61.1%    62.3%    65.1%    65.5%    65.6%    68.0%    68.0%
  Medicaid/Uninsured

  Excess health care costs per
  OUD case covered by               $13,567 $12,914 $11,761 $11,781 $12,017 $10,866 $10,344          $8,878   $8,878   $8,878   $8,878   $8,878   $8,878
  Medicare/Commercial payers

  Excess health care costs per
  OUD case covered by                $6,044   $5,753   $5,240   $5,249    $5,354   $4,841   $4,609   $3,955   $3,955   $3,955   $3,955   $3,955   $3,955
  Medicaid/Uninsured
  Total excess health care
  costs due to prescription          $36.0    $50.9    $27.8    $30.6     $39.8    $45.5    $24.2    $41.9    $34.2    $40.9    $40.4    $49.9    $39.3    $501.3
  opioids ($ mil)



  Source: Keyes Report, Figure 14 and Appendix C, Tables C.II.4 and C.II.5




 55.         My valuation of the excess cost of health care treatment for people with OUD due to
 prescription opioids underestimates the full cost of OUD morbidity to the Cabell Huntington
 Community. Local governments, partly with grant support, community organizations, and in
 some cases private citizens, pay for health care and other social services. Programs in
 Huntington include the Provider Response Organization and Addiction Care and Treatment
 (PROACT), a facility that provides housing, social and clinical support, as well as Medication
 for Opioid Use Disorder (MOUD)88 for its patients.89 Drug overdoses strained first-responders’
 capacity.90 Figures 4a and 4b, taken from material prepared by Scott Lemley, the Executive
 Director of the Department of Development and Planning at the City of Huntington, and



 88
    MOUD was formerly referred to as MAT (Medically Assisted Treatment). See National Council for Behavioral
 Health, “Medication-Assisted Treatment (MAT) for Opioid Use Disorder in Jails and Prisons,” January 2020d
 (https://www.thenationalcouncil.org/medication-assisted-treatment-for-opioid-use-disorder-in-jails-and-prisons/).
 89
      The City of Solutions, Huntington WV, pp. 39-40.
 90
    “...overdoses were a big issue. Responding to them, I think they felt -- I don't want to say ‘helpless,’ but first
 responders are problem solvers, and I think they felt like it was a problem they couldn't solve, and again, it caused
 compassion fatigue, burnout…” (Lemley Deposition, p. 31).

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 previously a Crime Intelligence Analyst for the Huntington Police Department, are maps
 showing the incidents and concentration of non-fatal drug overdoses in Huntington in one year,
 2016. Lemley explains regarding the two figures: “So you have a dot every time there was an
 incident of a nonfatal overdose. And … it gets kind of tricky because you have dots on top of
 dots on top of dots if they’re at the same address, so it can be difficult to see, which is why we
 did the heat map, as we say, showing concentrations.”91 On the heat map the red areas have
 higher concetrations than the yellow and green areas.


                                             Figure 4a
                   Incidence Map: Non-Fatal Drug Overdoses in Huntington, 201692




 91
   Lemley Deposition, pp. 330-333, quote from p. 333. Referencing Deposition Exhibit 1. The exhibit, “The
 Huntington Model: How One West Virginia City is Fighting Back Against Opioids,” also includes data on the
 number of nonfatal overdoses in Cabell County for 2015 (874 cases) and 2016 (1,404 cases).
 92
      Note that these overdoses include prescription and non-prescription opioids.

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                                            Figure 4b
                      Heat Map: Non-Fatal Drug Overdoses in Huntington, 201693




 Prescription Opioids and Workforce Productivity

 56.       Pain from injury can interfere with an individual’s ability to work,94 and reductions in
 pain enable some to work who would have otherwise been prevented from working due to pain.95
 A study of the effects of Cox-2 inhibitors (non-opioid pain medications) finds that treatment
 increases workplace attendance. 96 Opioids are medically indicated for severe pain associated


 93
      Note that these overdoses include prescription and non-prescription opioids.
 94
   D.J. Gaskin and P. Richard, “The Economic Cost of Pain in the United States,” Journal of Pain, 13(8), 2012, pp.
 715-724.
 95
    Participation in the labor force benefits the individual and the wider society. The individual benefits to the degree
 that added income adds to their consumption opportunities. Others benefit to the degree that the added income of
 the worker increases public tax revenue or offsets costs others would have paid to support consumption of the
 individual had they been out of the labor force. For example, those outside of the labor force are paid
 unemployment or disability benefits; avoiding these transfer payments benefits the public. Support for an individual
 out of the labor force may come from other family members, and this support is not needed if an individual is
 working and supporting themselves. In other words, how much of the benefits of labor force participation flow
 directly to the worker or to others depends on the individual circumstances.
 96
    Cox-2 inhibitors are not generally used for recreational purposes. See C. Garthwaite, “The economic beneﬁts of
 pharmaceutical innovations: The case of cox-2 inhibitors,” American Economic Journal: Applied Economics, 4(3),
 2012, pp. 116-137. A. Butikofer and M. M. Skira, “Missing Work is a Pain: The Eﬀect of Cox-2 Inhibitors on
 Sickness Absence and Disability Pension Receipt,” Journal of Human Resources, 53(1), 2018, pp. 71-122.

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 with trauma, post-surgery, and cancer end-of-life care, conditions for which pain reduction may
 not have a large effect on labor force participation.97 Nonetheless, it is at least theoretically
 possible that in some instances, additional appropriate opioid prescriptions could increase
 productivity.

 57.         Prescription opioids are associated with numerous adverse consequences with increasing
 dose and duration of use, including development of OUD but also death, morbidity, crime,
 incarceration, and child maltreatment, all of which decrease labor force participation of the user
 and/or of others in the immediate and longer term. A working paper from the National Bureau of
 Economic Research studied the effect of opioid prescriptions on workers out on temporary
 disability with low-back pain. Long-term treatment with opioids increased the length of time
 workers missed work due to disability.98

 58.         Some recent papers in the economics literature study the effect of opioid prescriptions on
 a geographic basis (rather than for populations who might be candidates for appropriate
 treatment), and thus capture empirically both the positive effects (from worker pain treatment)
 and some negative effects (from inappropriate treatment) of opioid prescriptions on work.99 As
 one set of authors put it, “Because it is impossible to distinguish between legitimate and
 illegitimate uses of prescription opioids, we interpret these [geographic-level] results as a net
 eﬀect of both types of use.”100 These authors found that the net effect of prescribing on




 97
    Lembke Report, Appendix IV, p.253. Further, CDC provides guidance on the use of prescription opioids for pain
 relief outside of palliative, cancer, or end-of-life care. These guidelines recommend the use of non-opioid analgesics
 for chronic pain management and emphasize patient safety from addiction. See D. Dowell, T.M. Haegerich, and R.
 Chou, “CDC Guidelines for Prescribing Opioids for Chronic Pain – United States, 2016,” JAMA, 315(15), 2016, pp.
 1624-1645.
 98
   B. Savych, D. Neumark and R. Lea, “Do Opioids Help Injured Workers Recover and Get Back to Work? The
 Impact of Opioid Prescriptions on the Duration of Temporary Disability,” National Bureau of Economic Research,
 Cambridge, MA, April 2018.
 99
    M.C. Harris, et al., “Prescription Opioids and Labor Market Pains: The Effect of Schedule II Opioids on Labor
 Force Participation and Unemployment,” working paper, March 28, 2018, pp. 1-44 at p. 1 (https://mpra.ub.uni-
 muenchen.de/86586/1/MPRA_paper_86586.pdf); A. Krueger, “Where Have All the Workers Gone? An Inquiry into
 the Decline of the U.S. Labor Force Participation Rate,” Brookings Papers on Economic Activity, 2017; and J.
 Currie, J. Jin, and M. Schnell, “U.S. Employment and Opioids: Is There a Connection?” in Health and Labor
 Markets, Research in Labor Economics, Volume 47, 2019, Emerald Publishing Limited.
 100
       Harris, et al., op. cit.

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 productivity at the state level was negative.101 One paper using county data on prescription rates
 and employment by age and gender finds that a higher rate of prescriptions has a small positive
 effect on employment for women, but no effect on men. 102 Finally, a recent paper finds that
 increasing prescription opioid prescribing rates decreases the prime-age employment rate for
 both men and women.103

 59.        A paper sponsored by the American Action Forum can be used as a basis for quantifying
 the loss in output associated with prescription opioids. Krueger found that areas with higher
 opioid prescription rates have lower rates of labor force participation overall.104 A follow up
 analysis by the Forum updated the Krueger paper and calculated the reduction in workforce and
 output for each state.105 West Virginia was among the hardest hit states because of the massive
 state-wide growth in opioid prescriptions.106 According to the report, the largest negative
 economic effects in the country occurred in Arkansas and West Virginia, “where the prime-age
 labor force participation rate declined by 3.8 percentage points and the real economic growth rate
 slowed by 1.7 percentage points.” This research, and the others mentioned in this and the
 previous two paragraphs, are summarized and compared in more detail in Table C.II.7 of
 Appendix C.

 60.        On the basis of the available evidence, I am of the opinion that the net effect of the sales
 and distribution of prescription opioids on labor productivity is negative: more prescriptions


 101
    Harris, et al., op. cit. study ten states using data from Prescription Drug Monitoring Programs and find that a
 10% increase in per capita prescriptions leads to a 0.56 percentage point decrease in labor force participation.
 102
       Currie, Jin, and Schnell, op. cit.
 103
    D. Aliprantis, K. Fee, and M.E. Schweitzer, “Opioids and the Labor Market,” Federal Reserve Bank of
 Cleveland, Working Paper No. 18-07, 2019.
 104
       Krueger, op. cit.
 105
     American Action Forum, “State-By-State: The Labor Force and Economic Effects of the Opioid Crisis,”
 September 12, 2018 (https://www.americanactionforum.org/project/opioid-state-summary/west-virginia/). The new
 report also corrects for an interpretation error in the original Krueger analysis associated with non-linear properties
 of his regression specification. When the interpretation is corrected, “the regression indicates that growth in opioids
 led the nationwide prime-age labor force participation rate to decline by 1.4 percentage points for men (40 percent of
 the total decline) and 1.8 percentage points for women (nearly 60 percent of the total decline).” This effect is about
 twice as large as contained in Krueger’s analysis.
 106
    The CDC has IQVIA data on per-capita opioid prescribing rates. From 2006-2011, West Virginia had the
 highest rate in the nation. From 2012-2014, it had the second highest rate; in 2015, the fourth. In 2016 and 2017, it
 was the 8th highest. See CDC, “U.S. Opioid Prescribing Rate Maps” (https://www.cdc.gov/drugoverdose/
 maps/rxrate-maps.html) for data and details.

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 mean less work. This conclusion is bolstered by the observation that the short-term harms of the
 sales and distribution of prescription opioids on workforce productivity underestimate the full
 negative effects which play out over time. A worker who develops OUD today because of
 prescription opioids may have reduced labor-force participation, on average, for years to come.

 61.       Experience in the Community accords with the research studies. I have not undertaken a
 quantification of the longer-term effects on productivity from the sales and distribution of
 prescription opioids (apart from death, criminality, and child maltreatment). But given the
 dynamics of opioid use and OUD, measurement of these longer-term effects on productivity
 from sales and distribution of prescription opioids would result in a much greater imbalance
 where the costs far exceed the benefits in productivity.

 62.       The overall purpose of my analysis here is to determine whether overall costs from the
 sales and distribution of prescription opioids exceed ostensible benefits. As a result, if a
 particular quantification is not needed to make that determination, I can simplify the analysis by
 making conservative assumptions. Therefore, even though I believe costs to workforce
 productivity outweigh the benefits, when counting and valuing the effects of prescription opioids
 on workforce productivity, I will conservatively treat the positive and negative as approximately
 canceling out.

 63.       My opinion that the costs of prescription opioids in terms of workforce participation
 outweigh the potential benefits is complemented by the opinions of medical experts regarding
 the clinical costs and benefits. Dr. Lembke, a physician who has treated many patients with
 OUD, addresses the issue of benefits of prescription opioids in relation to alternative treatments
 and concludes that “the best available evidence … found that non-opioid medications
 (NSAIDs, acetaminophen) provide equivalent or greater pain relief, while opioids confer
 significantly greater risks …” 107 Dr. Lembke also discusses a systematic literature review
 which concludes that prescription opioids fare poorly even in relation to placebo ( i.e., no)
 treatment. The review found “that the difference in pain relief did not meet a pre -specified




 107
       Lembke Report, pp. 254 – 255.

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 ‘Minimally Important Difference’ (MID), that is, ‘the smallest amount of improvement in a
 treatment outcome that patients would recognize as important.’”108

 64.       Dr. Lembke states:109

           “Based on the consensus view stated in the NASEM [National Academies of Sciences,
           Engineering, and Medicine] Report, research findings, and my own clinical
           experience, it is my view that at a population level, the risks of long-term opioids
           for chronic pain far outweigh the benefits. For very few patients, benefits might
           outweigh the risks; but even then risks increase with higher dose and longer
           duration of opioid treatment, such that risks may eventually exceed any small
           possible benefit over other less dangerous pain reduction strategies.” (emphasis
           added)

 65.       Dr. Lembke goes on to state her conclusions as follows:110

           “The adverse effects of opioids are well-known and devastating. These include
           overdose mortality, primarily due to respiratory suppression; non -fatal overdose;
           OUD; and neonatal abstinence syndrome (NAS), which afflicts newborns well into
           childhood. These conditions are severe, fatal or life-threatening, permanent or of
           long duration. The Cabell Huntington Community has been even more severely
           impacted than the US as a whole.
           In contrast, the benefits of prescription opioids are limited or ephemeral. I agr ee
           with the consensus of leading authorities that there is no reliable evidence that
           long-term opioids provide clinically significant relief of CNCP, and the best
           evidence supports equivalent pain relief and fewer risks with non -opioids such as
           NSAIDs. Although opioids are indicated for acute pain, numerous studies show
           equivalent relief and lower risk with non-opioids; a significant minority of acute-
           pain opioid patients go on to become persistent users who suffer dependency but
           do not benefit from opioid use; over-prescribing for acute conditions results in
           diversion to inappropriate users, a source of community harm that further offsets
           any pain relief benefits to appropriate users; and the pain relief in acute conditions
           is inherently brief, compared to the long-term or permanent harms of fatal and
           non-fatal overdose, OUD and NAS.
           In summary, it is my clinical opinion that the harms of prescription opioids to the
           Cabell Huntington Community far outweigh any benefits that may be conferred.”



 108
    Lembke Report, p. 254. See J.W. Busse, et al., “Opioids for Chronic Noncancer Pain: A Systematic Review and
 Meta-Analysis,” JAMA, 320(23), 2018, pp. 2448-2460.
 109
     Lembke Report, p.255. Dr. Lembke’s reference in this quotation is to: National Academies of Science
 Engineering and Medicine (NASEM), “Pain Management and the Opioid Epidemic: Balancing Societal and
 Individual Benefits and Risks of Prescription Opioid Use,” 2017, p. 51.
 110
       Lembke, Appendix IV, p. 261.

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 66.      See also the Report of Dr. Waller, a practicing addiction, pain, and emergency medicine
 physician, where he discusses the limited clinical situations in which opioids are a medically
 appropriate option, and the very substantial medical risk incurred by prescription opioid use.111

          C.       Babies Born with Neonatal Abstinence Syndrome (NAS)

  Overview

 67.      Neonatal abstinence syndrome (NAS), also termed neonatal withdrawal,112 is a
 constellation of conditions associated with in utero exposure to opioids.113 It can occur due to
 any regular antenatal opioid use, including whether opioids are taken as prescribed or non-
 medically.114 According to the CDC, “Neonatal abstinence syndrome (NAS) is a postnatal drug
 withdrawal syndrome in newborns caused primarily by in utero exposure to opioids.”115

 68.      The syndrome is a rapidly growing public health problem, with the incidence of NAS
 increasing dramatically between 2000-2012, corresponding with a rise in opioid use and
 abuse.116 Babies born with NAS may exhibit a host of symptoms, including respiratory distress;



 111
     Expert Report of Dr. Corey Waller, in this matter, August 3rd, 2020 (hereafter Waller Report). Dr. Waller rejects
 opioids as an appropriate treatment choice for chronic pain management and considers them a risky treatment course
 in intra-operative and post-surgical settings, concluding that “…except for pain treatment in severe acute trauma,
 palliative care, and hospice treatment, opioids should be considered the approach of last resort when treating patients
 with acute or chronic pain (p. 40).” Dr. Waller characterizes palliative care and hospice as the “core scope under
 which opioids may be used appropriately” (p. 39). “Balancing opioids’ severe risks with the lack of efficacy of
 opioids to treat chronic pain makes it obvious that opioids are of little to no use in chronic pain and should be used
 sparingly, if at all, to treat pain lasting more than 3-7 days” (p. 39). In page 23 of his report, Dr. Waller describes
 the “serious, severe and predictable” risks associated with the drugs at issue in this matter: “addiction, dependence,
 tolerance, withdrawal, respiratory depression, overdose, and death”
 112
    K. McQueen and J. Murphy-Oikonen, “Neonatal Abstinence Syndrome,” New England Journal of Medicine,
 375(25), 2016, pp. 2468-2479.
 113
    H. Uebel, et al., “Reasons for Rehospitalization In Children Who Had Neonatal Abstinence Syndrome,”
 Pediatrics, 136(4), 2015, pp. e811-e820.
 114
    S. Wong, et al., “Substance Use in Pregnancy,” Journal of Obstetrics and Gynecology Canada, 33(4), 2011, pp.
 367-384.
 115
    CDC, “Incidence of Neonatal Abstinence Syndrome – 28 States, 1999-2013,” Morbidity and Mortality Weekly
 Report (MMWR), 65(31), August 12, 2016, pp. 799-802 at p. 801 (https://www.cdc.gov/mmwr/volumes/65/wr/
 mm6531a2.htm).
 116
     S.W. Patrick, et al., “Neonatal Abstinence Syndrome and Associated Health Care Expenditures: United States,
 2000-2009,” JAMA, 307(18), 2012, pp. 1934-1940; S.W. Patrick, et al., “Increasing Incidence and Geographic
 Distribution of Neonatal Abstinence Syndrome: United States 2009 to 2012,” Journal of Perinatology, 35(8),
 August 2015, pp. 650-655.

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 central nervous system symptoms like tremors and seizure; and gastrointestinal problems such as
 poor feeding and vomiting.117 The onset of symptoms typically occurs within the first few days
 following birth.118

 69.        Calculating the harm from babies born with NAS in the Cabell Huntington Community
 and attributable to prescription opioids is based on multiplying the number of NAS cases due to
 prescription opioids by the economic costs associated with an NAS birth. I consider three types
 of excess economic costs due to NAS: hospital costs at birth, health care costs during childhood,
 and special education costs. I describe the rationale for each of these cost categories below.

 70.        The NAS epidemic has prompted a forceful response from the Cabell Huntington
 Community. One example is Lily’s Place, which opened in Huntington in October 2014.119
 Lily’s place “provides short-term medical care to infants suffering from prenatal drug exposure
 and offers non-judgmental support, education, and counseling to families,” and has become a
 regional and national resource for care of NAS babies. 120 NAS babies come to Lily’s Place
 directly after leaving the hospital. Lily’s Place spends more than $1 million caring for infants
 with NAS each year since 2016.121

 71.        Figure 7 compares the NAS rate in Cabell County to the West Virginia and national rates,
 which are supplied by Professor Keyes.122 West Virginia has a much higher rate than the nation
 overall, and Cabell has a rate higher still than the West Virginia average rate. Between 2013 and
 2015, the rate of NAS births was more than 500% greater in Cabell County than nationwide.




 117
       S. Wong, et al., op. cit., Table 6.
 118
       S. Wong, et al., op. cit., p. 375.
 119
     Lily’s Place, Inc., Annual Financial Report, 2017 (HUNT_00197045-55 and https://lilysplace.org/about). See
 also, The City of Solutions, Huntington WV, pp. 43-44.
 120
       Lily’s Place, op. cit., p. 6.
 121
    Financial details of Lily’s Place come from ProPublica’s nonprofit Explorer (https://projects.propublica.org/
 nonprofits/organizations/462235123). In, 2017, for example, Lily’s Place spent $1.2 million.
 122
       Keyes Report, Figure 10.

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                                                    Figure 7
                                      NAS Cases per 1,000 Hospital Births
                                National, West Virginia and Cabell County Rates
                                     Replication of Keyes Report, Figure 10




 Count of Births with NAS

 72.        To identify the number of NAS babies in Cabell County, I rely on Professor Keyes.
 Professor Keyes states: “The majority of neonatal abstinence syndrome among US infants is due
 to opioid exposure in utero.”123 On this basis I conservatively attribute 50% of her estimated
 number of NAS births in Cabell County to opioids.124 She provides estimates of the number of
 NAS births attributable to opioid use for the years 2006-2015, but not for 2016-2018 due to data
 unavailability. To estimate to the number of NAS births attributable to prescription opioids, I
 assume the share of NAS births due to prescription opioids is the same as the share of OUD due
 to prescription opioids. Specifically, I use the last row from Table 4 above to determine the
 number of NAS births due, directly or indirectly, to prescription opioids. Table 6 presents the
 counts for NAS due to prescription opioids in Cabell County.



 123
       Keyes Report, p. 36.
 124
       Keyes Report, Table 1.

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                                                 Table 6
                          NAS Births Due to Prescription Opioids in Cabell County
                                                2006-2015


                                   2006   2007    2008     2009   2010   2011   2012   2013    2014   2015     Total

  Cabell County NAS cases          10.0   10.0    15.0     16.0   19.0   23.0   30.0   44.0    46.0   49.0     262.0

  Cabell County NAS cases
                                   5.0     5.0     7.5     8.0    9.5    11.5   15.0   22.0    23.0   24.5     131.0
  due to opioids

  Share of NAS cases due to
                                   97%    97%      99%     99%    98%    98%    94%     94%    90%    88%
  prescription opioids

  Cabell County NAS cases
                                    4.9    4.9     7.4      7.9   9.3    11.3   14.1    20.6   20.7   21.5     122.6
  due to prescription opioids


  Sources: Keyes Report, Table 1, and Table 4 above.



 Valuation of Excess Costs of NAS

 73.       A baby born with NAS is more likely to have elevated health care costs at birth,125 higher
 levels of morbidity and rehospitalization through childhood,126 increased risk of educational
 disability,127 development delay,128 and poor school performance.129 NAS births are associated
 with more intensive hospital utilization than other births, including, for example, increased
 length of stay and increased risk of transfer to the neonatal intensive care unit, resulting in higher
 costs.130 Later in life, children born with NAS are more likely to suffer mental and physical
 trauma, endure maltreatment, develop ophthalmologic conditions, behavioral disorders, and


 125
    S.W. Patrick, et al., op. cit.; American College of Obstetricians and Gynecologists, “Opioid Use and Opioid Use
 Disorder in Pregnancy. Committee Opinion No. 711,” Obstetrics & Gynecology, 130(2), 2017, pp. e81-e94.
 126
    G. Liu, et al., “A Longitudinal Healthcare Use Profile of Children with A History of Neonatal Abstinence
 Syndrome,” The Journal of Pediatrics, 204, 2019, pp. 111-117.
 127
    M.M. A Fill, et al., “Educational Disabilities Among Children Born with Neonatal Abstinence Syndrome,”
 Pediatrics, 142(3), 2018, p. e20180562.
 128
     E.S. Hall, J.M. McAllister, and S.L. Wexelblatt, “Developmental Disorders and Medical Complications Among
 Infants with Subclinical Intrauterine Opioid Exposures,” Population Health Management, 22(1), 2019, pp. 19-24.
 129
    J.L. Oei, et al., “Neonatal Abstinence Syndrome and High School Performance,” Pediatrics, 139(2), 2017, p.
 e20162651.
 130
    S. Wong, et al., op. cit. See also: T.E. Corr and C.S. Hollenbeak, “The Economic Burden of Neonatal
 Abstinence Syndrome in the United States,” Addiction, 112, 2017, pp. 1590-1599.

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 suffer preventable injuries that require care and in some cases repeat hospitalizations. 131 I focus
 on excess health care costs during childbirth and childhood, and excess costs incurred for special
 education. Data are not available for excess costs later in life.

 74.     I begin with excess hospital costs associated with an NAS delivery. Hospital discharge
 data reports “charges,” a form of list price that is generally not what health care payers actually
 pay. To quantify the excess hospital costs due to NAS, I begin with the difference between the
 average hospital charge for an NAS case in West Virginia and the average hospital charge for all
 births132 in the state in each year. I then convert excess hospital charges to excess hospital costs
 by multiplying charges by net revenue-to-charge ratios from the American Hospital Association.
 This adjustment, in effect, transforms charges into costs to payers (which equals revenue to the
 hospital). Table 7 reports the total estimated hospital costs of NAS attributable to prescription
 opioid sales; these costs were over $1.4 million in Cabell County between 2006-2015. See
 Appendix C Section III for information about the estimate of hospital costs.




 131
    H. Uebel, et al., op. cit. Professor Keyes discusses the adverse downstream consequences at length in her report
 (Keyes Report, p. 36).
 132
     Note that the average charge for all births include charges for NAS making my calculation conservative as NAS-
 related charges are higher than non-NAS related charges.

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                                                         Table 7
                                  Neonatal Abstinence Syndrome (NAS) and Valuation
                                  Due to Sales and Distribution of Prescription Opioids
                                                Cabell County, 2006-2015

                                     2006     2007      2008      2009       2010      2011      2012      2013     2014      2015       Total

  NAS cases in Cabell County          10.0      10.0      15.0      16.0       19.0     23.0      30.0      44.0      46.0      49.0     262.0

  NAS cases attributed to
                                       4.9       4.9       7.4       7.9        9.3     11.3      14.1      20.6      20.7      21.5     122.6
  prescription opioids

  Excess hospital costs for
                                   $11,083   $10,848   $15,785   $34,357    $56,742 $109,151 $199,535 $266,558 $316,755 $375,693 $1,396,506
  NAS births

  Excess child health care cost
                                   $44,413   $44,422   $67,520   $72,024    $84,802 $102,671 $128,228 $188,127 $188,971 $195,764 $1,116,943
  for NAS cases

  Excess special education
                                    $3,533    $3,534    $5,372    $5,730     $6,747   $8,168   $10,202   $14,967   $15,034   $15,575    $88,862
  costs for NAS cases

  Total NAS excess costs
  due to prescription opioids       $0.06     $0.06     $0.09     $0.11      $0.15    $0.22     $0.34     $0.47     $0.52     $0.59      $2.60
  ($million)


  Sources: Keyes Report, Table 1 and Appendix C, Tables C.III.1 - C.III.3




 75.        Turning to excess health care costs during childhood due to NAS, Liu, et al. find, in a
 privately insured national population in 2005-2014, that children ages 1-8 born with NAS incur
 an average of $6,927 per year in health care costs, compared to $2,735 for those without,
 implying an annual excess health care cost of $4,192 for children born with NAS.133 Most
 children born with NAS are covered by Medicaid.134 I adjust the Liu, et al. estimates downward
 to reflect lower Medicaid costs and lower costs in West Virginia using the same approach as in
 the morbidity section above.135 Applying these adjustments to determine an annual excess health
 care cost for children born with NAS in West Virginia, and then multiplying by 8 years for years
 yields excess health care costs of $9,113 per child with NAS. This estimate is conservative in
 that the health care costs from the Liu, et al. study include earlier years than the 2006-2015 years


 133
    G. Liu, et al, op. cit. These costs include hospitalizations, emergency department visits, outpatient evaluations,
 and prescription drugs.
 134
       S.W. Patrick, et al, op. cit.
 135
    Medicare/Commercial costs for OUD were 224.5% higher relative to Medicaid/Uninsured. Moreover, West
 Virginia Medicaid costs for OUD were 39% lower than the national average.

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 addressed in my Report. These excess health care costs amount to $1.1 million from 2006-2015
 in Cabell County.

 76.         Children born with NAS are also more likely to incur additional educational expenses, in
 the form of evaluation for disabilities, use of speech or other developmental therapy, and other
 services.136 Fill, et al. estimate that children with NAS in Tennessee are 3.9 percentage points
 more likely to receive special education services and therapy (15.3% versus 11.4%).137 Based on
 the academic literature, I estimate that the average cost of services provided to special education
 students is approximately $9,298 per year.138 Students receive an average of two years of special
 education.139 Multiplying these variables results in an estimate of $725 in average excess
 educational cost per student with NAS.140 These costs add $0.09 million to the total costs to the
 Cabell Huntington Community attributable to prescription opioids over the years 2006-2015.
 See Appendix C Section III for a detailed description of methods and sources used for these
 calculations.

 77.         My valuation of the cost of NAS is conservative. First, as explained above, data are not
 available to provide estimates for the years 2016-2018. Figure 7 above shows a steep, upward
 trend in the NAS rate in Cabell County, in parallel to West Virginia. This suggests that the NAS
 rate in Cabell County would also have gone up over these latter years. My valuation does not
 include some costs after the baby is discharged from the hospital, including Cabell Huntington
 Community efforts for children born with NAS and their families. Furthermore, because of data
 limitations, I omit some categories of excess costs due to NAS. For example, children born with
 NAS have worse health outcomes into early adulthood.141 Higher health care costs might persist




 136
       J.L. Oei, et al., op. cit.
 137
       M.M.A. Fill, et al., op. cit.
 138
       See Appendix C for details on how I derive this valuation.
 139
     E.W. Holt, D.J. McGrath, and W.L. Herring, “Timing and Duration of Student Participation in Special Education
 in the Primary Grades,” NCES, 2007-043, Washington DC, National Center for Education Statistics, 2007.
 140
       ($9,298) * 2 * 0.039 = $725.
 141
       H. Uebel, et al., op. cit.

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 after age 8,142 but I am not aware of research on which to base a quantitative calculation of
 ongoing excess health care costs. Evidence suggests that children born with NAS have lower
 educational outcomes later in life and underperform in school.143 The positive relationship
 between education and income is well-known, implying a cost to the children in terms of lower
 income, fewer economic opportunities and reduced upward mobility.144 Moreover, education
 levels are inversely correlated with participation in criminal activities, and drug use.145 Finally,
 the long-term adverse consequences of NAS are unknown and as such there are no data of which
 I am aware to quantify the long-term economic damages to a generation with so many babies
 born with NAS.

             D.        Crime

  Overview

 78.         The sales and distribution of prescription opioids increase crime through a number of
 causal channels. For example, the resale of prescription opioids (e.g., OxyContin) is a crime.
 Additionally, people misusing opioids may commit crimes, such as property theft, to obtain
 money to buy opioids or their drug use may lead to other crimes, such as assault.146

 79.         My approach for valuing the economic harm of criminal activity in the Cabell Huntington
 Community due to prescription opioids is as follows. First, I obtain local crime data, from which




 142
     Two literature reviews find scant research on the longer-term consequences from children born with NAS. See
 D.J. Maguire, S. Taylor, K. Armstrong, et al., “Long-Term Outcomes of Infants With Neonatal Abstinence
 Syndrome,” Neonatal Network, 35(5), 2016, pp. 277-286 and H.J. Harder and A.Z. Murphy, “Early Life Opioid
 Exposure and Potential Long-Term Effects,” Neurobiology of Stress, 10, 2019, p. 100156.
 143
       J.L. Oei, et al., op. cit.
 144
     D. Card, “The Causal Effect of Education on Earnings,” Handbook of Labor Economics, 3, Elsevier, 1999,
 pp. 1801-1863.
 145
     L. Lochner and E. Moretti’ “The Effect Of Education on Crime: Evidence From Prison Inmates, Arrests, and
 Self-Reports,” American Economic Review, 94(1), 2004, pp. 155-189; P. Chatterji, “Illicit Drug Use and Educational
 Attainment,” Health Economics, 15(5), 2006, pp. 489-511.
 146
     T.N.A. Winkelman, V.W. Chang, and I.A. Binswanger, “Health, Polysubstance Use, and Criminal Justice
 Involvement Among Adults with Varying Levels of Opioid Use,” JAMA Open Network, 1(3), 2018, pp. e180558-
 e180558; R. N. Hansen, et al., “Economic Costs of Nonmedical use of Prescription Opioids,” The Clinical Journal
 of Pain, 27(3), 2011, pp. 194-202.

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 I derive a share of crime due to prescription opioids. Second, I take these counts and multiply by
 crime cost valuations from the research literature based on the type of offense.

 80.           In Huntington, local officials attest that opioids drive crime. In 2017, in reporting in The
 Herald Dispatch by Courtney Hessler, Captain Hank Dial stated that many of the city’s crime
 problems “stem from drug trafficking ...”147 In other reporting by Hessler in The Herald
 Dispatch, according to Chief of Police Joe Ciccrelli: “If you aren't involved in drugs, the chance
 of being a victim of violent crimes is pretty slim ...”148 The Chief went on to say, “It’s common
 we have drug robberies…. When we say the victim isn’t cooperating, there’s a reason. They will
 take their licks and go on. Oftentimes, there are retaliation shootings.”149 City of Huntington
 Mayor Williams was aware of this relationship years before. When asked as to his awareness of
 an opioid problem prior to 2014, he responds: “The City had a problem with several different
 drugs. In 2014, I became aware that opioids was more than just a problem; that it was driving …
 the extent of the drug trade, the crime and other problems within the City. And that's when … I
 received a heightened awareness of the extent of the opioid epidemic.”150

 81.           Drug crimes in the Cabell Huntington Community increased dramatically in step with the
 opioid epidemic. Figures 8a and 8b depict the “hot spots” of drug offenses for 2004 and 2014 in
 Huntington. High-crime areas got hotter, and the heat spread throughout the city over this ten-
 year period.151 In his deposition, Scott Lemley, creator of the heat maps, describes what they
 show: “What you see in 2004 was in the Fairfield neighborhood. It was known for dealing of
 drugs, drug possession, violent crimes… as you move from 2004 to ’14, it literally went from a




 147
    J. Qualls, and C. Hessler, “Leaders Address Public Safety Concerns with ‘Show of Force,’” The Herald-
 Dispatch, December 13, 2017 (www.herald-dispatch.com/_recent_news/leaders-address-public-safety-concerns-
 with-show-of-force/article_355de5bc-dfb1-11e7-be5a-c7043283e7a3.html?fbclid=IwAR3YrbSmcAq
 QkODyZCS4IGZWe2T5CVEdZQ_wIyRLQfP_1jD5YF5dd4tVIJQ#utm_campaign=blox&utm_source=facebook&
 utm_medium=social).
 148
     C. Hessler, “Violent Crime Rate in City Grew in 2016,” The Herald-Dispatch, March 12, 2017 (www.herald-
 dispatch.com/news/violent-crime-rate-in-city-grew-in-2016/article_44a5b63f-cc4e-56b0-a7b6-db3fbfe4d70f.html).
 149
       Ibid.
 150
       Deposition of Steve Williams, in this matter, June 30, 2020 (hereafter Williams Deposition), p. 24.
 151
       Lemley Deposition, pp. 329-330.

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 very small area to touching almost every neighborhood in Huntington…it permeated from a
 geographic standpoint, everywhere.” 152


                                            Figure 8a
                               Drug Offenses Heat Maps, Huntington
                                              2004




                                            Figure 8b
                               Drug Offenses Heat Maps, Huntington
                                              2014




 152
       Ibid.

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 82.        In response to the wave of criminal activity due to drugs, the Huntington Mayor’s Office
 of Drug Control and Policy was established to fight the harm due to drug addiction in
 Huntington.153 The office enhances ties with federal law enforcement agencies, and promotes
 surveillance of drug dealers through the justice system.

 83.        As noted above at ¶¶ 29 and 35, the valuation of crimes presented here based on the
 research literature does not include a measure of the stress imposed on first responders among
 the police, fire and EMS units.

 Count of Crimes

 84.        I start with a count of the total number of crimes in different categories, (e.g., motor
 vehicle theft, prostitution, vandalism) committed within the Cabell Huntington Community,
 based on reports from law-enforcement agencies (LEAs) covering the Community. Counts of
 incidents come from the National Incident-Based Reporting System (NIBRS) maintained by the
 FBI. NIBRS data are a standard source used to measure criminal offenses by criminal category
 for LEAs that report into the NIBRS. However, not all LEAs report their data to the NIBRS.154

 85.        Starting with 2011, NIBRS does not include crime counts for some LEAs. Where data
 are missing in the NIBRS, my staff contacted the LEA directly to obtain crime reports. Where
 data remain unavailable, I exclude these LEAs from the count for that year, in effect,
 conservatively, attributing no crimes to that LEA in that year. LEAs with at least one year of
 data from 2006-2018 are: The City of Huntington, Cabell County Sheriff’s Office, Marshall
 University, Barboursville Village, The Town of Milton, the Cabell State Police, the State Fire
 Marshall, and the Cabell County Department of Natural Resources. 155




 153
       The City of Solutions, Huntington WV, p. 76.
 154
     The Bureau of Justice Statistics reported that, “In 2012 NIBRS-contributing agencies served approximately 30
 percent of the U.S. population and accounted for 28 percent of all crime reported to the UCR [Uniform Crime
 Reporting] Program.” See Bureau of Justice Statistics, “Data Collection: National Incident-Based Reporting System
 (NIBRS)” (https://www.bjs.gov/index.cfm?ty=dcdetail&iid=301). Some of the larger LEAs in Cabell County did
 not report crimes to NIBRS during 2011-2018, including the Huntington Police Department and the Cabell County
 Sheriff.
 155
    Specifics on data available for each of the LEAs are contained in Appendix C. Alternate sources are also
 explained there.

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 86.       Crime counts include drug-related crimes (possession, selling, or distribution of illegal
 drugs), where the primary criminal activity relates to drugs, and other crimes (arson, battery,
 vandalism) that occurred due to drugs. For drug-related crimes, I estimate the share of these that
 are opioid related based on the share of all drug seizures in West Virginia that involved
 opioids.156 I then adjust these crime counts by the share of OUD in Cabell County due directly
 and indirectly to prescription opioids applying the last row of Table 4. For other crimes (e.g.,
 battery), I use findings from research studies to estimate the share of these crimes that are
 attributable to drugs.157 I then apply the same adjustment for drug-related crimes to find the
 number of other crimes attributable to prescription opioids. See Section IV.1 of Appendix C for
 details on crime counts.

 Valuing the Cost of Crimes

 87.       A commonly used framework in the economic literature on crime classifies costs into
 direct, indirect, and intangible costs.158 Direct costs include medical costs, the costs of private
 crime deterrents (alarms, security), public expenditures on police, court costs associated with
 investigating and prosecuting criminal activity, and the value of property lost due to criminal
 activity. Indirect costs of crime include the productivity loss for victims of violent crime and the
 loss in productivity due to addiction and incarceration for the perpetrator. Finally, intangible
 costs consist of pain, suffering, and psychological consequences borne by crime victims and the
 public.

 88.       Direct costs of crime are often estimated by combining several sources of data, including
 government data on criminal justice system costs, surveys on medical expenses, and property




 156
    I use West Virginia data reported to the National Forensic Laboratory Information System (NFLIS) on the
 number of drug crimes involving opioids.
 157
     The share of criminal activity due to drugs comes from this report: U.S. Department of Justice, National Drug
 Intelligence Center, “The Economic Impact of Illicit Drug Use on American Society,” 2011
 (https://www.justice.gov/archive/ndic/pubs44/44731/44731p.pdf).
 158
     Two literature reviews are: N. Wickramasekera, et al., “Cost of Crime: A Systematic Review,” Journal of
 Criminal Justice, 43(3), 2015, pp. 218-228 and K.E. McCollister, M.T. French and H. Fang, “The Cost of Crime to
 Society: New Crime-Specific Estimates for Policy and Program Evaluation,” Drug and Alcohol Dependence, 108(1-
 2), 2010, pp. 98-109.

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 loss associated with crime.159 The main component of the indirect costs of crime is productivity
 loss by both the victims and the perpetrators. Crimes that result in injury or hospitalization lead
 to a reduction in victim productivity. The opportunity cost to criminals of engaging in
 productive activities is also included in the indirect cost of crime.160 Finally, intangible costs
 include the emotional and psychological consequences of criminal activity imposed on victims
 and the public. The “jury-compensation approach” uses monetary amounts awarded by juries in
 injury cases, net of medical costs and lost wages, to estimate intangible costs to victims.161 A
 second method for estimating intangible costs, the contingent valuation approach, uses surveys to
 estimate respondents’ willingness-to-pay for reductions in hypothetical risk of pain, suffering or
 various types of crimes. See Appendix C, Section IV.2 for further descriptions regarding crime
 valuation.

 89.        Another perspective on costs comes from considering the value of public services police
 could have provided had they not been diverted into opioid-related crimes. The surge in opioid-
 related crime consumed much of the Huntington Police Department officers’ time and resources.
 According to Captain Dial, “the detectives have had a hard time handling the workload ...”162
 Diversion of police resources to opioid-related crime means less resources available for other
 law enforcement activities, for example, increasing wait times after a call and less police time
 available for investigation. As Chief Ciccarelli explained in The Herald Dispatch, “We
 maintained our staffing where it’s at to ensure we can make these [overdose] calls, but to do that,
 other areas have had to suffer.” The suffering referred to by the Chief is experienced by the
 residents of the Cabell Huntington Community. Cabell County Sheriff Charles Zerkle confirms




 159
     See D.A. Anderson, “The Cost of Crime,” Foundations and Trends® in Microeconomics, July 3. 2011, pp. 209-
 265, chapter 4, for a discussion and a representative example of the data-aggregation methods used in crime costing
 studies.
 160
     These costs are often calculated by multiplying the minimum wage by the amount of person-years spent by
 criminals in incarceration. This assumes incarcerated individuals would work full time at a low-paying job if not
 incarcerated. This measure is likely an underestimation of this form of crime cost because it omits the opportunity
 cost of crime that does not result in incarceration. See McCollister op. cit.
 161
    This methodology was developed in M.A. Cohen, “Pain, Suffering, And Jury Awards: A Study of the Cost of
 Crime to Victims,” Law & Society Review, 22(3), 1988, pp. 537-555.
 162
       J. Qualls, and C. Hessler, op. cit.

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 his office’s inability to keep up with the rash of opioid-related crime: “… We were overwhelmed
 and we lacked resources, and we continued to lack resources to do our job.”163

 90.        Sheriff Zerkle was explicit about the cost of devoting police resources to opioid-related
 problems in schools. In his deposition he states: “… I have five [deputies] that are assigned to
 schools. They're school resource officers. I took some flack over that a little bit, that I pulled
 that many people. I have 12 percent of my workforce in the schools. But what's happened
 during this timeline, our children, they've lost their families, they've lost their mothers and
 fathers. Now the grandparents are trying to raise them. And disruption in the school and stuff, I
 thought it was a good investment in our kids and our future to put those five deputies in the
 schools.”164

 91.        Table 8 presents dollar estimates of the costs of crime across all types of offenses for the
 Cabell Huntington Community. These figures include direct, indirect, and intangible costs as
 described above. In total, I estimate that crimes due to sales and distribution of prescription
 opioid from 2006-2018 led to excess costs of over $77.4 million in the Community.




 163
       Deposition of Charles Zerkle, in this matter, June 17, 2020, (hereafter Zerkle Deposition), p. 190.
 164
       Zerkle Deposition, pp. 71-72.

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                                                            Table 8
                                          Crime and Valuation of Crime Attributed to
                                           Prescription Opioid Sales and Distribution
                                           Cabell Huntington Community, 2006-2018
                                       2006    2007    2008    2009      2010   2011    2012    2013    2014    2015    2016    2017    2018     Total
      Crime events attributable to
  [1]                                  482.1   447.4   543.4   842.9    657.6   545.6   734.1   700.2   977.8   860.7   917.7   749.8   730.3    9,189.8
      prescription opioids

      Costs for crimes attributable
  [2] to prescription opioids          $3.7    $3.7    $4.8    $7.0     $5.3    $4.4    $5.7    $5.7    $7.3    $6.5    $8.3    $8.1    $7.0     $77.4
      ($millions)


       Sources: Appendix C, Tables C.IV.1 - C.IV.4.




             E.           Prescription Opioid-Related Crime and Property Values

  Overview

 92.         One pernicious and impossible-to-miss harm from the opioid epidemic is neighborhood
 blight, the degradation of neighborhoods contaminated by drug sellers, drug users, and crime.
 The association between crime, empty homes, and neighborhood decline is widely
 documented.165 Homes and neighborhoods in the Cabell Huntington Community have been
 severely adversely affected by the opioid epidemic, with hundreds of homes demolished due to
 abandonment, crime, and uninhabitability. From a December 2019 report in the West Virginia
 Metro News:

             “[City of Huntington Demolitions Specialist Crystal] Perry said Huntington Mayor Steve
             Williams and others began looking at the abandoned house issue a few years ago with the
             rise of the opioid epidemic. She said there were originally about 500 structures identified.
             The list of remaining structures is now down to about 130.”166

 93.         For many households in Cabell, a home is their primary form of wealth. The median net
 wealth of American households, as measured by net worth, was $94,670 in 2016, with 34.5% of


 165
    See, for example, I.G. Ellen, J. Lacoe, and C.A. Sharygin, “Do Foreclosures Cause Crime?” Journal of Urban
 Economics, 74, 2013, pp. 59-70; L. Cui, and R. Walsh, “Foreclosure, Vacancy and Crime,” Journal of Urban
 Economics, 87, 2015, pp. 72-84; and J. J. Roth, “Empty Homes and Acquisitive Crime: Does Vacancy Type
 Matter?” American Journal of Criminal Justice, 44(5), 2019, pp. 770-787.
 166
    J. Jenkins. “Huntington House Demo Number Climbs to 100.” WV MetroNews, December 23, 2019
 (wvmetronews.com/2019/12/23/huntington-house-demo-number-climbs-to-100/).

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 that composed of home equity.167 Home ownership is an especially important financial asset for
 individuals at the lower end of the income distribution.168 Crime-caused loss in home value can
 impose substantial harm on all residents of affected communities. A safe, comfortable home is,
 of course, more than a holding in a financial portfolio.

 94.       The residential housing market in Cabell County shows signs of being depressed due to
 the opioid epidemic. The addition of new housing stock in Cabell County declined dramatically
 starting in 2013, going against state and national trends.169 The average listing price of Cabell
 County housing declined significantly from 2017-2019.170 During 2006-2018, West Virginia’s
 house pricing index increased steadily whereas Cabell County’s remained relatively flat.171 The
 population of Cabell County has fallen since 2013.172 A recent news article, however, reports a
 rebound in the Cabell housing market.173

 95.        The opioid epidemic degrades neighborhoods along many dimensions. Risk of crime,
 loss of safe public space, loss of connection with neighbors and other harms interfere with
 residents’ ability to appreciate where they live. Degradation lowers home property values and



 167
       J. Eggleston and R. Munk, “Net Worth of Households: 2016,” US Census Bureau Report P70BR-166, 2019.
 168
    “Houses are the asset of the bottom 90%, making residential real estate the most egalitarian asset ... The bottom
 90% hold about half of all housing wealth …” in M. Kuhn, M. Schularick, and U. Steins, “Income and Wealth
 Inequality in America, 1949-2016,” Opportunity & Inclusive Growth Institute, Federal Reserve Bank of
 Minneapolis, Institute Working Paper No. 9, June 2018, p. 35.
 169
     U.S. Census Bureau, New Private Housing Structures Authorized by Building Permits for Cabell County, WV
 [BPPRIV054011], West Virginia [WVBPPRIV], and nationwide [PEMIT] retrieved from FRED, Federal Reserve
 Bank of St. Louis (https://fred.stlouisfed.org/series/BPPRIV054011, April 21, 2020. Graph available here:
 https://fred.stlouisfed.org/graph/?g=qMe1).
 170
    Realtor.com, Housing Inventory: Average Listing Price in Cabell County, WV [AVELISPRI54011], retrieved
 from FRED, Federal Reserve Bank of St. Louis (https://fred.stlouisfed.org/series/AVELISPRI54011, April 21,
 2020).
 171
     U.S. Federal Housing Finance Agency, All-Transactions House Price Index for Cabell County, WV
 [ATNHPIUS54011A], (https://fred.stlouisfed.org/series/ATNHPIUS54011A, June 24, 2020) and West Virginia
 [WVSTHPI], retrieved from FRED, Federal Reserve Bank of St. Louis, (https://fred.stlouisfed.org/series/
 WVSTHPI, May 26, 2020). Realtor.com, Housing Inventory: Average Listing Price in Cabell County, WV
 [AVELISPRI54011], retrieved from FRED, Federal Reserve Bank of St. Louis (https://fred.stlouisfed.org/
 series/AVELISPRI54011, July 2, 2020).
 172
    U.S. Census Bureau, Resident Population in Cabell County, WV [WVCABE1POP], retrieved from FRED,
 Federal Reserve Bank of St. Louis (https://fred.stlouisfed.org/series/WVCABE1POP, April 21, 2020).
 173
     “I. Johnson: Progress is Happening in Cabell County, and the Assessor’s Office,” The Herald Dispatch, March
 20, 2020 (https://www.herald-dispatch.com/news/irv-johnson-progress-is-happening-in-cabell-county-and-the-
 assessors-office/article_632ab6e0-4fbb-5cd5-9361-a3ed46d2fab9.html).

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 lowers residents’ valuation of parks, public transportation, schools, and other local public
 services. 174

 96.     In this section, I address the question, “How much higher would property values in the
 Cabell Huntington Community be absent the crimes due to prescription opioids?” The economic
 model I apply to answer this question can be depicted as follows:

       𝑃𝑟𝑒𝑠𝑐𝑟𝑖𝑝𝑡𝑖𝑜𝑛 𝑂𝑝𝑖𝑜𝑖𝑑𝑠 → 𝐸𝑙𝑒𝑣𝑎𝑡𝑒𝑑 𝐶𝑟𝑖𝑚𝑒 𝑅𝑎𝑡𝑒𝑠 → 𝐷𝑒𝑐𝑟𝑒𝑎𝑠𝑒 𝑖𝑛 𝑃𝑟𝑜𝑝𝑒𝑟𝑡𝑦 𝑉𝑎𝑙𝑢𝑒𝑠

 97.     The first causal link, between prescriptions and crime, has already been covered in
 Section III.D. Overall, I calculate that prescription opioids were responsible for 7.2% of total
 crimes in the Cabell Huntington Community over the period 2006 to 2018.175 The second causal
 arrow, between crime and property values is covered in Section IV.3 of Appendix C. With the
 magnitude of this second section quantified, I can quantify the decrease in property values that
 has resulted from prescription opioid-related crimes. This property value lost due to crime
 associated with the sales and distribution of prescription opioids is an economic harm caused by
 prescription opioids.

 98.      The value of residential property in Cabell County in 2019 was $5.13 billion.
 Eliminating the crime associated with the sales and distribution of prescription opioids would
 increase this value by 1.8%, or $92.3 million. See Section IV.3 of Appendix C for details of
 these calculations.




 174
     Lower crime rates “unlock” the value of public parks in Chicago, New York and Philadelphia according to a
 study by Albouy and colleagues. Parks have a positive effect on local housing prices in low-crime areas but this
 positive effect turns negative in higher crime areas. D. Albouy, P. Christensen, I. Sarmiento-Barbieri, “Unlocking
 Amenities: Estimating Public-Good Complementarity,” National Bureau of Economic Research, Working Paper
 25107, revised July 2019. The relation between the amenity value of public parks and crime was also studied by
 Troy and Grove in Baltimore with the same result. High crime turns a public good into a public bad. A. Troy. and
 J.M. Grove, “Property Values, Parks, and Crime: A hedonic analysis in Baltimore, MD,” Landscape and Urban
 Planning, 87(3), 2008, pp. 233-245.
 175
     The total number of crimes in Cabell County during 2006-2018 is 128,376 (see Appendix C for source). Table 8
 of my Report shows that 9,189 crimes were attributable to prescription opioids. The ratio of these numbers yields
 this estimate.

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            F.       Child Maltreatment

  Overview

 99.        Substance abuse, including opioid abuse, is a major cause of child maltreatment.176
 According to the U.S. Department of Health and Human Services, in fiscal year 2018,
 approximately 678,000 children were subject to abuse and neglect in the U.S. This amounts to
 about 9.2 victims per 1,000 children nationwide.177 In West Virginia, the victimization rate in
 2018 was 19.1 per 1,000 children.178 Drug abuse in a household is a major risk factor associated
 with child maltreatment. Nationally, 30.7% of 2018 victims lived in households with caregivers
 with drug abuse risk factors.179 The analogous figure in West Virginia is 57.1%180

 100.       Like other harms, my valuation of the economic harm from child maltreatment is the
 product of the number of victims where prescription opioids were involved multiplied by the
 costs associated with this maltreatment. Although maltreated children face a host of negative
 consequences, for the purposes of my valuation, due to data limitations, I focus on lost earnings
 in adulthood due to lower educational attainment, plus special educational services provided to
 maltreated children.

 101.       In an aggressive effort to combat harms to children from the opioid epidemic, Cabell
 Huntington Community leaders have created programs for vulnerable women and children. One
 such effort is Project Hope. Initially administered by the Huntington City Mission, Project Hope
 expanded the number of transitional housing units available to women in recovery and their
 children.181 These homes come with 24-hour care and clinical services including group therapy




 176
    See Children’s Bureau, Office of the Administration for Children and Families, U.S. Department of Health &
 Human Services (HHS), “Child Maltreatment 2018,” 2019, (https://www.acf.hhs.gov/sites/default/files/cb
 /cm2018.pdf); O. Mowbray, et al., “Longitudinal Trends in Substance Use and Mental Health Service Needs in
 Child Welfare,” Children and Youth Services Review, 73, February 2017, pp. 1-8.
 177
       HHS (2019), op. cit., p. 21.
 178
       HHS (2019), op. cit., p. 30.
 179
      Drug abuse is defined as “…the compulsive use of drugs that is not of a temporary nature.” HHS (2019), op.
 cit., p. 21, 43.
 180
       HHS (2019), op. cit., p. 43.
 181
       The City of Solutions, Huntington WV, p. 38.

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 and MOUD. Moreover, Project Hope also provides fitness classes, GED training, peer coaching,
 and job training events.

 102.       Healthy Connections is another such effort.182 This program aims to reintegrate
 recovering participants into society, via the use of navigators – case workers with small
 caseloads who specialize in issues faced by women and children suffering from the
 consequences of substance abuse. Healthy Connections navigators and coaches start work with
 participants as early as possible, design specialized recovery plans tailored for the unique
 circumstances faced by each participant, and provide guidance through the full re-entry process.
 In addition, navigators integrate other members of the family, particularly grandparents and
 fathers of the children, in order to better care for these at-risk children.

            Count of Victims of Maltreatment

 103.       I estimate the number of children maltreated due to the sales and distribution of
 prescription opioids in the Cabell Huntington Community in five steps. First, I obtain three data
 series from the HHS’s Administration for Children and Families (ACF): the number of
 maltreatment victims that are first-time, unique, and unique with a drug abuse risk factor in West
 Virginia.183 Second, I take the ratio of first-time to unique victims, and apply that to the number
 of unique maltreatment victims with a drug abuse risk factor, in order to estimate the number of
 first-time victims with a drug abuse risk factor. Third, I adjust these state-wide counts by the
 number of children in Cabell County to obtain County-level numbers. Fourth, to estimate the
 share of drug abuse-related maltreatment victims attributable to opioids, I multiply the number of
 drug abuse-related maltreatment victims by the share of drug seizures that involved opioids, as I
 did in section III.D. above. Finally, I multiply this count by the opioid morbidity attributable to



 182
       The City of Solutions, Huntington WV, p. 45.
 183
     Administration for Children and Families (https://www.acf.hhs.gov) is a division in the department of Health
 and Human Services which collects detailed annual information from states on child maltreatment and produces
 yearly reports on state level incidence of maltreatment, overall and broken out by category, as well as information
 on characteristics of victims, number of fatalities, services to prevent maltreatment among other metrics. These data
 are an important source of information for reports to congress and federal government activities. The statistics on
 child maltreatment are derived from data collected by child protective agencies through the National Child Abuse
 and Neglect Data system (NCANDS). See Appendix C for the estimation of these counts for 2006-2009, 2013 and
 2015 when data is unavailable. Appendix C also has information on the use of first-time maltreat victim counts to
 avoid double counting over the period.

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 prescription opioids from the bottom row of Table 4.184 This gives me an estimate of the number
 of maltreated children in West Virginia due to prescription opioids.

            Valuing the Cost of Maltreatment

 104.       The research literature establishes that child maltreatment (abuse or neglect) devastates a
 child, lowering educational attainment;185 reducing cognitive development;186 increasing the
 need for special education services;187 lowering employment and earnings;188 and causing higher
 rates of preventable deaths,189 obesity,190 depression,191 substance abuse, 192 and PTSD.193



 184
       Note that for 2006, I use unique maltreatment victim counts, and form 2007-2018, I use first-time victims.
 185
     R. Gilbert, et al., “Burden and consequences of child maltreatment in high-income countries,” The Lancet, 373,
 2009, pp. 68-81; J. Currie and C.S. Widom, “Long-Term Consequences of Child Abuse and Neglect on Adult
 Economic Well-Being,” Child Maltreatment, 15(2), 2010, pp. 111-120; J.P. Mersky and J. Topitzes, “Comparing
 Early Adult Outcomes of Maltreated And Non-Maltreated Children: A Prospective Longitudinal
 Investigation,” Children and Youth Services Review, 32(8), 2010, pp. 1086-1096; J.J. Doyle and A. Aizer,
 “Economics of Child Protection: Maltreatment, Foster Care, and Intimate Partner Violence,” Annual Review of
 Economics, 10, 2018, pp. 87-108; A. Bald, E. Chyn, J.S. Hastings, and M. Machelett, “The Causal Impact of
 Removing Children from Abusive and Neglectful Homes,” NBER Working Paper 25419, January 2019.
 186
     K.L. Hildyard and D.A. Wolfe, “Child Neglect: Developmental Issues and Outcomes,” Child Abuse & Neglect,
 26, 2002, pp. 679-695; C.M. Perez and C.S. Widom, “Childhood Victimization and Long-Term Intellectual and
 Academic Outcomes,” Child Abuse & Neglect, 18(8), 1994, pp. 617-633; J. Currie & C.S. Widom, op. cit.
 187
     M. Jonson-Reid, et al., “A Prospective Analysis of the Relationship Between Reported Child Maltreatment and
 Special Education Eligibility Among Poor Children,” Child Maltreatment, 9(4), 2004, pp. 382-394; R.J. Gelles and
 S. Perlman, “Estimated Annual Cost of Child Abuse and Neglect,” Prevent Child Abuse America; April 2012
 (https://preventchildabuse.org/wp-content/uploads/2016/02/PCA_COM2012-1.pdf); R. Gilbert, et al., op. cit.
 188
    R.J. Gelles & S. Perlman, op. cit.; R. Gilbert, et al., op. cit.; J. Currie & C.S. Wido, op. cit.; J.P. Mersky and J.
 Topitzes, op. cit.
 189
     A. Hjern, B. Vinnerljung, and F. Lindblad, “Avoidable Mortality Among Child Welfare Recipients and
 Intercountry Adoptees: a National Cohort Study,” Journal of Epidemiology & Community Health, 58(5), 2004, pp.
 412-417.
 190
     L.M. Berger and J. Waldfogel, “Economic Determinants and Consequences of Child Maltreatment,” OECD
 Social, Employment and Migration, Working Paper No. 111, April 2011, OECD Publishing, Paris
 (http://dx.doi.org/10.1787/5kgf09zj7h9t-en); R. Gilbert, et al., op. cit.
 191
    L.M. Berger and J. Waldfogel, op. cit.; R. Gilbert, et al., op. cit.; A. Bald, E. Chyn, J.S. Hastings, and M.
 Machelett, op. cit.; J.P. Mersky and J. Topitzes, op. cit.; C.S. Widom, K. DuMont, and S.J. Czaja, “A Prospective
 Investigation of Major Depressive Disorder and Comorbidity in Abused and Neglected Children Grown Up,”
 Archives of General Psychiatry, 64(1), 2007, pp. 49-56.
 192
    L.M. Berger and J. Waldfogel, op. cit.; R. Gilbert, et al., op. cit.; J.P. Mersky and J. Topitzes, op. cit.; C.S.
 Widom, K. DuMont, and S.J. Czaja, op. cit.
 193
      L.M. Berger and J. Waldfogel, op. cit.; R. Gilbert, et al., op. cit.; C.S. Widom, K. DuMont, and S.J. Czaja, op.
 cit.; C.S. Widom, “Posttraumatic Stress Disorder in Abused and Neglected Children Grown Up,” American Journal
 of Psychiatry, 156(8), 1999, pp. 1223-1229.

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 Furthermore, maltreatment elevates rates of juvenile delinquency194 and crime.195 These
 negative effects of maltreatment are costly. For reasons of data availability, I confine my
 estimates to harms from two categories: lost earnings and special education costs. For each of
 these two outcomes, I determine the estimated incremental effect of maltreatment on the
 outcome.196

 105.         Table 9 reports the dollar estimates of the cost of child maltreatment in Cabell County. I
 estimate that the social costs of cases of maltreatment attributable to opioid prescription sales and
 distribution between 2006-2018 in Cabell County was over $57.9 million.

                                                           Table 9
                                     Child Maltreatment Victims and Costs Attributed to
                                          Prescription Opioid Sales and Distribution
                                                  Cabell County, 2006-2018


                                     2006        2007    2008    2009     2010    2011    2012    2013    2014    2015   2016   2017   2018    Total
  Maltreatment victims
  attribuatble to prescription           3          2       2       4        4       4       5       7       6      6     55      53     51     201
  opioids

  Costs for child maltreatment
  attributable to prescription       $0.81       $0.50   $0.68   $1.05    $1.03   $1.21   $1.43   $1.91   $1.76   $1.87 $15.78 $15.19 $14.71   $57.9
  opioids ($ millions)


  Sources: Appendix C, Tables C,V.1 and C.V.2.




 194
     C.S. Widom, “The Cycle of Violence,” Science, 244(4901), 1989, pp. 160-166; R.J. Gelles & S. Perlman,
 op. cit.; R. Gilbert, et al., op. cit.; M.G. Maxfield and C.S. Widom, ”The Cycle of Violence: Revisited 6 Years
 Later,” Archives of Pediatrics & Adolescent Medicine, 150(4), 1996, pp. 390-395; C.S. Widom and M.G. Maxfield,
 “An Update on the ‘Cycle of Violence.’ Research in Brief,” U.S. Department of Justice, February 2001
 (https://files.eric.ed.gov/fulltext/ED451313.pdf).
 195
     J. Currie and E. Tekin, “Does child abuse cause crime?” NBER Working Paper 12171, April 2006; Doyle and
 Aizer, op. cit.; R.J. Gelles & S. Perlman, op. cit.; R. Gilbert, et al., op. cit.; Widom, op. cit.; J. Currie and E. Tekin,
 “Understanding the cycle: Childhood Maltreatment and Future Crime,” Journal of Human Resources, 47(2), 2012,
 pp. 509-549; J.P. Mersky and J. Topitzes, op. cit.; M.G. Maxfield and C.S. Widom, op. cit; C.S. Widom and M.G.
 Maxfield, op. cit.
 196
       See Appendix C.

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 IV.    The Economic Costs Imposed by Sales and Distribution of Prescription Opioid
        Products are of Sufficient Magnitude to Constitute a Public Nuisance to the Cabell
        Huntington Community

        A.      Summary of Costs Imposed

 106.   Table 1, repeated here from the Introduction, summarizes the costs associated with
 categories of harms studied above from 2006-2018. Over these thirteen years, the costs
 attributable to the sales and distribution of prescription opioids in the Cabell Huntington
 Community totaled over $4.17 billion dollars, implying a cost of over $43 thousand per Cabell
 Huntington Community resident.

 107.   I regard my estimates of the costs imposed by the sales and distribution of prescription
 opioids to be conservative for a number of reasons. First, due to limitations on data availability,
 my calculations do not include the years 2019 and 2020. If I use the cost for 2018 as an estimate
 of the costs for each of 2019 and 2020, my estimates increase by $1.7 billion. Further, my
 calculations for each of the harms I address are based upon a series of conservative assumptions,
 some of which are noted in Table 10.




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                                             Table 1
                         Monetary Value of the Net Costs Attributed to the
                          Sales and Distribution of Prescription Opioids
                              in the Cabell Huntington Community
                                            2006-2018


                 Harms Due to Sales & Distribution of                       Valuation
                 Prescription Opioids                                      ($millions)

                 Excess deaths                                              $3,437.8

                 Excess morbidity                                            $501.3

                 Excess neonatal abstinence syndrome                          $2.6

                 Excess crimes                                                $77.4

                 Excess property value loss                                   $92.3

                 Excess child maltreatment                                    $57.9

                 Total                                                     $4,169.2


                 Sources: Tables 3, 5, 7, 8, 9, and Section III.E of this Report.




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                                       Table 10
            Conservative Assumptions Applied in Estimating Costs in this Report

          Harm                                     Conservative Assumptions

         Mortality          •   Does not include damage to community fabric, financial
                                dependents of those who died, compassion fatigue among first
                                responders
                            •   VSL valuation is U-shaped, implying higher valuation for
                                working-age adults. Opioid deaths are largely working-age adults
                            •   Does not include portion of Huntington in Wayne County

        Morbidity           •   Only accounts for OUD treatment related health care expenditures
                                paid by third parties
                            •   Undercounts costs of comorbidities such as Hepatitis, HIV, and
                                infectious endocarditis
                            •   Does not include community efforts and centers specifically
                                launched to combat the effects of OUD
                            •   Does not quantify the net negative effects on labor-force
                                participation and productivity
                            •   Does not include portion of Huntington in Wayne County

           NAS              •   Excludes community efforts to treat NAS cases, such as Lily’s
                                Place and Project Hope
                            •   Does not include the adulthood costs from lower educational
                                outcomes due to NAS, such as upward mobility, income, and
                                others
                            •   Does not include portion of Huntington in Wayne County
                            •   Does not include case counts beyond 2015

          Crime             • Crime counts of criminal activity are lower than actual due to
                              LEAs not reporting
                            • Excludes stress to first responders and others in the community
                              from increased criminal activity

     Property Values        • Costs were assessed on residential property only
                            • Does not include portion of Huntington in Wayne County

       Maltreatment         • Excludes valuation of other maltreatment consequences: juvenile
                              delinquency, preventable death, lowered mental health, increase
                              in substance abuse rates, and PTSD
                            • Does not include portion of Huntington in Wayne County




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 B.         Costs Imposed Were of Sufficient Magnitude to Constitute a Public Nuisance

 108.       Since from the year I have been asked to monetize harms, 2006, and likely earlier, the
 Community has been awash in prescription opioids. Shipment data produced in related litigation
 shows that between 2006 and 2014, manufacturers and distributors shipped hydrocodone and
 oxycodone opioids to the State of West Virginia sufficient to give 611 pills to every man, woman
 and child in the state.197 The situation in Cabell County was even more dire. Dr. McCann, in his
 report, quantifies the volume of morphine milligram equivalents (MMEs) shipped into Cabell
 County.198 He reports that over 3.2 billion MMEs or approximately 128 million dosage units
 were shipped into Cabell County from 2006-2014, equivalent to over 1,300 doses for each Cabell
 County resident.199

 109.       County and city officials attest to the ongoing public nuisance in the Community caused
 by the opioid epidemic. For example, Beth Thompson, Administrator for the Cabell County
 Commission, in her deposition,200 stated her view:

        “Q. You testified earlier that you knew – why do you believe it's a public nuisance now?
        A. Because of the health and safety of our community has been compromised. …
        Q. Are there any indicators to you that would signify that the nuisance is over?
        A. Maybe when we don't have to have Lily's Place where people sit and rock babies that
        won't quit crying because they're, you know, addicted to drugs when they're born. Maybe
        when I can look out my window at work and not see somebody having an overdose on the
        lawn of the courthouse. Or going by our vehicles and stabbing each other and we have to
        have security officers walking us to the cars in the evenings and to the courthouse in the
        mornings. Stealing people's -- kids' bicycles out of their yards. You know, maybe when
        there's an end to all that, maybe it's over.”

 110.       Fire Chief Rader explained some of the community-wide and ongoing harms:

        “…you have a whole generation of grandparents raising their grandchildren because adults
        are behind bars or have died opioid-related deaths… You have people incarcerated
        who…may have a felony hanging over their head, which makes it very difficult for them to
        find employment….You have first responders that will probably never be able to recover


 197
       Complaint, ¶ 4.
 198
       Expert Report of Craig J. McCann, Ph.D., CFA, in this matter, August 3, 2020, Table 15, p. 79.
 199
       Based on the 2018 Cabell Huntington Community population of 96,619.
 200
       Deposition of Beth Thompson, in this matter, July 7, 2020, pp. 248-249 (counsel objections omitted).

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        from this….How do you support the children that watch their parents overdose? They're
        being put into the foster care system. “201

  Later, when asked to describe the opioid epidemic:

        Q. And Chief Rader, if you could describe the opioid epidemic in Huntington with one
        word, what would that be?
        A. It's horrific.202

 107.       In 2015, the Mayor of Huntington, Steve Williams, conveyed the magnitude of the
 harms: “The epidemic of addiction is now so pervasive that our standard of living, our way of
 life and our children’s future is at stake.”203 In deposition, when asked if prescribing opioids is a
 public nuisance, Mayor Williams responded “If it leads – yes, if it leads to public health
 problems and public safety problems, as it has.”204 The Mayor gave direct and unambiguous
 responses to questions related to prescription opioids as a public nuisance:

        Q. Does the opioid epidemic interfere with the public health in the City of Huntington?
        A. Yes.
        Q. Does the opioid epidemic interfere with the public safety in the City of Huntington?
        A. Yes.
        Q. Mayor, based on your experience living in the City of Huntington and serving as the
        mayor of the City of Huntington, do you believe there presently exists a hazard to the public
        health and safety arising out of a prescription opioid epidemic?
        A. Yes.205

 111.       After review of the evidence on the harms caused by the sales and distribution of
 prescription opioids to the Cabell Huntington Community, including the testimony of local
 officials, I am aware that the dry economic language of “costs and benefits” is inadequate to
 convey the full magnitude of the destruction wrought by prescription opioids on the Community.
 The economic concept of “costs” is useful to quantify the harms with a common denominator of



 201
       Rader Deposition, pp. 197-199
 202
       Rader Deposition, p. 265.
 203
     Mayor Steve Williams, City of Huntington, Letter to the residents of Huntington and the Tri-State Region, in:
 City of Huntington, Mayor’s Office of Drug Control Policy, “2017 Strategic Plan,” May 2017, p. ii.
 204
       Williams Deposition, p. 50.
 205
       Ibid., p. 300.

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 dollars, enabling an economist to add them up using one metric. But actual harms take place in
 real-life terms, and in many forms: babies born addicted to opioids facing a lifetime of disability
 and disadvantage, the risk of opioid-related crimes degrading home values because of the lower
 quality of life caused by crime, death and disease of sufficient magnitude to touch nearly every
 family in the community.

 112.    Ongoing harms of more than $4 billion imposed on a small community over 13 years
 establish that the harms from prescription opioids are of sufficient magnitude to constitute a
 public nuisance. The population of the Cabell Huntington Community was 96,619 in 2018.206
 The costs reported in Table 1 amounted, over the period covered in my Report, to approximately
 $43 thousand per person in the Community. These costs are net of any economic benefits from
 workforce participation.

 113.    The position of the Cabell Huntington Community relative to the national opioid crisis
 yields another perspective. As a rule of thumb (see Figures 2 and 5 above), opioid-related harms
 in the Cabell Huntington Community are an order of magnitude greater than nationwide.
 Looked at another way, by some metrics, West Virginia has been the state hardest hit by
 prescription opioids, and within West Virginia, Cabell County has been the 3rd hardest-hit
 county.207 Cabell has been referred to as “ground zero” of the opioid crisis. 208 If the sales and
 distribution of prescription opioids qualify as a public nuisance anywhere, they qualify in the
 Cabell Huntington Community.

 114.    Based on the cost analysis in Section III, I conclude that the harms to the Community
 caused by the sales and distribution of prescription opioids are of sufficient magnitude to
 constitute a public nuisance. My economic analysis establishes that the sales and distribution of
 prescription opioids has interfered with public health, safety, peace, and comfort of residents of
 the Cabell Huntington Community, with economically large, continuing, and long-lasting effects.



 206
     U.S. Census, County Population by Characteristics, 2010-2019. Estimate for 2018 (https://www.census.gov/
 data/tables/time-series/demo/popest/2010s-counties-detail.html).
 207
    See, for example, the NAS rate in Cabell County, Figure 7, the number of opioid shipments compared to West
 Virginia and nationwide.
 208
    C. Babcock, N. Rockich-Winston, and C. Booth, “Bringing Naloxone to Ground Zero: Huntington, West
 Virginia,” Journal of the American Pharmacists Association, 57.2, 2017, pp. S9-S10.

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 My Report quantifies in dollar terms the negative effects of death, disease, children born
 addicted, crime, loss of property values, and child maltreatment.




 Pursuant to 28 U.S.C. S 1746, I declare under penalty of perjury that the
 foregoing is true and correct.




 _________________________
 Thomas McGuire

 August 3, 2020




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                                               Appendix A




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    May 4, 2020

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    1976           Ph.D.                         Yale University        Economics

    Academic Appointments:
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    2001-present                  Professor                       Harvard Medical School
    1987-2001                     Professor                            Boston University
    1981-1996                     Visiting Professor                  Brandeis University
    1983-1987                     Associate Professor                   Boston University
    1980-81                       Postdoctoral Fellow                     Yale University
    1976-1983                     Assistant Professor                   Boston University

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    2012-present          Research Associate     National Bureau of Economic Research

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    Year                Position/Title      Institution
    2003-2007           Member              NIH/ National Center for Research
                                            Resources, Council

    1994-1998             Member                 National Institute of Mental Health
                                                 Services Research Review Committee

    1980-84               Member                 National Institute of Mental Health
                                                 Epidemiologic and Services Research Review
                                                 Committee

    2000-present          Member                 National Academies of Science, Education and
                                                 Medicine/Institute of Medicine

    2003-2009             Board of Directors     International Health Economics Association



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    Major Editorial Positions: _______________________________________________________
    2001-2011              Editor              Journal of Health Economics

    Awards and Honors:
    Year                 Name of Award
    2018                 Victor Fuchs Award from the American Society of Health Economics for
                         Lifetime Contributions to the Field of Health Economics
    2016                 Article of the Year, International Journal of the Economics of Business
    2014                 National Institute for Health Care Management Paper of the Year
    2008                 National Institute for Health Care Management Paper of the Year
    2008                 AcademyHealth Article of the Year Award
    2008                 Everett Mendelsohn Excellence in Mentoring Award
    2006                 Emily Mumford Medal for Distinguished Contributions to Social Science
                         In Medicine
    1997                 Kenneth J. Arrow Award for Best Paper published in Health Economics
    1994-1996            Investigator Award in Health Policy, Robert Wood Johnson Foundation
    1991                 Carl A. Taube Award for outstanding contributions to mental health
                         services research, American Public Health Association
    1989-1994, 1994-1999 Research Scientist Award, National Institute for Mental Health
    1983                 Elizur Wright Award for an outstanding contribution to the literature on
                         risk and insurance (Financing Psychotherapy), American Risk and
                         Insurance Association
    1979                 Abt Prize for Research on National Policy Issues

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    Thomas McGuire: Litigation Experience, 2016-Present



    In re: Cipro Cases I & II, In the Supreme Court of California, Case No. S198616

            Allegations: The Bayer-Barr settlement of patent litigation related to the drug Cipro
            included anticompetitive reverse payments. I testified about the regulatory framework
            established by the Hatch Waxman Act and the economics of drug pricing and
            distribution.

            Assignment: Description of regulatory framework established by the Hatch Waxman Act
            and the economics of drug pricing and distribution.

            Expert disclosure: April 2016

            Deposition: April 2016


    In re: Solodyn (Minocycline Hydrocholoride) Antitrust Litigation, United States District Court,
    District of Massachusetts, MDL No. 14-md-2503-DJC

            Allegations: The Medicis-Impax settlement of patent litigation related to the drug
            Solodyn included anticompetitive reverse payments.

            Assignment: Analysis of agreements.

            Expert reports: May 2017, August 2017, February 2018

            Deposition: September 2017

            Trial Testimony: March 2018


    In re: Asacol Antitrust Litigation, United States District Court, District of Massachusetts, Civil
    Action No. 1:15-cv-12730-DJC

            Allegations: Warner Chilcott engaged in an anticompetitive product hop from Asacol to
            Delzicol.

            Assignment: Analysis of product hop.

            Expert reports: June 2017, August 2017

            Deposition: August 2017




    Thomas McGuire: Litigation Experience, 2016-Present                                                  Page 1
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    United States of America ex rel., Stephen A. Krahling and Joan Wlochowski v. Merck & Co., Inc.,
    United States District Court for the Eastern District of Pennsylvania, Civil Action No. 10-4374
    (CDJ) and In re Merck Mumps Vaccine Antitrust Litigation, United States District Court for the
    Eastern District of Pennsylvania, Master File No. 2:12-cv-03555 (CDJ)

            Allegations: Merck made misrepresentations and omissions to the Food and Drug
            Administration related to the efficacy testing of its Mumps vaccines.

            Assignment: Analysis of market power and estimation of harm to private purchasers.

            Expert report: March 2018

            Deposition: July 2018


    In re: Niaspan Antitrust Litigation, United States District Court for the Eastern District of
    Pennsylvania, MDL No. 2:13-md-2460

            Allegations: AbbVie, Inc., entered into an illegal exclusionary payment agreement with
            Teva Pharmaceuticals USA, Inc., to delay generic competition for extended-release
            niacin (niacin ER).

            Assignment: Analysis of market power and definition.

            Expert reports: May 2018, October 2018, February 2019

            Deposition: April 2019


    In re: Loestrin 24 FE Antitrust Litigation, United States District Court for the District of Rhode
    Island, MDL No. 2472

            Allegations: The Warner Chilcott-Watson settlement of patent litigation related to the
            drug Loestrin 24 included anticompetitive reverse payments and that Warner Chilcott
            engaged in an anticompetitive product hop from Loestrin 24 to Minastrin 24.

            Assignment: Analysis of settlement agreements and product hop.

            Expert reports: January 2019, March 2019

            Deposition: April 2019




    Thomas McGuire: Litigation Experience, 2016-Present                                                  Page 2
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    In re: Opana ER Antitrust Litigation, United States District Court for the Northern District of
    Illinois, Eastern Division, MDL No. 2580

            Allegations: The Endo-Impax settlement of patent litigation related to the drug Opana
            ER included anticompetitive reverse payments.

            Assignment: Analysis of settlement agreements.

            Expert reports: March 2019, November 2019

            Deposition: May 2019, December 2019


    In re: National Prescription Opiate Litigation, MDL No. 2804, Case No. 17-md-2804

            Allegations: Defendants fraudulently marketed opioid products and did not report
            shipments.

            Assignment: Calculation of damages for bellwether counties; identification and
            valuation of public nuisance outcomes.

            Expert report: March 2019

            Deposition: May 2019


    In re: Intuniv Antitrust Litigation, United States District Court for the District of Massachusetts,
    C.A. No. 16-cv-12653-ADB; 17-cv-10050-ADB

            Allegations: The Shire-Barr settlement of patent litigation related to the drug Intuniv
            included anticompetitive reverse payments.

            Assignment: Analysis of settlement agreements.

            Expert reports: March 2019, June 2019

            Deposition: July 2019


    State of Washington v. Purdue Pharma L.P.; Purdue Pharma Inc.; The Purdue Frederick Company;
    et al., State of Washington, King County Superior Court, No. 17-2-25505-0 SEA

            Allegations: Purdue fraudulently marketed opioid products.

            Assignment: Identification and valuation of public nuisance outcomes.

            Expert report: July 2019




    Thomas McGuire: Litigation Experience, 2016-Present                                                    Page 3
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    In re: Restasis (cyclosporine ophthalmic emulsion) Antitrust Litigation, United States District
    Court for the Eastern District of New York, MDL No. 18-md-2819 (NG)(LB)

            Allegations: Allergan used a variety of tactics to delay generic entry for the drug
            Restasis.

            Assignment: Analysis of market power and definition.

            Expert reports: August 2019, December 2019

            Deposition: June 2020


    In re: Zetia (ezetimibe) Antitrust Litigation, United States District Court for the Easter District of
    Virginia, Norfolk Division, MDL No. 2:18-md-2836

            Allegations: The Merck-Glenmark settlement of patent litigation related to the drug
            Zetia included anticompetitive reverse payments.

            Assignment: Analysis of settlement agreements.

            Expert reports: January 2020, April 2020


    In re: Glumetza Antitrust Litigation, United States District Court for the Northern District of
    California, Case No.: 3:19-cv-05822-WHA

            Allegations: The defendants (Assertio, Bausch, Depomed, Santarus and Valeant)
            settlement of patent litigation related to the drug Glumetza included anticompetitive
            reverse payments.

            Assignment: Analysis of settlement agreements; drug pricing patterns.

            Expert reports: June 2020, July 2020

            Deposition: July 2020




    Thomas McGuire: Litigation Experience, 2016-Present                                                      Page 4
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                        Appendix B: Materials Relied Upon and Considered


 Bates Documents
 CCDS_0081519
 CCDS_0081523
 CCDS_0081527
 CCDS_0081531
 CCDS_0081533
 HUNT_00027750
 HUNT_00028762
 HUNT_00028960
 HUNT_00028961
 HUNT_00029477
 HUNT_00030093
 HUNT_00030096
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 HUNT_00030183
 HUNT_00030290
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 HUNT_00030411
 HUNT_00030412
 HUNT_00036558
 HUNT_00042695
 HUNT_00043871
 HUNT_00047053
 HUNT_00047080
 HUNT_00053204
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 HUNT_00053206
 HUNT_00060305
 HUNT_00061244


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 HUNT_00061307
 HUNT_00061433
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 HUNT_00081484
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 HUNT_00089822
 HUNT_00094258
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 HUNT_00096300
 HUNT_00099227
 HUNT_00197045-55
 HUNT_00225171
 HUNT_00321072
 HUNT_00321073
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 Deposition of Beth Thompson, in this matter, July 7, 2020.
 Deposition of Charles Zerkle, in this matter, June 17, 2020.
 Deposition of Craig Preece, in this matter, July 14th, 2020.
 Deposition of Hank Dial, in this matter, June 25, 2020.
 Deposition of Jan Rader, in this matter, June 17, 2020.
 Deposition of Kathleen Napier, in this matter, July 7, 2020.
 Deposition of Paul Hunter, in this matter, July 1, 2020.
 Deposition of Raymond Carafax, in this matter, June 16, 2020.
 Deposition of Scott Lemley, in this matter, July 3, 2020.
 Deposition of Steve Williams, in this matter, June 30, 2020.
 Deposition of Sue Ann Painter, in this matter, June 26, 2020.
 Expert Report of Craig J. McCann, Ph.D., CFA, in this matter, August 3, 2020.
 Expert Report of Dr. Corey Waller, in this matter, August 3, 2020.
 Expert Report of Ellen Thompson, M.D., in this matter, August 3, 2020.
 Expert Report of Professor Katherine Keyes, in this matter, August 3, 2020.
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 Expert Report, Gordon Smith, M.D., in this matter, August 3, 2020.


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  Network, 1(3), 2018, pp. e180558-e180558.
  Winstanley, E.L., “The Bell Tolls for Thee & Thine: Compassion Fatigue & the Overdose
  Epidemic,” International Journal of Drug Policy, June 1, 2020.
  Wong, S., et al., “Substance Use in Pregnancy,” Journal of Obstetrics and Gynecology Canada,
  33(4), 2011, pp. 367-384.
  WorldPopulationReview.com, “West Virginia Population 2019 (Demographics, Maps, Graphs).”
  WOWK 13 News, “Cases of HIV Confirmed in Cabell County,” 2019,
  (https://www.youtube.com/watch?v=nWJg273TNpU).


  Meetings and calls
  3/4/2020: In-person meeting with counsel and Dr. Lyn O’Connell, Chief Jan Rader, Mayor Steve
  Williams, Captain Rocky Johnson, Dr. Zach Hansen, Dr. Todd Davies, Dr. Chaffin.
  3/31/2020-7/31/2020: Calls with counsel and
          • David Chaffin, MD, FACOG, Professor, Marshall University
          • Ray Cornwell, City of Huntington Police Captain
          • Hank Dial, City of Huntington Police Chief
          • Todd Davies, PhD, Marshall University Assistant Professor; Cabell-Huntington
             Coalition for the Homeless, Executive Director
          • Zach Hansen, MD, Doctor, Valley Health
          • Tim Hardesty, Assistant Superintendent, Division of District Support and Employee
             Relations, Cabell County Schools
          • Rocky Johnson, City of Huntington Police Department, Police Captain, Special
             Investigations Bureau (Former)
          • Michael Kilkenny, MD, Director, Cabell County Department of Public Health
          • Marcia Knight, Director of Education, Cabell County EMS
          • Sean Loudin, MD, Associate Professor, Marshall University School of Medicine
          • Gordon Merry, Cabell County EMS Director
          • Steve Murray, Assistant Director, Cabell County EMS
          • Lyn O’Connell, PhD, Associate Director of Addiction Sciences, Marshall Health
          • Stephen Petrany, MD, Chair of Family & Community Health, Marshall University
             School of Medicine
          • Jan Rader, City of Huntington Fire Chief
          • Keith Thomas, Coordinator of Student Support, Cabell County Schools
          • Ellen A. Thompson, MD, Professor, Marshall Health, Huntington, West Virginia
          • Kelly Watts, Assistant Superintendent, Division of Instruction and Leadership, Cabell
             County Schools
          • Beth Welsh, Marshall University Associate Director of Operations for Addiction
             Sciences in Family Medicine
          • Steve Williams, Mayor of Huntington
          • Chuck Zerkle, Cabell County Sheriff

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                                                Appendix C




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                                               Appendix C



  This Appendix provides the sources used and analysis undertaken for the calculation of the
  harms identified in the Report. This Appendix is organized as follows:

         Section I        Mortality

         Section II       Morbidity

         Section III      Neonatal Abstinence Syndrome

         Section IV       Crime

         Section V        Child Maltreatment




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                                                      Section I
                                                     Mortality


  1.      In this section, I describe the use of the concept of the Value of a Statistical Life (VSL)
  used to quantify the valuation of deaths due to the sales and distribution of prescription opioids.
  The VSL is derived from an individual’s willingness to pay (WTP) for a reduction in the risk of
  injury or death.1 WTP is estimated via revealed-preference methods using labor market data that
  measure the wage-risk tradeoff.2 WTP can also be directly measured using surveys that require
  respondents to express their risk-reduction preferences.3 An individual’s risk-reduction WTP
  may vary based on factors such as risk-tolerance, preferences, age, health status, and other
  factors. For example, some studies find that the age-distribution of VSL takes the form of an
  inverted U, 4 implying that the VSL is highest for individuals in the 25-55 age range.
  2.      The methodology I use for deriving a VSL is based on guidance from the Assistant
  Secretary for Planning and Evaluation (ASPE) of the U.S. Department of Human and Health
  Services (HHS), the federal agency responsible for evaluating health-related policies in the U.S.5
  HHS recommends a VSL of $9.3 million in 2014 dollars (with no age adjustment) as its main
  national estimate, although the HHS recognizes there is a range for VSL estimates that might be
  considered.6 For purposes of my Report, I will use the central $9.3 million estimate for 2014,


  1
   L.A. Robinson and J.K. Hammitt, “Valuing Reductions in Fatal Illness Risks: Implications of Recent Research,”
  Health Economics, 25, 2016, pp. 1039-1052.
  2
   C.R. Scotton, “New Risk Rates, Inter-industry Differentials and the Magnitude of VSL Estimates,” Journal of
  Benefit-Cost Analysis, 4(1), 2013, pp. 39-80.
  3
    T.A. Cameron and J.R. DeShazo, “Demand for Health Risk Reductions,” Journal of Environmental Economics
  and Management, 65, 2013, pp. 87-109.
  4
    J.K. Hammitt, “Valuing Changes in Mortality Risk: Lives Saved Versus Life Years Saved,” Review of
  Environmental Economics and Policy, 1(2), 2007, pp. 228-240.
  5
    Office of the Assistant Secretary for Planning and Evaluation (ASPE), U.S. Department of Health and Human
  Services (HHS), “Guidelines for Regulatory Impact Analysis,” 2016, (hereafter HHS 2016 Guidelines)
  (https://aspe.hhs.gov/system/files/pdf/242926/HHS_RIAGuidance.pdf). ASPE does not recommend adjusting the
  VSL for the age of the individual.
  6
    See HHS 2016 Guidelines, p. 15. HHS also recommends conducting sensitivity analyses with a low and high
  VSL estimate of $4.4 million and $14.2 million (in 2014 dollars), respectively. Other federal agencies also use VSL
  estimates to evaluate policy interventions. The methods proposed are broadly similar, but sometimes differ in the
  specific assumptions used. Note also that the estimates discussed next are for other years around 2014. For
  example, the Department of Transportation recommends using a different deflator specification, but assumes income
  elasticity of VSL is 1.0, and base VSL is $9.1 million in 2013 dollars. With their methodology, the VSL
  recommended for 2014 is $9.2 million. See U.S. Department of Transportation (DOT), “Revised Departmental

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  but also show how the results would vary based on the upper and lower ends of the
  recommended range.7 The Council of Economic Advisor’s (CEA) recent report entitled “The
  Underestimated Cost of the Opioid Crisis,” uses VSL-based estimates of the economic cost of a
  death very similar to those used in my Report.8
  3.         The national estimate for 2014 can be used as a basis for estimating the VSL for different
  years by applying a price-level adjustment and adapting to different geographic areas by
  applying an income adjustment. Specifically, the VSL for Cabell County in year t (2006, …,
  2018), VSL , is estimated based on the HHS-recommended methodology, via Equation (1):

                                        CPI                   Y      Y
               VSL       VSL       ∗          ∗ 1       ∈∗                                             1
                                       CPI                   Y      Y      ⁄2
  Where
       VSL           = National Value of a Statistical Life in 2014
       CPI           = National Consumer Price Index for the year t
       CPI2014       = National Consumer Price Index for 2014
       ∈             = Income elasticity of Value of a Statistical Life
       Y             = National median income in 2014
       Y             = Median income in Cabell County at time t

  4.         The VSL      = $9.3m is from the HHS recommendations as indicated above. The CPI for
  the years 2006 through 2018 is the Consumer Price Index for All Urban Consumers Current




  Guidance 2016: Treatment of the Value of Preventing Fatalities and Injuries in Preparing Economic Analyses,”
  2016 (hereafter DOT 2016 Guidance),
  (https://www.transportation.gov/sites/dot.gov/files/docs/2016%20Revised%20Value%20of%20a%20Statistical%20
  Life%20Guidance.pdf). The Environmental Protection Agency (EPA) guidelines are based on a review of the VSL
  literature. They aggregate 88 VSL estimates and derive a series of summary statistics of these numeric estimates
  using a variety of statistical approaches, settling on a central estimate of $10.3 million for 2013 dollars. See U.S.
  Environmental Protection Agency, “Valuing Mortality Risk Reductions for Policy: A Meta-Analytic Approach,”
  2016 (hereafter EPA 2016).
  7
    The HHS 2016 Guidelines provide a VSL lower bound estimate of $4.4m and upper bound of $14.2m. In
  footnote 63 of my Report, I report the estimated harm due to mortality using the low and high estimates noted here.
  8
    Council of Economic Advisors, “The Underestimated Cost of the Opioid Crisis,” 2017 (hereafter CEA Report)
  (https://www.whitehouse.gov/sites/whitehouse.gov/files/images/The%20Underestimated%20Cost%20of%20the%20
  Opioid%20Crisis.pdf). The CEA Report provides $9.6 million in 2015 as its “middle” estimate, while showing
  results for higher and lower values of VSL as well. See CEA Report, pp. 6-7.


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  Series from the Bureau of Labor Statistics.9 The parameter ∈ for the income elasticity is
  assumed to be 1.0 following HHS recommendations, recommendations in line also with those of
  the Department of Transportation.10 The source of national and county median income is the
  Census Bureau’s American Community Survey 1-year estimates.11
  5.      The interpretation of the VSL for a year from Equation (1) is the median valuation a
  resident of the county would put on the loss of life, measured in current dollars. Equation (1)
  adjusts the national figure for VSL in 2014 for changes in price levels between years and
  differences in median income between the 2014 national estimate and the year-specific county
  estimate. The ratio of the CPIs adjusts for prices. In years prior to 2014, for example, this ratio
  will be less than one, tending to factor down the VSL. The product of the elasticity ∈ and the
  percentage difference in the county-year specific income and the national base year for 2014
  adjusts the VSL for changes in valuation that would accompany higher incomes. The
  assumption of ∈ = 1.0 means that the increase in valuation of the VSL moves in proportion to
  income. A one percent increase in income leads to a one percent increase in the VSL.
  6.      Table C.I.1 shows the income and price-level adjusted VSL for Cabell County for 2006-
  2018 in row [4], reflecting Equation (1).




  9
   CPI data is available from the Bureau of Labor Statistics (https://www.bls.gov/cpi/data.htm). I use the All Urban
  Consumer Current Series CUSR0000SA0. HHS recommends using the CPI to adjust for inflation. See HHS 2016
  Guidelines, p.38.
  10
     DOT 2016 Guidance, p. 9. Note that the EPA recommends a value of 0.7, with a range of 0.1 to 1.7 (EPA 2016,
  p. 10). Because income in Cabell County is below the national average, a value of income elasticity at the higher
  end of the range, 1.0, is conservative in this context. It makes the Cabell County VSL “more responsive” to
  differences in the income level between Cabell County and the national average.
  11
     U.S. Census Bureau, 2006-2017 American Community Survey 1-Year Estimates (Subject Table S1901)
  (available from https://data.census.gov/).


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                                                      Table C.I.1
                                 Adjusted Value of a Statistical Life for Cabell County
                                                      2006-2018

                                       2006     2007      2008     2009     2010     2011     2012     2013     2014     2015      2016     2017     2018

  [1] CPI/CPI2014                        0.85     0.88     0.91     0.91     0.92     0.95     0.97     0.98     1.00      1.00     1.01     1.04        1.06

  [2] Adjusted VSL ($millions)           $7.9     $8.1     $8.5     $8.4     $8.6     $8.8     $9.0     $9.2     $9.3      $9.3     $9.4     $9.6        $9.9
  [3] Median Income (Cabell County 34,943       31,592   32,008   34,684   36,153   37,279   35,567   39,019   34,046   38,839    38,823   33,750   38,162

  [4] Cabell County VSL ($millions)      $4.6     $3.9     $4.2     $4.8     $5.2     $5.7     $5.4     $6.3     $5.1      $6.3     $6.4     $5.2        $6.5


  Notes and Sources
  [1] = [CPIt] / [CPI2014]. CPI data available from https://www.bls.gov/cpi/data.htm; utilized the All Urban Consumer Current Series CUSR0000SA
  [2] = [VSL2014] * [1]
  [3] = Source: National Median Income, The U.S. Census Bureau, 2006-2017, American Community Survey 1-Year Estimates series # 1901
  [4] = (National VSL2014) * (CPIt / CPI2014) * { 1 + [ e * { ( [Cabell Median Income ] - [National Median Income2014] ) / ( [Cabell Median Income ] +
  [National Median Income2014] ) / 2 } ] }




  7.         The effects of replacing the $9.3 million central estimate for the national VSL with the
  lower and upper bounds can be readily calculated. The lower bound factors down the estimate
  by $4.4/$9.3 million and the upper bound factors it up by $14.2/$9.3 million. The resulting
  estimates for the cost of mortality are contained in the main body of my Report.




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                                                 Section II
                                                Morbidity


  8.     This Section summarizes my approach to estimating excess health care costs resulting
  from opioid use disorder (OUD) in Cabell County. Studies of the excess costs of treatment of
  OUD are summarized in Table C.II.1. These studies apply a cost-of-illness methodology to
  compare total health care costs for those with OUD with a sample of matched controls.




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                                                                  Table C.II.1
                                                            Health Care Cost Studies

                                                                                           Patient                     Additional Annual Cost for OUD
           Study                                                Year [12]
                                                                                      Population Studied                          Individuals

      [1] Birnbaum et al . (2006)                                 2001                    Commercial                                  $9,449
      [1] Birnbaum et al . (2006)                                 2001                 Publicly Insured                              $12,394
      [1] Birnbaum et al . (2006)                                 2001                     Uninsured                                  $4,566

      [2] McAdam-Marx et al . (2010)                           2002-2003                    Medicaid                                  $5,874
      [3] White et al . (2005)                                    2003                    Commerical                                 $14,054
      [4] Roland et al . (2019)                                   2011                      Medicare                                 $24,230
      [5] Rice et al . (2014)                                     2012                    Commercial                                 $11,376
      [6] Florence et al . (2016)                                 2013                    Commerical                                 $15,500

      [6] Florence et al . (2016)                                 2013                      Medicare                                 $17,052
      [6] Florence et al . (2016)                                 2013                      Medicaid                                 $13,743
      [7] Kirson et al . (2017)                                   2015                    Commercial                                 $14,810
      [8] Scarpati et al . (2017)                                 2015                    Commercial                                 $15,764
      [9] Scarpati et al . (2017)                                 2015                    Commercial                                 $10,989
     [10] Leslie et al . (2019)                                   2017                      Medicaid                                  $6,485

     [11] Davenport et al . (2019)                                2018               Overall health care                             $14,846
     [11] Davenport et al . (2019)                                2018                      Medicare                                 $17,681
     [11] Davenport et al . (2019)                                2018                    Commercial                                 $22,185
     [11] Davenport et al . (2019)                                2018                      Medicaid                                  $9,016

      Notes and Sources
      [1] H. G. Birnbaum et al., “Estimated Costs of Prescription Opioid Analgesic Abuse in the United States in 2001: a Societal Perspective,” The Clinical
      Journal of Pain, 22(8), 2006, pp. 667-676.
      [2] C. McAdam-Marx, et al., “ Costs of Opioid Abuse and Misuse Determined from a Medicaid database,” Journal of Pain & Palliative Care
      Pharmacotherapy, 24(1), 2010, pp. 5-18.
      [3] A. G. White, et al ., “Direct Costs of Opioid Abuse in an Insured Population in the United States,” Journal of Managed Care Pharmacy , 11(6),
      2005, pp. 469-479.
      [4] C. L. Roland, et al. , “T he Prevalence and Cost of Medicare Beneficiaries Diagnosed and At Risk for Opioid Abuse, Dependence, and Poisoning,”
      Journal of Managed Care & Specialty Pharmacy , 25(1), 2019, pp. 18-27.
      [5] J. B. Rice, et al. , “T he Economic Burden of Diagnosed Opioid Abuse Among Commercially Insured Individuals,” Postgraduate Medicine , 126(4),
      2014.
      [6] C. S. Florence, et al. , “ T he Economic Burden of Prescription Opioid Overdose, Abuse and Dependence in the United States, 2013,” Medical Care ,
      54(10) 2016.
      [7] N. Y. Kirson, et al. , “ T he Economic Burden of Opioid Abuse: Updated Findings,” Journal of Managed Care and Specialty Pharmacy, 23(4),
      2017, pp. 427-45.
      [8] L. M. Scarpati, et al. , “Opioid Abuse: A Detailed Examination of Cost Drivers over a 24-Month Follow-up Period,” Journal of Managed Care &
      Specialty Pharmacy , 23(11), 2017, pp. 1110-15.
      [9] L. M. Scarpati, et al. , “Drivers of Excess Costs of Opioid Abuse Among a Commercially Insured Population,” American Journal of Managed
      Care , 23(5), 2017, pp. 276-282.
      [10] D. L. Leslie, et al. , “T he Economic Burden of the Opioid Epidemic on States: T he Case of Medicaid,” The American Journal of Managed Care ,
      Supplement 25(13), 2019, pp. S243-249.
      [11] S. Davenport, A. Weaver, and M. Caverly, “ Economic Impact of Non-Medical Opioid Use in the United States Annual Estimates and Projections
      for 2015 through 2019,” Society of Actuaries , 2019.
      [12] T he year listed reflects the year in which dollar cost estimates are measured, not necessarily the year from which the data originate.




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  9.        Recent studies by Leslie, et al. (2019) and Davenport, et al. (2019) contain pertinent data
  from which I derive estimates of excess health care costs.12 Leslie, et al. use Medicaid data from
  17 states to estimate the excess costs for the years 1999-2013, reported in 2017 dollars. Results,
  from Leslie, et al., for the years 2006 through 2013 are reported in Table C.II.2.



                                              Table C.II.2
                      OUD Excess Health Care Costs for Persons Covered by Medicaid
                                           from Leslie, et al.
                                                         2006       2007       2008       2009       2010       2011       2012      2013
   [1] Excess Costs, National (2017 Dollars)         $ 9,910    $ 9,433    $ 8,591    $ 8,606    $ 8,778     $ 7,937    $ 7,556   $ 6,485

  Notes and Sources

  [1] Source: D.L. Leslie, et al ., “The Economic Burden of the Opioid Epidemic on States: The Case of Medicaid,” The American
  Journal of Managed Care , Supplement 25(13), 2019, pp. S243-249




  10.       Davenport, et al. use large national databases available to the Society of Actuaries to
  estimate excess health care costs associated with OUD by payer for 2015-2018.13 Results for
  three major groups of payers are reported in the first three rows of Table C.II.3, taken from
  Davenport, et al. Figure 6, followed by West Virginia estimated excess costs for commercial
  and Medicare patients, taken from Davenport, et al., Figures A6-A8 and A14-A16. The authors
  do not report West Virginia-specific Medicaid excess health care costs.
  11.       The results from Davenport, et al. imply that from 2015-2018, per person excess health
  care costs in West Virginia are 39.0% lower than the national average.14 Additionally, the
  Davenport, et al. data imply that excess health care costs per person with OUD are on average
  224% higher for Medicare and commercial patients relative to Medicaid patients.15




  12
     D.L. Leslie, et al., “The Economic Burden of the Opioid Epidemic on States: The Case of Medicaid,” The
  American Journal of Managed Care, Supplement 25(13), 2019, pp. S243-249 (hereafter Leslie, et al.) and S.
  Davenport, A. Weaver, and M. Caverly, “Economic Impact of Non-Medical Opioid Use in the United States Annual
  Estimates and Projections for 2015 through 2019,” Society of Actuaries, 2019 (hereafter Davenport, et al.).
  13
    The authors rely on health care claims data. For individuals with commercial insurance, they use IBM Watson
  Health’s MarketScan. For Medicaid Managed Care and Medicare Advantage patients, they use Millman’s

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                                        Table C.II.3
          OUD Excess Health Care Costs Across Payers Nationally and in West Virginia
                                 Based on Davenport, et al.

                                                                        2015        2016         2017        2018
          [1] Commercial                                            $20,612      $21,346     $21,771      $22,185

          [2] Medicare                                              $16,129      $17,021     $17,351      $17,681

          [3] Medicaid                                               $8,062       $8,549       $8,847      $9,016

          [4] West Virginia Commercial                              $11,467      $11,913     $12,220          N/A

          [5] West Virginia Medicare                                $10,974      $11,401     $11,695          N/A

              Percent difference between West Virginia
          [6] and national commercial and Medicare                    38.9%        39.2%        38.9%       39.0%
              average costs

                Percent difference between Medicaid and
          [7]                                                          228%         224%        221%         224%
                commercial and Medicare costs


         Notes and Sources
         Costs are in nominal dollars. 2018 figures are averages of 2015-2017
         [1] - [5] Source: S. Davenport, A. Weaver, and M. Caverly, “Economic Impact of Non-Medical
         Opioid Use in the United States Annual Estimates and Projections for 2015 through 2019,”
         Society of Actuaries, 2019
         [6] = 1 - ( [4] + [5] ) / ( [1] + [2] ). 2018 estimate is the average of 2015 - 2017
         [7] = [ ( [1] + [2] ) / 2 ] / [3]. 2018 estimate is the average of 2015 - 2017




  12.     I combine the results from the Leslie, et al. and Davenport, et al. studies to construct a
  West Virginia excess cost estimate for a combined Medicaid/Uninsured group and a combined
  Medicare/Commercial group from 2006 through 2018. Specifically, I begin with the Leslie, et



  Consolidated Health Costs Guidelines Sources Database, and for fee-for-service Medicare patients, they use CMS’
  5% sample.
  14
    This is derived by dividing the sum of West Virginia Medicare and commercial per-patient costs by the National
  Medicare and commercial per-patient costs. Because 2018 West Virginia data is unreported, I use the average of
  2015-2017 costs as an approximation for 2018.
  15
     I calculate this difference by dividing the average of the commercial and Medicare costs by the Medicaid average
  costs for 2015-2018. This results in line [7] of Table C.II.3


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  al. Medicaid excess cost estimates, and use the data (in 2017 dollars) for the final year of data in
  that study (2013) as an estimate of the excess costs for the years 2014-2018. I then reduce these
  national cost estimates by 39.0% to reflect lower health care costs in West Virginia, as shown in
  the first row of Table C.II.4. Next, based on the Davenport, et al. finding that
  Medicare/Commercial costs are 224.5% higher than Medicaid, I construct a series for
  Medicare/Commercial excess costs over the same time period, shown in the second row of the
  table.


                                                       Table C.II.4
                               West Virginia Excess Health Care Costs for Persons with OUD
                                                        2006-2018
                                                 2006      2007       2008        2009      2010      2011     2012     2013     2014     2015     2016      2017     2018
      Medicaid excess costs
  [1]                                           $9,910   $9,433     $8,591      $8,606     $8,778   $7,937   $7,556   $6,485   $6,485   $6,485    $6,485   $6,485   $6,485
      (national)

      % difference between West
      Virginia and national average
  [2]                                           39.0%     39.0%      39.0%       39.0%     39.0%     39.0%    39.0%    39.0%    39.0%    39.0%    39.0%     39.0%    39.0%
      costs (commercial and
      Medicare)

         Medicaid/Uninsured
  [3]                                       $6,044       $5,753    $5,240      $5,249     $5,354    $4,841   $4,609   $3,955   $3,955   $3,955   $3,955    $3,955   $3,955
         excess costs

      % difference between
  [4] Medicaid and commercial               224.5%       224.5%     224.5%      224.5%     224.5%   224.5%   224.5%   224.5%   224.5%   224.5%   224.5%    224.5%   224.5%
      and Medicare costs

         Medicare/Commercial
  [5]                                      $13,567 $12,914 $11,761 $11,781 $12,017 $10,866 $10,344                    $8,878   $8,878   $8,878    $8,878   $8,878   $8,878
         excess costs


  Notes and Sources: Costs are in 2017 US Dollars
  [1] C.II.2, Row [1]. Data for 2014-2018 is unavailable, assumed to be equal to 2013
  [2] C.II.3, Row [6], average over 2015-2017
  [3] = [1] * ( 1 - [2] )
  [4] C.II.2, Row [7], average over 2015-2017
  [5] = [3] * [4]




  13.               The next step is to estimate of the distribution of individuals in West Virginia with OUD
  falling into the Medicaid/Uninsured and Medicare/Commercial categories. I rely on data from
  the Healthcare Cost and Utilization Project (HCUP) pertaining Opioid-Related Hospital Use.16
  Data for 2018 are not available, so I proxy it with 2017 data. As shown in Table C.II.5, by the


  16
    HCUP Fast Stats, Healthcare Cost and Utilization Project (HCUP), December 2019, Agency for Healthcare
  Research and Quality, Rockville, MD (https://www.hcup-us.ahrq.gov/faststats/OpioidUseServlet?radio-
  1=on&radio-3=on&location1=WV&characteristic1=06&setting1=IP&location2=&characteristic2=01&setting2=IP
  &expansionInfoState=hide&dataTablesState=hide&definitionsState=hide&exportState=hide#export).


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  end of the period, Medicaid/Uninsured constitute two-thirds of the share of hospital admissions
  for OUD.17 I approximate the share of individuals with OUD in Cabell County with
  Medicaid/Uninsured and Medicare/Commercial coverage by the share of these payers of
  admissions for OUD in West Virginia.



                                           Table C.II.5
               HCUP Data – West Virginia Opioid-Related Inpatient Admissions by Payer
                                            2006-2018
                                       2006       2007      2008    2009    2010    2011    2012    2013    2014    2015     2016    2017    2018
  [1] Medicaid/Uninsured              56.4%      61.0%     56.3%   56.3%   60.7%   59.1%   61.1%   62.3%   65.1%   65.5%    65.6%   68.0%   68.0%
  [2] Medicare/Commercial             43.6%      39.0%     43.8%   43.8%   39.3%   40.9%   38.9%   37.7%   34.9%   34.5%    34.4%   32.0%   32.0%


  Notes and Sources:
  [1] - [2] HCUP Opioid Related Inpatient Data for West Virgnia




  14.         Next, I use the shares from Table C.II.5 to apportion OUD cases in Cabell into the two
  payer groups, effectively assuming that the share of discharges by payer in Cabell is similar to
  the state, and that the share of discharges is a good proxy for the share of cases. I then multiply
  the number of cases in each category by the excess cost for that category to come up a total.
  Table C.II.6 below contains these calculations, also shown as Table 5 of my Report.




  17
     The Kaiser Family Foundation (KFF) reports a Medicaid/uninsured share 58% by 2017 for non-elderly adults.
  Because Medicare and commercially insured patients incur higher costs, my use of the HCUP data is conservative in
  relation to the KFF estimates. See K. Orgera, and J. Tolbert, “The Opioid Epidemic and Medicaid’s Role in
  Facilitating Access to Treatment,” Kaiser Family Foundation, 2018: (https://www.kff.org/medicaid/issue-brief/the-
  opioid-epidemic-and-medicaids-role-in-facilitating-access-to-treatment/).


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                                               Table C.II.6
                 Excess Health Care Costs Attributed to Individuals with Prescription OUD
                                                2006-2018
                                             2006     2007     2008     2009     2010     2011     2012     2013     2014     2015     2016     2017     2018      Total

       Total OUD cases due to
   [1]                                       3,859    5,952    3,433    3,773    4,985    6,230    3,530    7,218    6,020    7,240    7,148    9,018    7,109    75,515
       prescription opioids

         Share of OUD cases covered by
   [2]                                       43.6%    39.0%    43.8%    43.8%    39.3%    40.9%    38.9%    37.7%    34.9%    34.5%    34.4%    32.0%    32.0%
         Medicare/commercial payers

         Share of OUD cases covered by
   [3]                                       56.4%    61.0%    56.3%    56.3%    60.7%    59.1%    61.1%    62.3%    65.1%    65.5%    65.6%    68.0%    68.0%
         Medicaid/uninsured

       Excess health care costs per
   [4] OUD case covered by                  $13,567 $12,914 $11,761 $11,781 $12,017 $10,866 $10,344         $8,878   $8,878   $8,878   $8,878   $8,878   $8,878
       Medicare/commercial payers

       Excess health care costs per
   [5] OUD case covered by                   $6,044   $5,753   $5,240   $5,249   $5,354   $4,841   $4,609   $3,955   $3,955   $3,955   $3,955   $3,955   $3,955
       Medicaid/uninsured
       Total excess health care
   [6] costs due to prescription             $36.0    $50.9    $27.8    $30.6    $39.8    $45.5    $24.2    $41.9    $34.2    $40.9    $40.4    $49.9    $39.3    $501.3
       opioids ($ mil)

  Notes and Sources
  [1] Source: Keyes Report, Figure 14
  [2] & [3] Source: Table C.II 5
  [4] & [5] Source: Table C.II.4
  [6] = [1] * [2] * [4] + [1] * [3] * [5]




  15.          Table C.II.7 summarizes some of the literature studying the impact of prescription
  opioids on labor market participation. To compare estimates across studies, I scaled each study’s
  estimate to represent the impact of a 10% increase in opioid prescribing on employment rates.
  Krueger 201718 reports the impact of a 10% increase in MME per capita; the other studies all
  report the impact of a 10% increase in opioid prescriptions per capita. MME per capita grew
  more than opioid prescriptions per capita over the time period.




  18
    A.B. Krueger, “Where Have all the Workers Gone? An inquiry into the Decline of the US Labor Force
  Participation Rate,” Brookings Papers on Economic Activity, 2017(2), 2017, pp. 1-43.

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                                                    Table C.II.7
                             Empirical Studies on the Impact of Opioids on Employment

                                                                                                                                Impact of 10% increase
                                                              Study
                                                                                                                                    in prescribing
      A.B. Krueger, “Where Have all the Workers Gone? An inquiry into the Decline of the US
                                                                                                                                       −0.011 (males)
  [1] Labor Force Participation Rate.” Brookings Papers on Economic Activity, 2017.2, 2017.
                                                                                                                                      −0.014 (females)
      Table 13

        J. Currie, J. Jin, and M. Schnell, “US Employment and Opioids: Is There a Connection?,”                                       0.005 (females)
  [2]
        Health and Labor Markets, Research in Labor Economics , 47, 2019, pp. 253-280                                               no impact for males

      M.C. Harris, et al ., “Prescription Opioids and Labor Market Pains: the Effect of Schedule II
                                                                                                                                          −0.056
  [3] Opioids on Labor Force Participation and Unemployment,” Journal of Human Resources,
                                                                                                                                    (males and females)
      2019, pp. 1017-9093R2
                                                                                                                                       −0.050 (males)
  [4] D. Aliprantis, K. Fee, and M. Schweitzer, “Opioids and the Labor Market,” 2019
                                                                                                                                      −0.017 (females)


  Notes and Sources
  [1] Krueger 2017 used county-level MME per capita data in 2015 and county-level labor force participation data for men and women age 25 to 54 from
  1996–2001 and 2014–2016. Krueger regressed labor force participation rates on log MME per capita, a dummy for 2014–2016, and an interaction between log
  MME per capita and the dummy for 2014–2016. Krueger also controlled for race and ethnicity, marital status, age and age-squared, years of education, share of
  manufacturing employment and an interaction between share of manufacturing employment and the dummy for 2014–2016, region dummy variables, and
  county fixed effects


  [2] Currie, Jin, and Schnell 2018 used IQVIA prescriptions data and Quarterly Workforce Indicators employment data from 2006–2014. Currie and colleagues
  instrument for county per capita opioid prescriptions to working-age people using per capita opioid prescriptions to age 65 and older of the same gender. T hey
  regress predicted log employment rates of men and women age 19 to 64 on log opioid prescriptions per capita (predicted using their instrument), percent with
  health insurance, year fixed effects, and county fixed effects at the county level. T hey also stratify by low vs. high education counties—the results for low
  education counties are presented in the table above


  [3] Harris, Kessler, Murray, and Glenn 2019 use county-level opioid prescription rates from prescription drug monitoring programs and controlled substance
  monitoring programs in ten states (Arkansas, California, Colorado, Florida, Massachusetts, Michigan, Ohio, Oregon, T ennessee, and T exas) from 2010 to 2015.
  Harris and colleagues use county-level labor force and employment rates from the Bureau of Labor Statistics. T hey instrument for county-level opioid prescribing
  using each county’s per capita number of physicians with opioid prescribing rates above the 95 th percentile in Medicare Claims data. T hey regress county
  employment-to-population ratios in each year on opioid prescriptions per capita (predicted using their instrument). T hey also control for county characteristics
  (percent rural, percent female, percent Black, percent Hispanic, percent in each 10-year age bracket, per capita number of primary care physicians, and per
  capita cancer deaths)



  [4] Aliprantis, Fee, and Schweitzer 2019 used CDC county-level opioid prescribing data and labor force participation data from the 1% American Community
  Survey sample from 2006 to 2016. T he aggregate data is up to the Public Use Microdata Area (PUMA) level; PUMAs are the lowest available geographic
  identifier which covers all the US in ACS data. T hey regress labor force participation rates and employment to population ratios in each year on one-year lagged
  log opioid prescriptions per capita for males and females. T hey control for labor demand shocks, baseline labor force participation rates and employment to
  population ratios in 2000, share in manufacturing employment, a fourth-order polynomial in average age, percent with less than high school, high school, and
  some college education, percent White, Black, and Hispanic, percent married, region, and state fixed effects




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                                                      Section III
                                    Neonatal Abstinence Syndrome (NAS)


  16.      In this Section, I describe the methodology used to quantify the additional health care
  costs at birth, and through early childhood, of NAS cases attributable to prescription opioid sales
  and distribution.
  17.      The difference in the average hospital charges for a birth in Cabell County and the
  average charge for an NAS birth in Cabell County are used as a basis to estimate the excess costs
  for NAS births.19 These are presented in rows 2 and 3 of Table C.III.1. Charges are not costs
  incurred by payers. To estimate NAS hospital costs to payers (in essence, hospital revenue), I
  use the net revenue-to-charge ratios from the American Hospital Association. The American
  Hospital Association publishes aggregate data on gross hospital charges and net patient revenues
  by state. I use that data for West Virginia, reproduced in rows 5 and 6 of Table C.III.1, to
  estimate the revenue-to-charge ratio for Cabell County hospitals (row 7), and I use this ratio to
  estimate the excess costs to payers required to treat NAS babies. Data are unavailable for 2006,
  so I apply the 2007 estimate. The average excess cost for a case of NAS is reported in row 8 of
  Table C.III.1.
  18.      Average excess costs for NAS (row 8) are multiplied by the number of NAS cases in
  Cabell County attributable to prescription opioids (row 1). This yields total excess hospital costs
  attributable to NAS resulting from prescription opioid sales and distribution. The total valuation
  is in row 9 of Table C.III.1, which is $1.4 million for 2006-2015.




  19
    This data for the average charges for all births will include charges for NAS births and therefore is a conservative
  comparison.


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                                                          Table C.III.1
                                                 Excess Hospital Costs for NAS
                                      Due to Sales and Distribution of Prescription Opioids
                                                           2006-2015

                                             2006      2007      2008       2009      2010      2011      2012      2013      2014      2015     Total

         NAS due to prescription
   [1]                                         4.9       4.9       7.4        7.9       9.3      11.3      14.1      20.6      20.7      21.5    122.6
         opioids

         Average charge for an NAS
   [2]                                     $11,108   $11,018   $11,018    $16,214   $21,896   $32,330   $43,191   $43,003   $51,192   $59,875
         birth in WV hospitals

         Average charge for a birth in
   [3]                                      $6,288    $6,288    $6,288     $6,336    $7,433    $8,428    $9,019   $10,087   $11,586   $12,739
         WV hospitals

         Excess charges for NAS
   [4]                                      $4,730    $4,730    $4,730     $9,878   $14,463   $23,903   $34,172   $32,916   $39,606   $47,136
         births

         WV gross hospital charges
   [5]                                      $7,945    $8,645    $9,458    $10,336   $11,042   $11,854   $12,634   $13,436   $14,407   $15,652
         ($m)


   [6] WV net patient revenue ($m)          $3,820    $4,067    $4,260     $4,548    $4,655    $4,804    $5,243    $5,270    $5,556    $5,807


         Patient revenue to charge
   [7]                                        48%       47%       45%        44%       42%       41%       41%       39%       39%       37%
         ratio

         Excess hospital costs per
   [8]                                      $2,274    $2,225    $2,130     $4,347    $6,097    $9,688   $14,180   $12,912   $15,275   $17,488   $86,618
         NAS birth

         Total Excess WV Hospital Costs
   [9] for NAS Births                      $11,083   $10,848   $15,785   $34,357    $56,742 $109,151 $199,535 $266,558 $316,755 $375,693 $1,396,506




  19.           To quantify the excess health care costs during childhood because of prescription opioid
  NAS births, I start with research that shows what these costs entail. My main source for these is
  Liu, et al., which conclude that children ages 1-8 born with NAS incur an average of $6,927 per
  year in health care costs. The equivalent figure for children born without NAS is $2,735,
  yielding an annual excess health care cost of $4,192 for children born with NAS.20 I adjust the
  Liu, et al estimates downward to reflect the lower costs incurred by Medicaid, and in West
  Virginia in the same fashion as the Morbidity section of my Report. Because these costs are
  annual, I multiply this figure by 8 to obtain the per-child excess health care costs due to NAS.



  20
     G. Liu, et al., “A longitudinal healthcare use profile of children with a history of neonatal abstinence syndrome,”
  The Journal of Pediatrics, 204, 2019, pp. 111-117. These costs include hospitalizations, emergency department
  visits, outpatient evaluations, and prescription drugs. Note that these costs are national averages for privately insured
  children.


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  The results of this calculation are in Table 7 of my Report. From 2006-2015, NAS lead to 1.1
  million in excess health care costs.
  20.      I rely on the academic literature to estimate extra costs associated with special education
  due to being born with NAS. I start by obtaining the general per-student cost of education for
  children, and the share of children that received special education services, which are
  approximately $11,445 for 2014-2015, and 13.2% in 2015-16 respectively.21 The cost of special
  education services per pupil is approximately 1.91 times greater than for students that do not
  receive special education.22 Students that receive special education receive an average of two
  years of it.23 Thus average cost over students that did not receive special education is $10,218
  and that the cost for special education students is $19,516 ($10,218 * 1.91).24 I use the
  difference between these two numbers ($9,298) as the additional special education cost incurred
  per school year. I combine this with the increased risk of a NAS child requiring special
  education services (3.9%), yielding an estimate of $725 ($9,298 * 2 * 0.039) in excess
  educational cost per student with NAS. This results in a total cost of $88,862 for 2006-2015.
  See Table 7 of the Report for the final estimates.




  21
     See: National Center for Education Statistics, Digest of Education Statistics, Table 236.15 for cost per pupil
  (https://nces.ed.gov/programs/digest/d17/tables/dt17_236.15.asp) and Table 204.30 for percent of total enrollment
  for children with disabilities (https://nces.ed.gov/programs/digest/d17/tables/dt17_204.30.asp).
  22
     J.G. Chambers, J. Shkolnik, and M. Perez, “Total Expenditures for Students with Disabilities, 1999-2000:
  Spending Variation by Disability, Report, Special Education Expenditure Project (SEEP),” 2003, p. v, reports that
  “Per pupil education expenditures for students who receive special education services (excluding homebound
  students) are 1.91 times greater than expenditures for students who receive no special education services.”
  23
     E.W. Holt, D.J. McGrath, W.L. Herring, “Timing and Duration of Student Participation in Special Education in
  the Primary Grades,” NCES, 2007(043), Washington DC, National Center for Education Statistics, 2007.
  24
     Note that the initial average per-student cost ($11,445) includes children which receive special education.
  Differencing those students out (13.2% of all students) yields the average per-pupil cost ($10,218) for students that
  did not receive special education services.

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                                                      Section IV
                                                         Crime


  21.      In Section IV.1, I describe the basis for the quantification of crimes attributable to
  prescription opioid sales and distribution. In Section IV.2, I describe the methodology used to
  quantify the costs associated with these crimes. In Section IV.3, I describe the approach used to
  value the effect of crimes on property values.

  IV.1. Estimating the Number of Crimes in the Cabell Huntington Community
  Attributable to the Sales and Distribution of Prescription Opioids

  22.      To quantifying criminal activity in the Cabell Huntington Community, I calculate the
  total criminal activity reported for all reporting Law Enforcement Agencies (LEAs). I start with
  the National Incident-Based Reporting System (NIBRS) data for Cabell County. NIBRS data is
  a standard source used to measure criminal offenses by category for all law enforcement
  agencies (LEAs) that report into NIBRS.25 However, starting in 2011, some LEAs in the Cabell
  Huntington Community did not report to NIBRS.26 In these cases, my staff requested data
  directly from the LEA. The LEAs for which we obtained data directly include the Huntington
  Police Department (HPD) and the Cabell County Sheriff’s Office (CCSO).27 Barboursville
  Police Department (BPD) data comes from NIBRS. I use data from NIBRS from 2006-2010,




  25
     NIBRS is set to replace the Uniform Crime Reporting System (UCR) as the standard data source for the FBI by
  2021 (https://ucr.fbi.gov/nibrs/2018/resource-pages/countdown.pdf). Other data sources include the FBI’s UCR and
  the Census Bureau’s National Crime Victimization Survey (NCVS). However, in contrast to UCR, NIBRS allows
  for the disaggregation of crime into specific categories that results in more accurate valuations on the cost of crime
  (https://www.fbi.gov/services/cjis/ucr/nibrs). NCVS is a survey, and thus is not meant as an exhaustive
  quantification of reported crime, and does not record certain crimes, such as homicides, and crimes for those under
  aged 12 (https://www.ncjrs.gov/ovc_archives/ncvrw/2017/images/en_artwork/Fact_Sheets/2017NCVRW_
  CrimeAndVictimization_508.pdf).
  26
     The following LEAs report to NIBRS at least once during the study period: Barboursville Police Department
  (BPD), Cabell County Sheriff’s Office (CCSO), Department of Natural Resources: Cabell County, Huntington Drug
  and Violent Crime Task Force, Huntington Police Department (HPD), Marshall University, Milton Police
  Department (MPD), State Fire Marshall, State Police: Huntington (SPH). LEAs with incomplete data in NIBRS
  include: CCSO, HPD, Marshall University, MPD, and SPH.
  27
    Huntington Police Department data obtained from: HUNT_01718156, and HUNT_01515584. Cabell County
  Sheriff’s Office counts obtained from: CCDS_0081519, CCDS_0081523, CCDS_0081527, CCDS_0081531,
  CCDS_0081533.

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  and 2012. Years 2011 and 2013 include HPD and BPD data only. From 2014-2018, I use data
  from the HPD, BPD, and CCSO.28
  23.      I adjust the number of crimes identified in the NIBRS data and individual LEAs to
  estimate crimes attributable to prescription opioids in three steps. First, the percent of all crimes
  in each category that can be attributable to drugs (opioids and non-opioids) is taken from U.S.
  DOJ National Drug Intelligence Center (NDIC).29 These estimates are applied each year. One
  crime category is titled “Drug Crimes.” I assume that 100% of Drug Crimes are due to drugs.
  24.      Second, the share of drug-related crimes that are opioid-related is estimated following the
  methodology in Florence et al.30 I use information on the share of items or seizures from law
  enforcement operations in Cabell County that contained opioids as reported by the National
  Forensic Laboratory Information Service (NFLIS). Table C.IV.1 reports these adjustments.
  25.      Third, the percent of opioid-related crimes that are attributable to prescription opioid
  sales is approximated using the rate of OUD attributed to prescription sales and distribution as
  reported in Table 4 of my Report.
  26.      Combining the above inputs yields an estimate of the number of crimes occurring in the
  Cabell Huntington Community that are attributable to the sales and distribution of prescription
  opioids. Table C.IV.2 presents these numbers by type of crime.




  28
    In years with complete NIBRS data (2006-2010), HPD and CCSO account for 70% - 77% of crime counts.
  Because of my reliance on only these two LEAs in 2011, 2013, 2014-2018, my crime estimates are very
  conservative.
  29
      United States Department of Justice, National Drug Intelligence Center, “The Economic Impact of Illicit Drug
  Use on American Society,” 2011. In Table 1.7 of Appendix A, the report assesses the impact of illicit drug use on
  criminal activity in two components. The first is instrumental offenses, where the crime was committed to obtain, or
  otherwise directly due to drugs. An example of this is theft that occurs for the specific purpose of supporting a drug
  habit. The second component is related offenses, where the crime may or may not have occurred in the absence of
  drugs, but drugs likely precipitated the event; for example, a violent crime precipitated by the disinhibiting
  properties of an illicit drug. The report attributes 10% of the related offenses as drug-related, and I do so as well.
  Using the figures from Table 1.7, for example, for murder, the share of this crime due to drugs is calculated as
  (117+51.6)/4310 = 3.9%. Note that we calculate these shares using 2002 data, as per the report, but apply these to
  all years due to the lack of updated data availability.
  30
    C.S. Florence, et al., “The Economic Burden of Prescription Opioid Overdose, Abuse and Dependence in the
  United States, 2013,” Medical Care, 54(10), 2016, pp. 901-906 (hereafter Florence, et al.).


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                                              Table C.IV.1
                      Opioid Reported Crime Events for Drug Crimes in Cabell County
                                               2006-2018

                                       2006     2007     2008     2009     2010     2011     2012     2013     2014    2015     2016     2017     2018

  [1] Count of opioids reported        1,807    1,807    1,507    3,409    2,927    3,291    3,400    4,106    3,317   2,504    1,861    1,609    1,906

  [2] Count of substances tested      10,261   10,261    6,792   10,280    9,123    9,625    9,765    9,285    7,186   5,344    4,071    4,259    5,532
      Opioids share of substances
  [3]                             17.6% 17.6% 22.2% 33.2% 32.1% 34.2% 34.8% 44.2% 46.2% 46.9% 45.7% 37.8% 34.5%
      tested

  Notes and Sources
  [1] and [2] Source: Counts for drugs identified by WV forensic laboratories to the National Forensic Laboratory Information System (NFLIS). U.S. Drug
  Enforcement Administration, Diversion Control Division. 2008-2017. Table 2: State Counts for the most frequently identified drugs. Retrieved from the
  NFLIS Public Resource Library (https://www.nflis.deadiversion.usdoj.gov/Resources/NFLISPublicResourceLibrary.aspx). 2006 data unavailable - set
  equal to 2007
  [3] = [1] / [2]




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                                                     Table C.IV.2
                           Crimes Attributable to Prescription Opioid Sales and Distribution
                                          in Cabell Huntington Community
                                                      2006-2018
         Category of Offense                2006     2007    2008    2009     2010   2011    2012    2013    2014    2015    2016     2017    2018       Total
  [1] Aggravated Assault                    1.23      1.24    1.33    2.15    1.12    1.39    2.00    1.87    2.61    2.25    3.84     3.52    2.57     27.13

  [2] All Other Offenses                    0.19      0.14    0.23    0.25    0.29   42.22    0.14   43.35   64.10   52.95   96.05    54.01   46.80    400.72
  [3] Arson                                 0.03      0.09    0.07    0.10    0.11    0.10    0.31    0.12    0.21    0.24    0.14     0.08    0.07      1.67
  [4] Burglary                             91.57     85.11   98.60 152.24 109.41 110.45 136.80 140.17 168.93 145.41 137.50            77.84   61.06   1,515.10

  [5] Curfew/Loitering/Vagrancy                  -     -      -        -       -       -       -      -        -      -        -        -      -          -
  [6] Disorderly Conduct                         -     -      -        -       -       -       -      -        -      -        -        -      -          -

  [7] Driving Under the Influence                -     -      -        -       -      4.84     -      5.66    5.37    7.29    7.36     4.72    3.81     39.06
  [8] Drug Crimes                         108.14     93.91 117.93 215.90 172.54      84.75 168.86 112.87 238.05 194.33 239.54 323.31 342.82           2,412.97
  [9] Drunkenness                                -     -      -        -       -      3.22     -      2.41    2.86    4.77    3.19     1.72    1.13     19.30

  [10] Embezzlement                         1.03      1.09    1.35    1.79    1.41    0.94    1.70    1.32    1.47    1.59    1.13     0.82    0.55     16.19
  [11] Family and Children                       -     -      -        -       -       -       -      0.11    0.38    0.06    0.59     0.32    0.44      1.90
  [12] Forcible Rape                        0.57      0.52    0.74    0.91    0.70    0.65    0.60    0.83    0.95    0.66    0.75     0.99    0.99      9.86

  [13] Forgery and Fraud                   24.98     26.42   32.67   46.52   44.01   29.44   44.90   37.67   46.49   51.85   46.57    31.12   25.71    488.37
  [14] Gambling Offenses                         -     -      -        -       -       -       -      -        -      -        -        -      -          -

  [15] Human Trafficking                         -     -      -        -       -       -       -      -        -      -        -        -      -          -
  [16] Larceny-theft                      202.09 185.98 225.97 333.98 262.63 206.14 309.86 288.30 368.12 319.70 303.48 192.11 202.12                  3,400.47
  [17] Liquor Laws                               -     -      -        -       -      0.20     -      0.17    0.29    0.86    0.43     0.35    0.06      2.36

  [18] Motor Vehicle Theft                 18.48     18.44   19.38   22.09   15.67   12.99   16.83   16.49   25.16   17.81   18.08    17.81   13.58    232.81
  [19] Murder                               0.01      0.03    0.06    0.05    0.02    0.04    0.03    0.08    0.07    0.05    0.18     0.21    0.14      0.96

  [20] Other Assaults                      11.73     11.28   14.80   22.09   17.41   13.53   18.10   14.63   13.73   14.22   17.62    11.10    8.73    188.98
  [21] Prostitution                         2.02      4.48    5.72   10.39    4.02    9.25    7.18    7.00    7.02   10.50    5.17     5.24    1.21     79.19
  [22] Robbery                             10.47      9.97   13.05   18.44   15.65   17.27   14.63   15.53   15.45   18.76   17.53    13.77    9.01    189.52

  [23] Sex Offenses                         0.08      0.10    0.13    0.16    0.15    0.17    0.22    0.15    0.15    0.14    0.15     0.08    0.11      1.77
  [24] Stolen Property                      0.61      0.90    0.56    1.04    1.60    0.24    0.95    2.02    2.98    2.50    4.54     3.42    2.89     24.25
  [25] Vandalism                            8.66      7.53   10.60   14.27   10.53    7.66   10.56    8.97   11.83   13.17   13.02     6.61    5.94    129.35

  [26] Weapons                              0.26      0.20    0.25    0.52    0.30    0.10    0.43    0.54    1.58    1.59    0.79     0.68    0.57      7.82

         Total Offenses due to
  [27]                                       482      447     543     843     658     546     734     700     978     861     918      750     730      9,190
         Prescription Opioids


  Notes and Sources
  [1] - [26] = (Crime - Q - OPs ) * (% Rx OPs)
  [27] = Σ [1:26]




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  IV.2. Valuation of Criminal Offenses Attributable to Prescription Opioid Sales and
  Distribution

  27.      The main sources of monetary estimates are McCollister, et al. (2010) and Miller and
  Bhattacharya (2013).31 The authors estimate the cost of crime by offense category using two
  methods: cost-of-illness and jury compensation. The cost-of-illness approach identifies a
  comprehensive list of costs imposed by crime on society, including property loss, medical costs,
  lost productivity, crime prevention expenses, pain and suffering. These costs are then attributed
  to different crime categories (theft, arson, etc.) to estimate a “per-offense” unit cost by type of
  criminal activity. The jury-compensation approach is an estimation method for the intangible
  costs of crime, such as pain and suffering, and adjusted risk of homicide,32 derived from data on
  jury awards received by crime victims.33 These two methodologies allow for the disaggregation
  of the unit cost of a given crime into direct, implicit, and intangible costs and are widely used in
  the crime cost literature.34
  28.      I match the offense categories on criminal activity attributable to prescription opioid sales
  and distribution to the per-offense cost estimates from the literature.35 Cost estimates per offense
  are not available for all crimes (such as disorderly conduct). In these cases, I assign no costs.




  31
     K.E. McCollister, M.T. French, and H. Fang, “The Cost of Crime to Society: New Crime-Specific Estimates for
  Policy and Program Evaluation,” Drug and Alcohol Dependence, 108(1), 2010, pp. 98-109 (hereafter McCollister et
  al.). T. Miller and S. Bhattacharya, “Incidence and Cost of Carbon Monoxide Poisoning for All Ages, Pool and Spa
  Submersions for Ages 0− 14, and Lead Poisoning for Ages 0-4,” 2013, Table 20 (https://www.cpsc.gov/s3fs-
  public/pdfs/IncidenceandCostofCarbonMonoxidePoisoningPoolandSpaSubmersionandLeadPosioning_0.pdf).
  32
     Homicide is sometimes the result of criminal activity. To account for this, the valuation of crime costs includes a
  risk of homicide component that is divided into a tangible cost and an intangible cost. Within tangible costs, risk of
  homicide is included in Crime Victim Costs, and entails mean present value of the victim’s expected lifetime
  earnings. Within intangible costs, Adjusted Risk of Homicide captures the intangible costs of homicide using the
  mean Value of a Statistical life (VSL). See McCollister et al, p 103
  33
    M.A. Cohen, “Pain, Suffering, and Jury Awards: A Study of the Cost of Crime to Victims,” Law & Society
  Review, 22(3), 1988, pp. 537-555.
  34
    Examples of these approaches are D.A. Anderson, “The Cost of Crime,” Foundations and Trends® in
  Microeconomics, 7(3), 2011, pp. 209-265 and T.R. Miller, M.A. Cohen, and D. Hendrie, “Non-Economic Damages
  Due to Physical and Sexual Assault: Estimates from Civil Jury Awards,” Forensic Science and Criminology, 2(1),
  2017, pp. 1-10.
  35
     Some of these categories do not match one to one, or there are difficulties in finding per-offense costs for some
  crimes. I specify the sources for each crime category in the Quantitative Backup. In particular, I do not have the
  adjusted risk-of-homicide crime costs for crimes not available in McCollister, et al. Other assumptions include the
  use of the sexual assault per-offense cost to crimes in the data categorized as forcible rape.


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  29.              Finally, I multiply the crime counts due to prescription opioid sales and distribution in
  each crime category by the corresponding per-offense cost estimate, which yields the total crime
  costs broken into direct, indirect, and intangible costs.
  30.              Table C.IV.3 identifies the direct, implicit, and intangible costs associated with each
  category of offense, and the sources for those values. Total costs by category of offense appear
  in Table C.IV.4. The sum of these costs by year for Cabell Huntington Community appear in
  Table C.IV.5 and in my Report, Table 8.

                                                                                       Table C.IV.3
                                                                                 Summary of Costs by Offense
                                                                  Direct Cost/Offense                             Implicit Cost/Offense            Intangible Costs/Offense
                                                                                                                                                                  Adjusted Risk of
        Category of Offense                       Crime Victim Cost            Criminal Justice Cost               Crime Career Cost        Pain and Suffering       Homicide                            Total All Costs

  [1] Aggravated Assault                                  $8,700                          $8,641                            $2,126                 $13,435                     $81,588                       $114,490

  [2] All Other Offenses                                    $70                            $229                               $92                    N/A                         N/A                            $391

  [3] Arson                                               $11,452                         $4,392                             $584                     $0                        $5,133                        $21,561

  [4] Burglary                                            $1,362                          $4,127                             $681                     $0                         $321                          $6,491

  [5] Curfew/Loitering/Vagrancy                             $70                           $1,093                             $381                                                                              $1,544

  [6] Disorderly Conduct                                    $70                           $1,093                             $381                                                                              $1,544

  [7] Driving Under the Influence                           $19                            $415                              $145                                                                               $579

  [8] Drug Crimes                                         $4,490                          $3,202                            $1,118                    $0                         N/A                           $8,810

  [9] Drunkenness                                           $70                           $1,093                             $381                                                                              $1,544

  [10] Embezzlement                                          $0                           $4,820                             $660                    N/A                         N/A                           $5,480

  [11] Family and Children                                                                                                                                                                                       $0

  [12] Forcible Rape                                      $5,556                          $26,479                           $9,212                $198,212                      $1,430                       $240,889

  [13] Forgery and Fraud                                     $0                           $4,605                             $660                    N/A                         N/A                           $5,265

  [14] Gambling Offenses                                    $70                            $229                               $80                                                                               $379

  [15] Human Trafficking                                                                                                                                                                                         $0

  [16] Larceny-theft                                       $480                           $2,879                             $163                     $0                          $10                          $3,532

  [17] Liquor Laws                                          $70                           $1,093                             $381                     $0                                                       $1,544

  [18] Motor Vehicle Theft                                $6,114                          $3,867                             $553                     $0                         $262                         $10,796

  [19] Murder                                            $737,517                        $392,352                          $148,555              $8,442,000                       $0                        $9,720,424

  [20] Other Assaults                                     $3,425                          $5,655                            $1,878                 $13,069                       N/A                          $24,027

  [21] Prostitution                                         $70                            $229                               $80                     $0                         N/A                            $379

  [22] Robbery                                            $3,299                          $13,827                           $4,272                  $4,976                     $17,599                        $43,973

  [23] Sex Offenses                                       $5,686                          $24,679                           $9,517                 $89,784                       N/A                         $129,666

  [24] Stolen Property                                       $0                           $6,842                            $1,132                   N/A                         N/A                           $7,974

  [25] Vandalism                                             $0                           $4,160                             $701                    N/A                         N/A                           $4,861

  [26] Weapons                                              $70                           $2,289                             $799                     $0                         N/A                           $3,158


  Notes and Sources:

  [1], [3], [4], [10] - [13], [16], [18], [19], [22], [24] and [25] are in 2008 dollars. Costs are from McCollister et al. Tables 3 & 4
  [2], [5] - [9], [11], [14], [15], [17], [20], [21], [23], and [26] are in 2010 dollars. Costs are from Miller and Bhattacharya Table 20, except for Adjusted Risk of Homicide which all come from McCollister, et al . I treat
  Medical costs, work, property damage and public services as Crime Victim Costs. Criminal Justice Costs are from Adjudication and Sanctioning. Implicit costs are Perpretator Work Loss. Intangible costs, under Pain
  and Suffering, come from Mental Health Costs and Quality of Life costs.




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                                           Table C.IV.4
     Valuation of Crimes Attributable to the Sales and Distribution of Prescription Opioids in
                           Cabell Huntington Community by Offense
                                            2006-2018


        Category of Offense                           2006          2007         2008          2009          2010            2011          2012              2013           2014          2015          2016          2017          2018           Total
   [1] Aggravated Assault                         $140,495       $142,259     $152,828      $246,630      $128,615      $159,090      $229,377         $213,847         $298,573       $257,392      $440,081      $402,701      $293,924     $3,105,811

   [2] All Other Offenses                               $75           $56          $90           $99          $112       $16,506             $54           $16,948       $25,063        $20,705       $37,555       $21,118       $18,298      $156,681

   [3] Arson                                           $724        $1,980       $1,418        $2,119        $2,475        $2,073           $6,706           $2,567          $4,565       $5,199        $2,953        $1,620        $1,503       $35,901

   [4] Burglary                                   $594,408       $552,422     $640,034      $988,209      $710,156      $716,917      $887,982         $909,837        $1,096,543      $943,869      $892,538      $505,250      $396,320     $9,834,486

   [5] Curfew/Loitering/Vagrancy                          $0           $0           $0            $0            $0             $0             $0               $0              $0            $0            $0            $0            $0             $0

   [6] Disorderly Conduct                                 $0           $0           $0            $0            $0             $0             $0               $0              $0            $0            $0            $0            $0             $0

   [7] Driving Under the Influence                        $0           $0           $0            $0            $0        $2,805              $0            $3,280          $3,110       $4,223        $4,260        $2,733        $2,206       $22,616

   [8] Drug Crimes                                $952,740       $827,387    $1,038,945    $1,902,096    $1,520,078     $746,660     $1,487,694        $994,396        $2,097,226     $1,712,069    $2,110,338    $2,848,340    $3,020,285   $21,258,255

   [9] Drunkenness                                        $0           $0           $0            $0            $0        $4,971              $0            $3,716          $4,419       $7,358        $4,925        $2,662        $1,747       $29,797

  [10] Embezzlement                                  $5,638        $5,971       $7,412        $9,812        $7,742        $5,178           $9,309           $7,216          $8,041       $8,732        $6,199        $4,484        $3,011       $88,745

  [11] Family and Children                                $0           $0           $0            $0            $0             $0             $0               $0              $0            $0            $0            $0            $0             $0

  [12] Forcible Rape                              $137,558       $126,120     $178,584      $218,785      $167,902      $156,593      $143,959         $199,524         $227,895       $159,133      $181,778      $239,420      $237,858     $2,375,107

  [13] Forgery and Fraud                          $131,516       $139,109     $172,027      $244,902      $231,734      $155,014      $236,405         $198,356         $244,785       $272,994      $245,200      $163,864      $135,340     $2,571,246

  [14] Gambling Offenses                                  $0           $0           $0            $0            $0             $0             $0               $0              $0            $0            $0            $0            $0             $0

  [15] Human Trafficking                                  $0           $0           $0            $0            $0             $0             $0               $0              $0            $0            $0            $0            $0             $0

  [16] Larceny-theft                              $713,766       $656,889     $798,131     $1,179,608     $927,607      $728,099     $1,094,410       $1,018,268       $1,300,200     $1,129,178    $1,071,904     $678,528      $713,875    $12,010,462

  [17] Liquor Laws                                        $0           $0           $0            $0            $0           $310             $0             $256            $450        $1,332          $660          $544           $92        $3,644

  [18] Motor Vehicle Theft                        $199,513       $199,107     $209,173      $238,525      $169,158      $140,235      $181,746         $178,034         $271,614       $192,292      $195,145      $192,270      $146,639     $2,513,452

  [19] Murder                                       $65,271      $261,139     $583,443      $498,306      $239,008      $382,132      $248,395         $788,951         $632,993       $468,674     $1,774,362    $2,069,231    $1,354,368    $9,366,274

  [20] Other Assaults                             $281,851       $271,135     $355,557      $530,744      $418,416      $325,115      $434,849         $351,530         $329,917       $341,597      $423,359      $266,818      $209,845     $4,540,732

  [21] Prostitution                                    $765        $1,697       $2,166        $3,936        $1,523        $3,505           $2,722           $2,654          $2,661       $3,981        $1,959        $1,985          $460       $30,015

  [22] Robbery                                    $460,382       $438,230     $573,689      $810,765      $688,169      $759,548      $643,252         $682,824         $679,414       $825,100      $770,863      $605,533      $396,112     $8,333,882

  [23] Sex Offenses                                 $10,517       $13,044      $16,922       $20,876       $19,641       $21,756       $28,417             $18,815       $18,869        $17,621       $19,537       $10,199       $13,821      $230,037

  [24] Stolen Property                               $4,825        $7,156       $4,462        $8,257       $12,795        $1,948           $7,599          $16,090       $23,802        $19,913       $36,187       $27,306       $23,018      $193,360

  [25] Vandalism                                    $42,111       $36,597      $51,503       $69,388       $51,186       $37,255       $51,326             $43,605       $57,514        $64,002       $63,279       $32,110       $28,884      $628,759

  [26] Weapons                                         $818          $626         $799        $1,653          $940           $313          $1,374           $1,706          $4,978       $5,030        $2,508        $2,154        $1,803       $24,702

  [27] Total                                  $3,742,975       $3,680,925   $4,787,182    $6,974,711    $5,297,257    $4,366,024    $5,695,575       $5,652,420       $7,332,634     $6,460,394    $8,285,589    $8,078,870    $6,999,408    $77,353,963

  Notes and Sources
  [1] - [26] (Crime - Q - Rx OPs) * (Crime - $ per Offense)
  [27] = Σ [1:26]




                                                Table C.IV.5
             Total Valuation of Crimes Attributable to the Sales and Distribution of Prescription
                                Opioids in the Cabell Huntington Community
                                                 2006-2018


                                                                   2006        2007         2008         2009         2010          2011            2012             2013        2014         2015        2016         2017         2018      Total
       Crime events attributable to
   [1]                                                            482.1       447.4        543.4        842.9         657.6         545.6           734.1        700.2         977.8        860.7        917.7        749.8        730.3     9,189.8
       prescription opioids

       Costs for crimes attributable
   [2] to prescription opioids                                    $3.7        $3.7         $4.8         $7.0          $5.3          $4.4            $5.7         $5.7          $7.3         $6.5         $8.3         $8.1         $7.0       $77.4
       ($millions)


  Notes and Sources

  Tables C.IV.1 - C.IV.4




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  IV.3. Residential Property Value Lost Because of Crime Attributable to the Sales and
  Distribution of Prescription Opioid

  31.        Based on empirical research in urban economics and public finance, I quantify the
  connection between one of the mechanisms and one of the outcomes by which the opioid
  epidemic has degraded neighborhoods – the effect of opioid-related crime on property values.
  By only tracking one mechanism and one outcome, my accounting of this cost is likely to be a
  vast understatement of the harm caused by opioids on the fabric of a community.36
  32.        Analysis of the economic harm to property values proceeds differently than the other
  harm categories because the property-value harm is not an annual effect; it is a point-in-time
  effect. For crimes over the period 2006-2018, the methodology (Sections IV.2 and IV.3) for
  valuing the harms involved counting the number of crimes each year and valuing them. In terms
  of property values, crimes anticipated in the future depress property values now. This loss
  should be measured one time, as of 2019.37
  33.        It is worth emphasizing that it is the expectation of future events, here crimes, that is
  capitalized into current home values due to decreased demand for housing. The crimes occur in
  the future, but the harm is felt now.
  34.        Three main inputs feed into this calculation of loss: residential property values;
  economic research on the impact of crime on property values; and projections of future crime
  rates due to prescription opioids. These will be combined within the standard economic
  approach to property valuation to quantify the degree to which crime is capitalized into
  (lowering) home values.



  36
     Cook, p. 15, gives one expression to this understatement: “Without a doubt the great crime reduction of the
  1990s gets some of the credit for the urban renaissance that occurred in one large city after another beginning in that
  period, with New York being the most notable case in point. (reference omitted.) (President Bill Clinton would not
  have wanted his office in Harlem back in 1980.) None of the available estimates of the cost of crime successfully
  captures this dynamic, transformative possibility.” See P J. Cook, Assessing Urban Crime and Its Control: An
  Overview, National Bureau of Economic Research Working Paper 13781, 2008. Albouy et al., p. 26, agrees, noting
  that the value of other forms of public capital, such as public transit, may be similarly reduced by crime. See D.
  Albouy, P. Christensen, and I. Sarmiento-Barbieri, Unlocking Amenities: Estimating Public-Good
  Complementarity, National Bureau of Economic Research Working Paper 25107, 2019.
  37
       Home value, like other forms of wealth, is a stock, not a flow.


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   Value of Residential Real Estate in the Cabell Huntington Community
  35.      The first input needed is the value of residential property in the Cabell Huntington
  Community. Data from the West Virginia State Tax Department indicates that the total assessed
  value of residential property (owned and rented) in Cabell County in 2019 was $2.87 billion.38
  (This value includes the part of the City of Huntington in Cabell County but does not include the
  Wayne County part of the city.) In Cabell County, market value of a property exceeds the
  assessed value. Based on data from the West Virginia Assessment Ratio Study for 2019, I
  calculate that the average ratio of assessed to sales value in Cabell County was 56%, meaning
  that for a typical property, assessed value was 56% of market value.39 Converting assessed value
  to market value requires dividing the assessed value by .56 to determine that the market value of
  residential property in Cabell County for 2019 is $5.13 billion.

   Crime and Property Values
  36.      The second input is the effect of crime on property values. Linden and Rockoff
  emphasize that crime is a local issue, with the majority of both violent and nonviolent offenses
  taking place less than one mile from victims’ homes.40 Local crime is known to have a negative
  effect on property values, a finding supported by many economic studies covering different
  geographic areas, time periods, and types of crime. Economists have studied overall crime rates
  in small areas (such as a city), and the effects of particular types of crime. Two papers report the
  effect of the risk of crime associated with location of a convicted sexual offender on home



  38
     Specifically, “the total assessed values of residential properties (Classes 2 and 4), the total homestead exemptions
  claimed, and the net assessed value-by year” for Cabell County (not just the City of Huntington, but not including
  the part of the City of Huntington in Wayne County). Class 2 and 4 mean this: “Class 2, owner-occupied property,
  including any adjoining empty lot (a separate parcel, used as a side yard, for example). Class 4, non-owner-
  occupied property, such as rental property (occupied) or a vacant house on a lot. This is also ‘residential’ but a
  different class (4).” State Tax Commissioner, Property Tax Division, “West Virginia Assessment Ratio Study, Tax
  Year 2019,” 2019 (https://tax.wv.gov/Documents/Reports/2019/AssessmentRatioStudy.2019.pdf) (hereafter WV
  Tax Assessment). See Total Assessed value of residential properties (Classes 2 and 4), the total homestead
  exemptions claimed, and the net assessed value-by year, Cabell County. WV State Tax Department (cabell-
  asmt.xls) showing assessed value of property of Cabell County = $2,867,296,210.
  39
     Table III.A from the WV Tax Assessment reports that for Cabell County the ratio of assessed to market value
  was 55 for Class 2 property and 62 for Class 4. I used the volume of sales reported for each class in 2019 to
  construct a weighted average of 56. The volume of sales in Class 2 for Cabell County was 589 and 74 for Class 4
  [(589*55 + 74*62)/(589 + 74) = 55.78].
  40
    L. Linden and J. E. Rockoff, “Estimates of the Impact of Crime Risk on Property Values from Megan's Laws,”
  The American Economic Review, June 2008, 98(3), pp. 1103-1127 at p. 1103.


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  values, both finding negative effects in neighborhoods close to the offender’s placement.41 Once
  the offender relocates, property values rebound supporting the causal interpretation of crime on
  home value. The sex-offender studies also make clear that it is the risk of future crimes that
  drive property values.42
  37.        Pope and Pope (2012), in a national study of 3,000 urban zip codes during the 1990s, use
  variation in the large decline in crime rates to estimate the effect of crime on property values.43
  They report their results in the form of an elasticity (percentage responsiveness of property value
  to a percentage change in crime) which can be applied to home values in Cabell County.
  According to Pope and Pope (2012), a 1% decline in crime increases home values by between
  0.15% and 0.35%. For my estimates, I will use the midpoint of these values, 0.25%, as the
  percentage point increase in property value in response to a one percentage point reduction in
  crime.

   Eliminating Risk of Future Crimes Due to Prescription Opioids
  38.        The third input is an estimate of how much crime would be reduced if crimes due to sales
  and distribution of prescription opioids were eliminated. Over the 2006-2018 period, the share
  of total crimes attributable to prescription opioids was 7.2%.44 I assume for my calculations that
  this same share applies to future crimes. In other words, I assume that the expected share of
  crimes going forward due to prescription opioids is 7.2%.45

   Results: Risk of Crime and Loss of Property Value
  39.        The three inputs described above can be combined to determine the loss from the risk of
  prescription opioid-caused crime capitalized in residential property value in 2019.



  41
    L. Linden and J.E. Rockoff, op. cit. See also J.C. Pope, “Fear of Crime and Housing Prices: Household
  Reactions to Sex Offender Registries,” Journal of Urban Economics, 2008, 64(3), pp. 601–614.
  42
       See Pope, op. cit., p. 603, for an explicit statement that it is the risk of future crimes that drive property values.
  43
    D.G. Pope and J.C. Pope, “Crime and property values: Evidence from the 1990s crime drop,” Regional Science
  and Urban Economics, 2012, 42, pp. 177-188.
  44
    The total number of crimes due to the sales and distribution of prescription opioids is 9,179, see Table C.IV.2
  above. Table C.IV.2 contains the distribution of these crimes by type of offense. The total number of crimes in the
  Cabell Huntington Community over 2006-2018 is 128,376, see Quantitative Backup, Sheet Crime Q, Row [27]
  45
     With this assumption, expectations about the future are set by experience. This share would be higher if potential
  home buyers expect the rates for other crimes to grow more slowly/fall faster than the rates for crimes due to the
  sales and distribution of prescription opioids, and conversely.


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         Loss    = (2019 Property Value) *
                          (% reduction in crime removing crimes due to prescription opioids) *
                                  (elasticity of property value with respect to crime)
         Loss    = ($5.13 billion) * (.072) * (.25)
                          = $92.3 million




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                                                        Section V
                                                 Child Maltreatment


  40.        In Section V.1, I describe the basis for the quantification of maltreated children over time
  in Cabell County attributable to the sales and distribution of prescription opioid. In Section V.2,
  I describe the methodology used to value the costs of maltreatment.

  V.1.       Children Maltreated in Cabell County

  41.        The number of children maltreated attributable to prescription opioid sales and
  distribution is obtained in five steps, which are displayed in Table C.V.1. All data is obtained
  from the HHS’s Administration for Children and Families (ACF).46 First, I obtain the number of
  unique and the number first-time maltreated children in West Virginia for 2006-2018, and I
  calculate the ratio of first-time victims to unique victims. This is row [3] of the table. Second, I
  obtain the counts of unique maltreatment victims with a drug abuse caregiver risk factor,
  represented in row [4]. Note that there are several years for which this data is unavailable,47 and
  that these counts are annual unique number of victims, which might be present in multiple years.
  To address the potential-double counting, I apply the ratio calculated in [3] to the count of
  unique maltreatment victims with a drug abuse factor [4]. This yields row [5], which is an
  estimated number of first-time maltreatment victims with a drug abuse risk factor.48
  42.        Third, I take the product of the share of West Virginian children in Cabell County, row
  [8] and row [5] to estimate the number of first-time maltreated victims with a care giver drug
  abuse risk factor living in Cabell County. Fourth, I multiply these county-level counts by the


  46
     Administration for Children and Families (https://www.acf.hhs.gov) is a division in the Department of Health and
  Human Services which collects detailed annual information from states on child maltreatment and produces yearly
  reports on state level incidents of maltreatment, overall and broken out by category, as well as information on
  characteristics of victims, number of fatalities, and services to prevent maltreatment, among other metrics. The
  statistics on child maltreatment are derived from data collected by child protective agencies through the National
  Child Abuse and Neglect Data System (NCANDS). I note that there is a notable increase in the share of
  maltreatment victims attributable to opioids in 2014. This jump could be for the following reasons: Years 2014-
  2016 saw better reporting of the number of victims with the drug abuse caregiver risk factor in the ACF (ACF
  Report 2016, p. 21). In addition, on July 1, 2014, West Virginia launched a more centralized child abuse and
  neglect intake unit, which led to an increase in referrals (ACF Report 2016, p. 226).
  47
    Missing years include 2006-2009, 2013, and 2015. I assign years 2006-2009 the count for 2010. For 2013 and
  2015, I use the preceding year.
  48
       I use unique counts for 2006, and these estimated first-time counts for 2007 – 2018.

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  ratio of opioids in drug seizures, row [9] to estimate the share of maltreatment cases due to
  opioids. Finally, to derive the incidents of maltreatment related to prescription opioids, I
  multiply by the ratio of opioid use disorder (OUD) in the Cabell Huntington Community as in
  row [10]. This leads to row [11], the number of maltreated children in Cabell County due to
  prescription opioids.




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                                           Table C.V.1
         Maltreatment Victims in Cabell County due to Sales and Distribution of Prescription
                                             Opioids
                                            2006-2018


                                                           2006      2007      2008      2009       2010      2011      2012      2013      2014      2015      2016     2017    2018         Total

  [1]    First-Time Maltreatment Victims                  4,471     3,819     3,472     3,393      2,762     2,960     3,540     3,795     3,984     4,118     5,192    5,743   5,563       52,812


  [2]    Unique Maltreatment Victims                      7,213     6,143     5,300     4,978      3,961     4,000     4,591     4,695     4,962     4,857     5,938    6,496   6,496       69,630

         Percentage of Unique Maltreatment
  [3]                                                    62.0% 62.2% 65.5% 68.2% 69.7% 74.0% 77.1% 80.8% 80.3% 84.8% 87.4% 88.4% 85.6%
         Victims that are First- Time

         Unique Maltreatment Victims with a Drug
  [4]                                                     334       334       334        334       334       335       388       388       357       357       3107     3655    3968        14,225
         Abuse Caregiver Risk Factor, WV
         Estimated First-Time Maltreatment
  [5]    Victims with a Drug Abuse Risk Factor,           207       208       219        228       233       248       299       314       287       303       2717     3231    3398        11,890
         WV

  [6]    Children in WV                                 389,071 387,381 386,158 386,449 387,224 385,283 384,030 381,678 380,798 378,231 374,348 369,122 364,160 4,953,933


  [7]    Children in Cabell county                       19,064 18,982 18,922 18,936 18,889 19,483 19,485 19,409 19,477 19,737 19,410 18,826 18,444                                       249,064


  [8]    Share of WV children in Cabell county           4.9%       4.9%      4.9%      4.9%       4.9%      5.1%      5.1%      5.1%      5.1%      5.2%      5.2%    5.1%     5.1%


  [9]    Share attributed to opioids                     17.6% 17.6% 22.2% 33.2% 32.1% 34.2% 34.8% 44.2% 46.2% 46.9% 45.7% 37.8% 34.5%


  [10] Share attributed to prescription opioids          97.5% 97.5% 98.8% 98.8% 98.0% 98.0% 93.8% 93.8% 90.2% 87.7% 85.1% 84.7% 86.1%

         Maltreatment victims attributed to
  [11]                                                          3         2         2          4         4         4         5         7         6         6     55       53       51          201
         prescription opioids in Cabell county

  Notes and Sources

  [1] - [2]: Source: Data come from Children's Bureau of the U.S. Department of Human and Health Services, availabe here: https://www.acf.hhs.gov/cb/research-data-technology/statistics-research/
  [3] = [1] / [2]
  [4] Data come from the Children's Bureua of the U.S. DDHHS, as per [1] and [2]. Data were unavailable for 2006- 2009, 2013, and 2015; I assume 2006 - 2009 are equal to 2010. 2013 and 2015 are set
  equal to the preceeding year. 2010 data came from table 3-18 of 2010 report. 2011-2012 from table 3-12. 2014 data from table 3-9. 2016-2018 data from table 2-10 in 2018 report.
  [5] = [3] * [4]
  [6] All children counts coe from reports used for [1], [2], and [4[. Data come from table 3-1 of these annual reports.
  [7] American Community Survey 1- Year Estimates, table S0101. data is unavailable pre 2010, so I estimate is assuming the same share of West Virginian children residing in Cabell County for 2010.
  [8] = [7] / [6]. Data for 2006 - 2009 set equal to 2010
  [9] C.IV.1, Row [3]
  [10] Source: Morbidity - Q, Row [6]
  [11] = [5] *[8] * [9] *[10]. For 2006, I use unique victims with a drug abuse risk factor.




  V.2.           Calculation of Costs of Child Maltreatment for Cabell County

  43.            Fang, et al. (2012) estimates an average lifetime cost per victim of nonfatal child
  maltreatment of $210,012 in 2010 dollars.49 This lifetime cost includes costs of childhood health



  49
     X. Fang, et al., “The Economic Burden of Child Maltreatment in the United States and Implications for
  Prevention,” Child Abuse & Neglect, 36, 2012, pp. 156-165.


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  care, adult medical costs, productivity losses, child welfare costs, criminal justice costs and
  special education costs. The method for counting maltreated children outlined above is
  consistent with Fang, et al.’s methodology in that it uses the same source for the incidence of
  maltreatment, the HHS Annual Report on Child Maltreatment – counts of victims of
  maltreatment.50
  44.        I estimate the social costs associated with child maltreatment in two categories:
  productivity and special education.

  45.        Childhood maltreatment has adverse effects on economic outcomes in adulthood. Currie
  & Widom (2010)51 tracks matched cohorts from an earlier study of childhood maltreatment into
  adulthood.52 The authors find that adults who experienced validated and substantiated
  maltreatment as children earn approximately $6,500 less annually (2003 dollars) and are 14
  percentage points less likely to be employed at middle age (mean age 41).

  46.        To keep the calculations simple, I sum the total earnings lost per maltreated child with no
  discounting and no adjustments for inflation or productivity growth. If on average a person
  works 44 years (from age 21 through 64) and loses $6,500 per year, the total lost earnings over a
  lifetime is $286,000.
  47.        In addition to earnings differences, maltreated children are less likely to own assets (e.g.,
  stock, a vehicle, a home) in adulthood than children who did not experience maltreatment.53 I do
  not attribute dollar values to these adverse events or include these differences in the cost of
  maltreatment.
  48.        In terms of excess special education costs, a study by Jonson-Reid, et al. (2004)54 finds
  that maltreated children are 10.8 percentage points more likely to need special education services
  (i.e., receive services for an educational disability) than children who are impoverished but not

  50
     Children’s Bureau, Office of the Administration for Children & Families, U.S. Department of Health and Human
  Services, “Child Maltreatment 2017,” January 28, 2019 (https://www.acf.hhs.gov/cb/research-data-
  technology/statistics-research/child-maltreatment).
  51
    J. Currie and C.S. Widom, “Long-Term Consequences of Child Abuse and Neglect on Adult Economic Well-
  Being,” Child Maltreatment, 15(2), 2010, pp. 111-120.
  52
    For one of the studies that Currie and Widom (Ibid.) update, see C.S. Widom, “The Cycle of Violence,” Science,
  244, 1989, pp. 160-166.
  53
       Currie & Widom, op. cit., Table 2.
  54
     M. Jonson-Reid, et al., “A Prospective Analysis of the Relationship Between Reported Child Maltreatment and
  Special Education Eligibility Among Poor Children,” Child Maltreatment, 9(4), November 2004, pp. 381-394.


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  maltreated (24.3% vs. 13.5%). This effect remains consistent after controlling for potential
  confounders.
  49.          Research shows that students needing special education services cost $9,298 more per
  year than other students.55 Students remain in special education on average approximately two
  years,56 leading to a total incremental average cost per maltreated child of $2,008.37
  (.108*$9,298*2). This value is used for all years 2008-2017.
  50.          The total value of the increase in special education costs as well as productivity losses
  due to maltreatment cases attributable to opioid sales and distribution is shown in Table C.V.2.
  Total maltreatment costs due to prescription opioids are presented in Table 9 of my Report.


                                               Table C.V.2
              Maltreatment Costs in Cabell County due to Sales and Distribution of Prescription
                                                 Opioids
                                                2006-2018
                                                2006      2007      2008      2009      2010       2011      2012      2013      2014      2015      2016      2017       2018
  [1]   Productivity losses ($000s)            $286.0    $286.0    $286.0    $286.0    $286.0     $286.0    $286.0    $286.0    $286.0    $286.0    $286.0     $286.0    $286.0

  [2]   Special education costs ($000s)          $2.0      $2.0      $2.0       $2.0      $2.0      $2.0      $2.0      $2.0      $2.0      $2.0       $2.0      $2.0      $2.0

  [3]   Total social costs ($000s)            $288.0    $288.0    $288.0    $288.0     $288.0    $288.0    $288.0    $288.0    $288.0    $288.0    $288.0     $288.0    $288.0


  Notes and Sources
  [1] J. Currie and C.S. Widom, “Long-Term Consequences of Child Abuse and Neglect on Adult Economic Well-Being,” Child Maltreatment, 15(2), 2010, pp. 111-120, find that
  maltreated children earn approximately $6,500 less per year. I assume the average adult works 44 years. Thus the productivity loss is (6,500) * (44) = $286,000.

  [2] M. Jonson-Reid, et al., “A Prospective Analysis of the Relationship Between Reported Child Maltreatment and Special Education Eligibility Among Poor Children,” Child
  Maltreatment, 9(4), November 2004, pp. 381-394, find that maltreated children are 10.8% more likely to require special education. Average cost per year of special education
  ($9,298). A typical child receives 2 years of special education. This leads to (0.108) * (9,298) * (2) = $2,008. See section V.2 for sources on these figures
  [3] = [1] + [2]



  51.          The two cost categories above are not an exhaustive list of the social costs of childhood
  maltreatment. As an example of the effects of maltreatment on educational and developmental



  55
     Chambers, et al., op. cit. The National Center for Education Statistics, Digest of Education Statistics report that
  in 2014-2015, cost per pupil averaged $11,445 with 13.2% of children receiving school-based special education
  services in 2015-16. Using these inputs, I determine that the average cost over all students is $10,218 and that the
  cost for special education students is $19,516 ($10,218*1.91). I use the difference between these two numbers
  ($9,298) as the additional special education cost incurred per school year. See National Center for Education
  Statistics, Table 236.15 for cost per pupil (https://nces.ed.gov/programs/digest/d17/tables/dt17_236.15.asp) and
  Table 204.30 for percent of total enrollment for children with disabilities (https://nces.ed.gov/programs/
  digest/d17/tables/dt17_204.30.asp).
  56
     Holt, McGrath, and Herring, op. cit.; A.A. Scarborough and J.S. McCrae, “Maltreated Infants: Reported
  Eligibility for Part C and Later School-Age Special Education Services,” Topics in Early Childhood Special
  Education, 28(2), 2008, pp. 75-89.


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  outcomes, children who are maltreated complete fewer years of schooling,57 have lower IQ
  scores in young adulthood,58 and are significantly less likely to attend 4-year college,59 than other
  children. Additionally, children who experience maltreatment have higher rates of substance
  misuse and depression in adulthood than other children.60 Finally, there are direct costs
  associated with child welfare.61 Costs associated with these harms are not included here.




  57
       Currie & Widom, op. cit.
  58
       Currie & Widom, op. cit.
  59
     J.P. Mersky and J. Topitzes, “Comparing Early Adult Outcomes of Maltreated and Non-Maltreated Children: A
  Prospective Longitudinal Investigation,” Children and Youth Services Review, 32, 2010, pp. 1086-1096.
  60
    Ibid.; C.S. Widom, K. Dumont and S.J. Czaja, “A Prospective Investigation of Major Depressive Disorder and
  Comorbidity in Abused and Neglected Children Grown Up,” Archives of General Psychiatry, 64, 2007, pp. 49-56.
  61
       Fang, et al., op. cit.


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